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             EXHIBIT 10
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             TERRY M. SPEAR, Ph.D.




                      July 29, 2009




                W.R. GRACE & CO.


Nordhagen Court Reporting - QA@Bresnan.net - 406-494-2083
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                   IN THE UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF DELAWARE




In re:                                       )      Chapter 11

                                             )

W.R. GRACE & CO., et al.,                    )      Case No. 01-01139 (JKF)

                                             )      (Jointly Administered)

                     Debtors.                )




               VIDEOTAPED DEPOSITION OF TERRY M. SPEAR, Ph.D.



                                     Taken at:



                             Nordhagen Court Reporting

                                 1734 Harrison Avenue

                                   Butte, Montana

                                    July 29, 2009

                                      8:35 a.m.
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 1 APPEARANCES OF COUNSEL:                         1 APPEARANCES (Continued):
 2                                                 2
 3 FOR THE DEBTOR:                                 3 FOR THE PI FCR:
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 5      Attorney at Law                            5        GABRIELLA V. CELLAROSI
 6      Kirkland & Ellis LLP                       6        Attorney at Law
 7      655 Fifteenth Street, NW                   7        Eckert Seamans Cherin & Mellott, LLC
 8      Washington, D.C. 20005                     8        1747 Pennsylvania Avenue, N.W. - Suite 1200
 9                                                 9        Washington, DC 20006-4604
10                                                10
11 FOR THE LIBBY CLAIMAINTS:                      11
12      TOM L. LEWIS                              12 FOR MARYLAND CASUALTY:
13      Attorney at Law                           13        (Telephonically)
14      Lewis, Slovak & Kovacich, PC              14        JEFFREY C. WISLER
15      P.O. Box 2325                             15        Attorney at Law
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17                                                17        The Nemours Building
18                                                18        1107 North Orange Street
19 FOR THE ASBESTOS CLAIMANTS COMMITTEE:          19        Wilmington, Delaware 19899
20      (Telphonically)                           20
21      BERNARD S. BAILOR                         21
22      Attorney at Law                           22 Also Present:
23      Caplin & Drysdale, Chtd.                  23    MORGAN ROHRHOFER, Case Assistant
24      One Thomas Circle, NW                     24    VIDEOGRAPHER: John Nordhagen
25      Washington, DC 20005                      25
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 1 APPEARANCES (Continued):                        1              INDEX
 2                                                 2 Witness:                          Page:
 3 FOR THE PD FCR:                                 3    TERRY M. SPEAR, Ph.D.
 4      (Telephonically)                           4       Examination by Mr. Stansbury . . . 8
 5      ALAN B. RICH                               5       Examination by Mr. Lewis . . . . 210
 6      Attorney at Law                            6       Examination by Mr. Stansbury . . . 214
 7      Alan Rich Law                              7
 8      Elm Place                                  8       Videotape No. 1 . . . . . . . . 6
 9      1401 Elm Street, Suite 4620                9       Videotape No. 2 . . . . . . . . 66
10      Dallas, Texas 75201                       10       Videotape No. 3 . . . . . . . . 130
11                                                11       Videotape No. 4 . . . . . . . . 197
12                                                12
13 FOR THE PI FCR:                                13
14      (Telephonically)                          14           EXHIBITS
15      KATHLEEN A. ORR                           15 NO. PAGE DESCRIPTION
16      Attorney at Law                           16 1 66 May 2008 Curriculum Vitae
17      Orrick Herrington & Sutcliffe, LLP        17 2 67 June 2009 Curriculum Vitae
18      Columbia Center                           18 3 74 "Trees as reservoirs" - Spear co-author
19      1152 15th Street, N.W.                    19 4 77 Firewood Harvesting Simulations article
20      Washington, DC 20005                      20 5 77 Fate of Libby Amphibole Fibers article
21                                                21 6 87 Spear Expert Report
22                                                22 7 131 Morbidity/Mortality of Vermiculite Miners
23                                                23
24                                                24
25                                                25
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 1             TERRY M. SPEAR, Ph.D.                             1             EXAMINATION
 2        WEDNESDAY, JULY 29, 20 09; BUTTE, MONTANA              2 BY MR. STANSBURY:
 3                   ---                                         3    Q. Good morning.
 4          BE IT REMEMBERED THAT, pursuant to notice, the       4    A. Good morning.
 5   deposition of Terry M. Spear, Ph.D., was taken at the time  5    Q. Would you please introduce yourself for the
 6   and place and with the appearances of counsel hereinbefore  6 record.
 7   noted before Candice L. Nordhagen, Registered Professional  7    A. My name is Terry Spear.
 8   Reporter and Notary Public for the State of Montana.        8    Q. My name is Brian Stansbury and I represent
 9      `                                                        9 W.R. Grace in this bankruptcy proceeding.
10   The following proceedings were had:                        10    You are a doctor, correct?
11                                                                  11    A. Yes.
12             VIDEOGRAPHER: The time is 8:32. We're on the         12    Q. What is your degree in?
13   record.                                                        13    A. Industrial hygiene.
14           This is the videotaped deposition of Dr. Terry         14    Q. Okay. And where do you currently work?
15   Spear, taken by the co-counsel for Debtors and                 15    A. At Montana Tech of the University of Montana.
16   Debtors-in-Possession.                                         16    Q. Now, Dr. Spear, you've had your deposition
17           This is Case No. 01-01139 (JFK); In re: W.R.           17 taken before, correct?
18   GRACE & CO., et al., Debtors.                                  18    A. Yes.
19           This deposition is being taken on July 29,             19    Q. About how many times?
20   2009, at Nordhagen Court Reporting; 1734 Harrison Avenue;      20    A. I don't know. Quite a few; I don't have that
21   Butte, Montana.                                                21 number.
22           The court reporter is Candi Nordhagen.                 22    Q. More than 30?
23           The videographer is John Nordhagen.                    23    A. Probably.
24           Counsel will now introduce themselves, after           24    Q. Less than a hundred?
25   which the court reporter will swear in the witness.            25    A. Probably.
                                                           Page 7                                                        Page 9
 1           MR. STANSBURY: Brian Stansbury of Kirkland &            1       Q. Somewhere in the 50-or-so range?
 2   Ellis for W.R. Grace.                                           2       A. I would guess.
 3           MR. LEWIS: Tom Lewis, for the Libby                     3       Q. Okay. So you're familiar with the process,
 4   claimants.                                                      4   then.
 5           Anybody on line?                                        5       A. Yes.
 6           MR. BAYLOR: Okay. Bernard Baylor, for the               6       Q. All right. I'm just going to go over a couple
 7   Asbestos Claimants Committee.                                   7   issues. And if you have any questions, just let me know.
 8           MR. RICH: Alan Rich is on the line for the              8   First, I would ask that when responding, you do so in a
 9   Property Damage FCR. And if you take down my e-mail, I          9   "yes", "no", or audible manner, as opposed to nodding your
10   will e-mail you back my full contact information.              10   head or saying "um-hmm", just so we keep the record clean.
11           It's Alan, A-L-A-N @ alanrich - R-I-C-H - law          11   Is that fair?
12   - L-A-W - dotcom.                                              12       A. Yes.
13           MS. ORR: This is Kate Orr for the Personal             13       Q. Also, I will strive at all times not to speak
14   Injury FCR.                                                    14   over you; and hopefully, we can avoid you speaking over
15           MS. CELLAROSI: Gabriella Cellarosi for                 15   me, again, for the benefit of the court reporter to keep
16   Maryland Casualty.                                             16   the record clear. Is that fair?
17           MR. STANSBURY: Anybody --                              17       A. That's fair.
18           MR. WISLER: Jeffrey Wisler, for Maryland               18       Q. Okay. Are you under any medication today that
19   Casualty.                                                      19   would inhibit your ability to answer questions truthfully,
20           MR. STANSBURY: Anybody else? Going once.               20   honestly, and completely?
21                                                                  21       A. No.
22                TERRY M. SPEAR, Ph.D.,                            22       Q. Okay. And unless stated otherwise, I'm going
23             having been called as a witness by the               23   to presume that you understood my questions. If at any
24             Debtor, being first duly sworn, was                  24   point I ask a question that for whatever reason you don't
25             examined and testified as follows:                   25   understand, please let me know so I can rephrase it or we
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 1   can ensure that we're on the same page. Is that fair?         1   small particle technology.
 2       A. That's fair.                                           2       Q. Okay.
 3       Q. Okay. You say you're at Montana Tech at the            3       A. I think those are the main ones.
 4   University of Montana?                                        4       Q. Let me just, let me unpack this a bit just so
 5       A. Yes.                                                   5   I'm clear. We're in the summer right now. So let's say
 6       Q. And what is your title?                                6   last spring, which courses did you teach?
 7       A. My title is professor and department head.             7       A. Last spring I taught respiratory protection
 8       Q. And that's the -- what is the actual, what is          8   and I believe it was sampling strategies.
 9   the department?                                               9       Q. Okay. Let's talk about respiratory
10       A. The department is the Safety, Health and              10   protection. Could you briefly describe what that class
11   Industrial Hygiene Department.                               11   entails?
12       Q. Okay. And how long have you worked there?             12       A. It entails providing -- teaching the students
13       A. I have been at Montana Tech for 26 years, I           13   how to develop a respiratory protection program, going
14   think.                                                       14   through the different types of respirators, fit testing of
15       Q. Uninterrupted?                                        15   workers who have to wear respirators, training in
16       A. For the most part. Yeah, I haven't had any            16   respiratory protection.
17   other employment with other companies.                       17       Q. And in the course of that class, is there any
18       Q. Okay. What is your educational background?            18   point in that class when you deal with, for example,
19       A. My, from -- well, my educational background is        19   asbestos in particular?
20   a bachelor's degree in microbiology from the University of   20       A. Yes.
21   Montana.                                                     21       Q. How prevalent was that, was asbestos, in the
22       Q. Is that in Missoula?                                  22   discussion in your class?
23       A. Yes.                                                  23       A. Well, since I do a lot of work in asbestos, I
24       Q. Okay.                                                 24   make sure that I cover the topic with the students. And I
25       A. And then a master's of science degree in              25   mean it certainly isn't the focus of the class, but we
                                                    Page 11                                                           Page 13
 1   industrial hygiene from the University of Minnesota, and   1      talk about respiratory protection where asbestos is
 2   then a Ph.D. in industrial hygiene from the University of  2      concerned.
 3   Minnesota.                                                 3          Q. Okay. And you said "tree samplings"? Was
 4       Q. When did you get your Ph.D. from the                4      that the other --
 5   University of Minnesota?                                   5          A. Pardon me?
 6       A. It was awarded in 1996, I believe.                  6          Q. What was the other course you said?
 7       Q. Okay. And was that -- were you still working        7          A. Sampling strategies.
 8   at Montana Tech at the time?                               8          Q. Oh, sampling strategies, I'm sorry, I
 9       A. Yes.                                                9      misunderstood. Sampling strategies, and what is that?
10       Q. Were you alternating between going to classes      10          A. That's a course involving designing sampling
11   at the University of Minnesota and coming back to Montana 11      strategies for contaminants in the workplace.
12   Tech, or what was the arrangement?                        12          Q. And by that, you mean, for example, taking air
13       A. I did take a leave of absence, I believe it        13      samples?
14   was in the late '80s, and went back to Minnesota and took 14          A. Well, yeah. It's not an instrument course.
15   classes. And then I -- there were other trips back and    15      You know, that's covered in the sampling course, a
16   forth to Minnesota from Montana Tech, not any extended    16      different course. But it's mainly how do we assure that
17   trips, but basically traveled back and forth to do        17      we're collecting representative samples, defining exposure
18   examinations and such.                                    18      groups, and things pertaining to that.
19       Q. Now, at Montana Tech, are you teaching courses     19          Q. Do you teach graduate or undergraduate
20   right now?                                                20      students?
21       A. Yes.                                               21          A. Those two classes are graduate classes.
22       Q. What courses do you teach?                         22          Q. Okay. Now, other than your coursework at
23       A. Oh, I, over the years, I've taught many            23      Montana Tech, what other work have you done in the past
24   different courses. Now I primarily teach courses in       24      ten years related to asbestos in particular?
25   respiratory protection, courses in sampling strategy,     25          A. Other than -- what was the first part of your
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                                                   Page 14                                                          Page 16
 1   question?                                                  1     of describing that?
 2       Q. Teaching at Montana Tech. You mentioned             2         A. That would be fair.
 3   respiratory protection, a course which, you know, relates  3         Q. Okay. Any other pathways other than asbestos
 4   to asbestos exposure. Other than -- and I guess what I'm   4     traveling in the ambient air and people kicking up dust
 5   really trying to get to is: Beyond your role as an         5     around the mine site?
 6   educator, what work have you done in the last ten years    6         A. Well, and the transportation of it; the
 7   related to asbestos?                                       7     loading of it and the transportation of it.
 8       A. Well, we've been doing research pertaining to       8         Q. Okay. So ambient air, we'll call it "activity
 9   asbestos for longer than ten years, since about 2003;      9     that unsettles settled dust." Is that a fair way of
10   consulting work pertaining to asbestos.                   10     describing that?
11       Q. Okay. Now, let's look at the -- if I read --       11         A. Yes.
12   it would be research work and consulting work. Let's      12         Q. Okay. And then you said the transportation of
13   start with the research work. Now, what research projects 13     it?
14   have you worked on related to asbestos?                   14         A. Yeah, loading and transportation of it, I
15       A. The research has involved evaluating asbestos      15     believe is what I said.
16   exposure pathways associated with the amphibole asbestos  16         Q. And would that refer to loading and
17   in Libby, and then also doing research pertaining to      17     transportation involving rail lines?
18   vermiculite or other asbestos-containing materials within 18         A. Well, rail lines or other types of loading,
19   homes.                                                    19     truck loading and things like that, I guess.
20       Q. And by vermiculite in homes, are you referring     20         Q. Where was the truck loading occurring?
21   to vermiculite attic insulation?                          21         A. Well, just basically from the mine and then
22       A. Yes.                                               22     being transferred down to different points along the
23       Q. Any other type of vermiculite product in the       23     highway and then unloading by truck. And so I'm just
24   home that was studied?                                    24     trying to cover all the different aspects of how they
25       A. No, it was primarily vermiculite attic             25     would load it.
                                                   Page 15                                                          Page 17
 1   insulation -- or is primarily vermiculite attic              1        Q. Okay. So transportation loading and
 2   insulation; wall, some wall insulation.                      2   unloading, is that a fair way of describing the third
 3        Q. Oh, vermiculite attic insulation that was put        3   pathway?
 4   in the walls. Is that what --                                4        A. Yes.
 5        A. Yes.                                                 5        Q. Okay. Any other pathway for potential
 6        Q. Okay. So the asbestos pathways in Libby,             6   exposure in the communities, let's say, in Libby that
 7   which pathways have you studied?                             7   you've studied?
 8        A. We've been looking primarily at the dispersion       8        A. Not currently, we haven't.
 9   of asbestos from the mine site into the forest beyond        9        Q. What about historically?
10   Libby and into the town of Libby and along transportation   10        A. Well, no, none of the research has involved --
11   corridors.                                                  11   that research has not involved any in-house types of
12        Q. Now, is that dispersion in any way ongoing or       12   sampling. The vermiculite research has.
13   is it simply studying historical dispersion?                13        Q. Oh, and that would be -- okay, I understand
14        A. Well, we believe that there's evidence that         14   what you're saying. So when you refer to vermiculite,
15   it's ongoing, but is what we're doing is basically          15   this is what we were speaking of earlier, which was the
16   evaluating, trying to determine the boundaries of this      16   Zonolite attic insulation that was in attics and also was
17   contamination, so it's not always easy to tell if it's      17   in, in some cases, the walls of homes, correct?
18   historical or current.                                      18        A. Yes.
19        Q. Okay. And so the dispersion of the asbestos         19        Q. Okay. So we can just make that the fourth
20   from the site in the ambient air? Is that --                20   item on the list where we have asbestos traveling from the
21        A. Well, that was one way it was dispersed was         21   mine site from the ambient air; asbestos kicked up around
22   ambient air, and I'm sure it was dispersed through          22   the mine site by human activity; transportation, which
23   movement by machines and road dust and things like that.    23   includes loading and unloading of vermiculite; and then
24        Q. So that would be human activity in the mine         24   Zonolite attic insulation in homes. Are there any other
25   site and surrounding area kicking up dust. Is that a way    25   pathways of exposure besides those four that you have
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 1   studied?                                                    1       Q. Okay. So let me write that down real quick.
 2       A. That I have studied, no.                             2   The University of the Utah, the harvesting study. And was
 3       Q. Okay. Are there any other pathways other than        3   that the study that was published in 2007?
 4   those four that you are aware of?                           4       A. I believe so.
 5       A. Well, I think there's, again, there's a lot of       5       Q. Okay, okay. What other studies -- what other
 6   activity that go on in homes that could stir up asbestos    6   sources of funding were involved with other studies that
 7   dust there and create exposures.                            7   you've published?
 8       Q. From Zonolite attic insulation or from some          8       A. Well, the Forest Service is funding the
 9   other source?                                               9   studies we're doing for them.
10       A. Well, it could be from attic insulation or it       10       Q. And which study is that?
11   could be from other sources that made their way into the   11       A. The occupational exposure of Forest Service
12   home.                                                      12   workers.
13       Q. Are you aware of any other sources?                 13       Q. And have the findings of that study been
14       A. Well, windblown dust.                               14   published in a paper?
15       Q. Okay. So that would be, again, kind of under        15       A. Not yet.
16   the first heading which would be asbestos that's blown     16       Q. Okay. The work you've done for the Forest
17   from the air, blown through the air from the mine site.    17   Service, is it in any way bearing on your opinions in this
18   Is that what you're referring to there?                    18   case?
19       A. That would be one method, yes.                      19       A. Yes.
20       Q. Okay.                                               20       Q. Is it something that you have produced, these
21       A. And then transport just by human activity,          21   findings that you have? Have you taken samples?
22   carrying it in on your clothes or your feet.               22       A. Yes.
23       Q. Okay. And so this research that you've done,        23       Q. When did you take these samples?
24   on whose behalf was it performed?                          24       A. I believe it was -- we did the initial Forest
25       A. The research that we began in 2003 was, was         25   Service sampling or study last summer, not this summer but
                                                  Page 19                                                          Page 21
 1   funded through a COBRE Grant, the University of Montana.    1   last summer.
 2       Q. And which, so I'm clear, which was the 2003          2       Q. And this is in Lincoln County?
 3   research?                                                   3       A. Yes.
 4       A. That's doing the Libby work.                         4       Q. Okay. How many samples did you take?
 5       Q. So all those, all four categories you were           5       A. Boy, that's a -- we do a series of air
 6   speaking of earlier, all that's been funded by a grant      6   sampling, personal air sampling; and then we also do wipe
 7   through the University of Montana that was issued in 2003? 7    sampling of Tyvek clothing they were wearing for
 8       A. Well, in part.                                       8   protection.
 9       Q. In part.                                             9       Q. And personal air sampling, is that often
10       A. It began with funding from COBRE, the               10   abbreviated PBZ?
11   University of Montana, and then there was some funding     11       A. Yes.
12   provided from the University of Utah to do some later work 12       Q. Okay. And that's "personal breathing zone";
13   in the more recent years.                                  13   is that right?
14       Q. And which work was that, the more recent work       14       A. Yes.
15   in later years you mentioned?                              15       Q. Okay. So you do personal breathing zone
16       A. We've been working with the Forest Service to       16   sampling. And then you said "wipe sampling"?
17   determine potential occupational exposure within their     17       A. Yes.
18   jobs within the forest around the mine.                    18       Q. What is wipe sampling?
19       Q. Okay. And this work was what was ultimately         19       A. Wipe sampling is wiping a surface or a garment
20   published in a series of papers, correct?                  20   with, basically, an alcohol wipe to remove dust or
21       A. Yes. In fact, let me correct myself a little        21   asbestos.
22   bit here.                                                  22       Q. Okay. So you have done both personal
23       Q. Okay.                                               23   breathing zone sampling and wipe sampling for the Forest
24       A. The University of Utah funded the initial           24   Service. And this was, I believe you said, the summer
25   firewood harvesting simulation study.                      25   2008, correct?
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 1       A. I believe that's when we did it.                       1   correct?
 2       Q. Do you have an estimate of how many samples            2       A. I'm sorry, what would impact?
 3   you took?                                                     3       Q. The findings of your work for the forestry
 4       A. Well, I would say the air samples, I would             4   department. The work you've done for the forestry
 5   estimate that we took -- I don't know if it was in the        5   department and the samples taken and your analysis of
 6   range of 50 samples.                                          6   those samples informs your opinion about potential
 7       Q. And what about the wipe samples?                       7   exposure somebody would have in the forest around Libby,
 8       A. Well, the wipe samples, we used composite              8   correct?
 9   wipes. So if you count individual wipes, there were           9       A. Well, in terms of Forest Service employees,
10   probably maybe 60 or 70 wipe samples. I don't remember       10   yes.
11   the exact numbers.                                           11       Q. Okay. And what are Forest Service employees,
12       Q. And this work that you've done for the Forest         12   just so I'm clear?
13   Service, just so I'm clear, this is not the work that was    13       A. Well, these are people that work for the
14   published in the recent publications that you have           14   Forest Service and do work that the Forest Service
15   authored related to your work in Libby, correct?             15   requires them to do.
16       A. It has not been published yet.                        16       Q. And what is that? What kind of work is that?
17       Q. Okay, not yet. So it's not available to the           17       A. Well, they do trail maintenance, and they do
18   public, then, correct?                                       18   tree measurement, and they evaluate forests for forest
19       A. That would be correct.                                19   health, and they have test plots where they evaluate tree
20       Q. Okay. However, you say this does inform your          20   growth. And that's part of what they do.
21   opinion about potential exposures in Libby?                  21       Q. What kind of -- and so when you did --
22       A. In and around Libby, yes.                             22       A. They fight forest fires.
23       Q. Okay. How so?                                         23       Q. So when you did this study, you simulated
24       A. Well --                                               24   activities, correct?
25          MR. LEWIS: Well, wait now. I want to object.          25       A. Yes.
                                                    Page 23                                                          Page 25
 1   He hasn't said that it forms his opinions in this case.       1            MR. LEWIS: Objection; that's not what he's
 2   It's not a completed study. He hasn't reached final           2   testified to so far.
 3   opinions. Okay? And it informs his opinions generally,        3       Q. (By Mr. Stansbury) I believe your answer to
 4   but he's not testifying it informs his opinions in this       4   the question was "yes"?
 5   case.                                                         5       A. For the Forest Service, we simulated the
 6            MR. STANSBURY: I will ask going forward you          6   activities that they would perform.
 7   not coach the witness through your objections.                7       Q. And which activities were those? Just so I'm
 8            You may answer the question.                         8   -- you mentioned some activities earlier, but just so I'm
 9            THE WITNESS: Well, yeah, all of the work that        9   clear, which activities did you simulate?
10   we do in Libby informs me generally as to the, you know,     10       A. We simulated trail maintenance when they're
11   the dispersal of the asbestos in and around Libby.           11   clearing trails.
12   Obviously, this work hasn't been published. We haven't       12       Q. Okay.
13   even finalized the results for the Forest Service            13       A. We simulated tree measurement.
14   occupational study, so -- (pause.)                           14       Q. Okay.
15        Q. (By Mr. Stansbury) But you are aware of the          15       A. We simulated walking through the forest if
16   results, correct?                                            16   they were walking to get to a stand of trees to evaluate.
17        A. I'm aware of results.                                17       Q. Okay. Anything else?
18        Q. And that is something which impacts your             18       A. And we simulated fire line construction.
19   understanding of potential exposures in and around Libby,    19       Q. What is fire line construction?
20   correct?                                                     20       A. If there's a forest fire, and it's the
21        A. Well, this focused on the Forest Service             21   constructing of a fire line around the fire.
22   occupational study, so it's a narrow -- much narrower than   22       Q. How is that constructed? Is it made of --
23   the bark studies. Let's put it that way.                     23   what is it made of?
24        Q. But it would still impact, let's say, forest         24       A. It's done with hand tools.
25   workers working in the forest in and around Libby,           25       Q. Hand tools. And where, generally, did you
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                                                    Page 26                                                         Page 28
 1   conduct these simulations?                                    1   you done?
 2        A. The area was probably - let's see if I can get        2       A. Just literature reviews to, in my own mind,
 3   my directions right - probably northeast of where the mine    3   understand the knowledge of asbestos and the hazard of
 4   site was outside of the restricted zone of the mine, and      4   asbestos over time, and how companies were dealing with
 5   essentially between the mine and Lake Koocanusa.              5   these issues, and things like that.
 6        Q. We might need some help with spelling on that         6       Q. When did you first conduct - and I'm going to
 7   one later on.                                                 7   use the term "comprehensive", and if you have any
 8        Any other research other than what we've discussed       8   question, please feel free to -- I'm happy to clarify.
 9   this morning? Any other asbestos-related research?            9   When did you first conduct a comprehensive review of
10        Let me rephrase this: Have you conducted any other      10   asbestos literature?
11   asbestos-related research other than what we've discussed    11           MR. LEWIS: Object to the form of the question
12   so far this morning?                                         12   on the grounds that it's compound and unintelligible as
13        A. Let me think for just a second. I don't              13   stated.
14   believe so.                                                  14           THE WITNESS: Yeah, I mean what you consider
15           MR. LEWIS: Counsel, I'm not going to coach           15   comprehensive, I may not.
16   the witness, but I, but I don't know if you intended by      16       Q. (By Mr. Stansbury) Okay.
17   "research" formal research projects or background research   17       A. I mean to me, that's a confusing word.
18   many years ago. From the witness's answer, I'm not sure      18       Q. And let's get that, let's figure that out.
19   he understood the question.                                  19       When did you first review any article related to
20           MR. STANSBURY: That would be coaching the            20   asbestos?
21   witness.                                                     21       A. Well, probably back in 1978.
22           MR. LEWIS: No, it is not coaching the witness        22       Q. Okay. Do you remember what that was?
23   sir. I'm trying to clarify the record here. Your             23       A. I don't remember what it was.
24   question was broad. And what do you mean?                    24       Q. Okay. When did you first decide to seek out
25           I'll make a formal objection. The question is        25   asbestos literature specifically for purposes of
                                                    Page 27                                                         Page 29
 1   vague because it refers to "other research" without         1     researching and broadening your understanding of asbestos
 2   defining what you mean by "other research"; and therefore,  2     literature?
 3   it's an improper question.                                  3         A. Probably in 1979.
 4        Q. (By Mr. Stansbury) Dr. Spear, is there any          4         Q. And what was the reason for doing that?
 5   other research that you conducted related to asbestos       5         A. Because I was working at a copper smelter in
 6   other than what we've discussed this morning?               6     Anaconda, and we certainly had asbestos-containing
 7        A. Well, the understanding of our questioning          7     materials there. And we had issues that I had to look up
 8   along those regard is that you were asking about research   8     pertaining to asbestos.
 9   that we were performing in Libby to collect data and        9         Q. What kind of articles did you read?
10   publish results.                                           10         A. Well, at that time, I'm sure I read the OSHA
11        Q. Okay, then let's clarify this. And again, to       11     and the NIOSH publications, and some of the textbooks or
12   the extent that you ever misinterpret or are concerned you 12     National Safety Council information; Patty's Industrial
13   may be, please feel free to raise it.                      13     Hygiene and Toxicology, things like that, that provided
14        Other than Libby, is there any other research         14     information on asbestos.
15   related to asbestos generally that you've performed?       15         Q. Did you survey epidemiological literature?
16        A. Well, I performed literature research of           16         A. I'm sorry?
17   asbestos.                                                  17         Q. Did you read epidemiological literature?
18        Q. And what is literature research? Does that         18         A. I'm sure I did.
19   mean reviewing literature?                                 19         Q. Okay. Do you recall any studies that you
20        A. Yes.                                               20     reviewed in 1979?
21        Q. Okay. But that's not, for example, taking          21         A. No. I'm sure I saw the Doll study in 1979. I
22   samples and analyzing the samples and reaching conclusions 22     don't specifically recall all the articles I looked at in
23   based on the sampling, correct?                            23     1979, I'm sorry.
24        A. Correct.                                           24         Q. Okay. Did you continue -- well, let me
25        Q. Okay. What type of literature reviews have         25     rephrase that. Do you have any idea of how many articles
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 1   you reviewed in 1979?                                        1   question.
 2       A. I don't have. I don't. I can't give you a             2        A. Well, yeah, I'm not a medical doctor. I
 3   number. I mean it's many years ago and I don't remember      3   certainly read medical literature and toxicological
 4   the articles I looked up.                                    4   literature. I'm not a toxicologist, I mean, but it all
 5       Q. Okay. Did you stay current with the asbestos          5   informs me concerning the subject matter of asbestos.
 6   literature after 1979?                                       6        Q. Okay. Well, let's, I guess, then, kind of go
 7       A. Yes.                                                  7   through some of the areas where you -- well, some of your
 8       Q. What publications would you review on an              8   qualifications, so to speak, with respect to different
 9   ongoing basis after 1979?                                    9   aspects of asbestos disease.
10       A. Well, the publications in the American               10            MR. LEWIS: Objection to the form of the
11   Industrial Hygiene Association Journal and the American     11   question.
12   Conference of Governmental Industrial Hygiene Association   12        Q. (By Mr. Stansbury) You mentioned that you have
13   Journal.                                                    13   no medical training, correct?
14       Q. So those are both, as the title would imply,         14        A. Correct.
15   publications aimed at industrial hygiene issues, correct?   15        Q. Okay. And that would include no training in
16       A. Well, yes, I believe that would be correct,          16   radiology, correct?
17   then.                                                       17        A. Correct.
18       Q. So they would look at things such as exposure        18        Q. No training in pulmonary medicine generally,
19   levels, sampling methods, issues like that, correct?        19   correct?
20           MR. LEWIS: Objection; that's a compound             20        A. Correct.
21   question.                                                   21        Q. Do you have any experience obtaining exposure
22           But you can answer, Doctor.                         22   histories from a patient?
23           THE WITNESS: Well, yeah, I mean it could            23        A. No.
24   cover many different aspects. I mean there were -- you      24        Q. And so, of course, you're not able to diagnose
25   know, they would talk about protecting workers through      25   patients with asbestos-related disease, correct?
                                                   Page 31                                                          Page 33
 1   sanitation, and clothing, and showers, and things like    1          A. Correct.
 2   that. Sure, I mean it would cover not only sampling and   2          Q. Do you have an opinion on whether there is a
 3   standards, but how do we control the exposures.           3      distinction between individuals who have developed an
 4       Q. Okay. Do these articles --                         4      asbestos disease from exposures in Libby, Montana, as
 5       A. The Annals of Occupational Hygiene, obviously,     5      opposed to individuals who have developed an asbestos
 6   too, is another one that was -- that I considered to be   6      disease from exposures outside of Libby, Montana?
 7   important even back in the late '70s.                     7              MR. LEWIS: Could the court reporter read back
 8       Q. But would these publications contain mortality     8      the question? It's a long question and I'm not sure I
 9   studies of cohorts exposed to asbestos?                   9      understand it.
10       A. They could provide summaries of those types of    10              (The pending question was read by the court
11   studies.                                                 11      reporter.)
12       Q. But that would not be the central focus of        12              MR. LEWIS: Okay. I'm going to object to the
13   these articles?                                          13      form of the question on -- it's vague. The word
14       A. Well, I'm not sure. I mean the -- certainly,      14      "distinction", I don't know what you mean by that.
15   a lot of the textbooks and the articles that you're      15      Perhaps the witness does, and I'm not going to coach him
16   referring to discussed mortality and rates of death from 16      or interfere with his answer, but the question is vague
17   asbestos exposure.                                       17      and overbroad.
18       Q. Okay. What about pulmonary function testing? 18                   THE WITNESS: I had, you know, I had two
19   Was that an area of asbestos medicine that you stayed    19      questions pertaining to the question. And --
20   current on during this time period?                      20      BY MR. STANSBURY:
21       A. Not really.                                       21          Q. Sure. What were your questions?
22            MR. LEWIS: Objection. This witness is not a     22          A. What do you mean by, yeah, the distinction
23   medical doctor. He's not qualified to testify as to      23      between individuals? Are we talking about male versus
24   pulmonary studies.                                       24      female?
25       Q. (By Mr. Stansbury) You may answer the             25          Q. Okay.
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 1       A. And then the second question is: When you say          1   asbestos.
 2   exposure outside of Libby, are we talking about exposure      2        Q. Okay. So let's unpack that. So the answer to
 3   to asbestos, or different types of asbestos, or what are      3   my question would be you do have an opinion, and your
 4   we talking about?                                             4   opinion relates not to mesothelioma or lung cancer, per
 5       Q. Good, and I appreciate you asking me about             5   say. The opinion you stated relates to that non-malignant
 6   that, any questions you have.                                 6   disease, correct?
 7       Obviously, you're aware that people who are exposed       7            MR. LEWIS: Objection. He didn't testify to
 8   to asbestos may develop disease, correct?                     8   everything you asked him to assume by that question, if
 9       A. Yes.                                                   9   that is a hypothetical question, and the question is
10       Q. And people in Libby have been exposed to              10   compound.
11   asbestos from Libby and developed disease, correct?          11        Q. (By Mr. Stansbury) You may answer.
12       A. Correct.                                              12        A. What I referred to was the pulmonary fibrosis.
13       Q. And people, let's say, in Pascagoula,                 13        Q. Okay. Which is a non-malignant disease,
14   Mississippi, have been exposed to asbestos and developed     14   correct?
15   disease from those exposures, correct?                       15        A. Yes.
16       A. Yes.                                                  16        Q. Do you have an opinion as to any difference
17       Q. Often asbestos that had nothing to do with            17   involving lung cancer or mesothelioma?
18   Libby, Montana, correct?                                     18        A. Well, I testified in previous depositions
19       A. That could be correct.                                19   regarding Libby that there are certainly some medical
20       Q. And those, you know, just from your general           20   literature that is saying that the tremolite - in that
21   review of the medical literature, you are aware that these   21   case they were talking about tremolite, not Libby
22   diseases fall into -- there are different types of           22   amphibole - is a long, thin fiber, and it has been shown
23   diseases associated with asbestos exposure, correct?         23   to be a very potent mesothelioma causer.
24       A. Correct.                                              24        Q. Okay. So you do have an opinion regarding
25       Q. Mesothelioma, correct?                                25   Libby disease -- strike that.
                                                    Page 35                                                          Page 37
 1       A. Yes.                                                   1       You do have an opinion with respect to mesothelioma.
 2       Q. Lung cancer?                                           2   What about lung cancer? Do you have an opinion about how
 3       A. Yes.                                                   3   a person exposed to asbestos in Libby as opposed to a
 4       Q. And there are also various forms of                    4   person exposed to a different type of asbestos elsewhere
 5   non-malignant asbestos-related diseases, correct?             5   may develop lung cancer?
 6       A. Correct.                                               6       A. Well, I think all forms of asbestos can cause
 7       Q. And that could include asbestosis, correct?            7   lung cancer.
 8       A. Yes.                                                   8       Q. But you don't have an opinion as to weather
 9       Q. Fibrosis of the pleura, correct?                       9   Libby asbestos has a greater likelihood of causing lung
10       A. Yes.                                                  10   cancer as opposed to another form of asbestos?
11       Q. And do you have any opinion as to how any of          11       A. I don't really have an opinion on that.
12   those diseases would manifest themselves differently in a    12       Q. Okay. So let's talk about your mesothelioma
13   person whose exposure was to asbestos in Libby as opposed    13   and your pulmonary fibrosis opinions. Let's start with
14   to a person who was exposed to a different type of           14   the pulmonary fibrosis. And what type of pulmonary
15   asbestos outside of Libby?                                   15   fibrosis are you talking about? Are you talking
16       A. Yes.                                                  16   interstitial disease or are you talking about pleural
17       Q. You have an opinion?                                  17   disease?
18       A. Based on my review of the Libby work and the          18       A. Pleural.
19   medical literature.                                          19       Q. Okay. Do you have an opinion as to how
20       Q. What is that opinion?                                 20   exposure to Libby tremolite affects interstitial disease
21       A. My opinion is that the asbestos, the amphibole        21   compared to the way other forms of asbestos cause
22   asbestos in Libby seems to be causing a very severe          22   interstitial disease?
23   pulmonary fibrosis which is progressive and fast-acting      23       A. Well, I don't. I can't comment on medical
24   and can lead to death, which is different than what's been   24   diagnosis or medical findings. All I'm saying is I draw
25   seen in other cohorts exposed to different types of          25   my opinion or I form my opinion based on what I'm reading
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 1   in the medical literature.                                   1       Q. And you, you rely on Meeker, don't you, in
 2       Q. Okay. So from what you're reading in the              2   your expert report?
 3   medical literature, can you identify any piece of            3       A. Well, I rely on his mineralogy expertise, I
 4   literature that would support an opinion that exposure to    4   guess, yes.
 5   Libby asbestos would have a greater likelihood of causing    5       Q. Okay, okay. So when we're talking about Libby
 6   interstitial disease as opposed to other forms of            6   amphibole, we're talking about a mix of these four
 7   asbestos?                                                    7   amphiboles, correct?
 8       A. I don't.                                              8       A. Yes.
 9       Q. Okay. But you do have that opinion with               9       Q. Okay. And so if I use the term "Libby
10   respect to pleural disease, correct?                        10   amphibole," you understand I'm referring to the four
11       A. Yes.                                                 11   amphiboles found in Libby, Montana, correct?
12       Q. Okay. So let's focus, then, on pleural               12       A. Yes.
13   disease. Now -- and maybe I should take one quick step      13       Q. Okay. So let's go back to the pleural
14   back. When we're talking about asbestos from Libby, what    14   disease. What is your opinion about any differences in
15   is the asbestos from Libby?                                 15   the way pleural disease has manifested itself in people
16       A. Asbestos from Libby is a mixture of                  16   exposed to the Libby amphibole?
17   amphiboles.                                                 17       A. Well, again, I'm not a toxicologist or a
18       Q. Which amphiboles?                                    18   medical doctor, but these are amphiboles. We know that
19       A. Well, it's what's been identified as winchite        19   amphiboles, in general, are toxic and cause severe lung
20   and richterite and tremolite, and then another one that I   20   disease. And so now we have a combination of amphiboles,
21   can't pronounce, riebeckite, or some long name that I       21   and so, obviously, it's going to be toxic. And my opinion
22   don't even try to pronounce.                                22   basically comes from talking to the doctors in, in Libby.
23       Q. Now, are there any difference -- what are the        23       Q. Okay. And you kind of led me to where I
24   differences between winchite and tremolite?                 24   wanted to go, because your opinions are not based on your
25       A. Well, my -- I'm not a mineralogist, either,          25   training as an industrial hygienist, correct? Your
                                                   Page 39                                                           Page 41
 1   but my understanding is that they're in the same mineral     1   opinions -- let me rephrase that.
 2   family, but there's differences in, I think, sodium and      2        Your opinions about pleural disease in Libby are not
 3   potassium for one. But again, I'm not a mineralogist.        3   based on your training as an industrial hygienist,
 4       Q. Okay. The same question with respect to               4   correct?
 5   richterite. Are you available -- are you aware of any        5        A. Well, we don't get medical training as an
 6   differences between richterite and tremolite?                6   industrial hygienist.
 7       A. Well, again, the same mineral family, to my           7        Q. Okay. What specific opinions do you have
 8   knowledge.                                                   8   about pleural disease in Libby? You mentioned them
 9       Q. Okay. The majority of the amphibole in Libby          9   earlier, but I just want to make sure that we're clear
10   is winchite, correct?                                       10   about them so we can go over them.
11       A. Yes.                                                 11        A. I'm sorry, what --
12       Q. In fact, based on what's in the literature,          12        Q. You mentioned that you thought pleural disease
13   often tremolite would be as low as 6 percent of the         13   in Libby was - and again, I'm paraphrasing here, and I'd
14   amphibole material in the ore from Libby, correct?          14   like you, to the extent that I misstate this, correct it -
15       A. It could be.                                         15   it's progressive, progresses to death. You mentioned a
16       Q. Okay. It could be higher, correct?                   16   couple of things about pleural disease in Libby very
17       A. Yes.                                                 17   quickly when we were talking about it earlier, and I just
18       Q. But in some cases, over 80 percent was               18   wanted to go over that real quick. If you would, please,
19   winchite, correct?                                          19   identify those.
20       A. Yes.                                                 20        A. Well, in reading the literature and talking to
21       Q. Okay. So is it fair to say winchite is the           21   Dr. Black specifically, he's seeing in his patients
22   predominant amphibole in the Libby amphibole?               22   pleural disease which is occurring quicker or manifesting
23       A. According to Meeker, I believe that would be         23   itself sooner than they would normally expect; it's more
24   his assumptions, that it's mostly winchite, followed by     24   painful than other types of exposures outside of Libby; it
25   richterite, followed by tremolite.                          25   is progressive, they're seeing progression of this
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 1   disease; and it can be fatal; it's affecting pulmonary      1         A. Yes.
 2   function.                                                   2         Q. And does that study in any way identify or
 3        Q. So we have pleural disease in Libby that,           3    address the pain involved with pleural disease?
 4   unlike other pleural disease elsewhere, occurs quicker, is  4         A. Not that I know of.
 5   more painful, progressive, and can be fatal. Did I          5         Q. Okay. Does it discuss the onset of pleural
 6   summarize that correctly, sir?                              6    disease in particular?
 7        A. That's my understanding, yes.                       7         A. I don't -- I haven't read the article in
 8        Q. Okay. And are these opinions that you intend        8    awhile. You know, it's mainly a mortality study to look
 9   to offer when you testify?                                  9    at the mortality of workers that worked at the mine.
10        A. Well, I don't know if, if I'm, you know, if        10         Q. Right.
11   I'm allowed to offer anything related to medical. I mean   11         A. So it may not be specific to pleural disease
12   I'm an industrial hygienist. I'm just saying I read the    12    for all I know.
13   medical literature, I work in Libby, I work with Dr. Black 13         Q. Okay, okay. And the Rohs study, that is a
14   as a technical advisor to the TAG, and I get this          14    study, a follow-up study -- I guess when I say "the Rohs
15   information from the doctors.                              15    study," we can kind of put Rohs and Lockey together,
16        Q. Okay. So -- and I guess because I asked            16    correct? We're talking about the study of the workers in
17   earlier if you had an opinion, and perhaps I should be     17    the O.M. Scott facility in Marysville, Ohio, correct?
18   more specific, when I ask if you have an opinion on this,  18         A. Correct.
19   you may have an opinion on the weather, but do you have an 19         Q. Okay. So the Lockey/Rohs study, Lockey
20   -- is this an opinion that you believe that you can        20    published in the early '80s, correct?
21   testify about in court?                                    21         A. Yes.
22        A. I don't even know how to answer your question.     22         Q. And then Rohs published a follow-up in, I
23   I'm not a lawyer. I don't know if I would be allowed to    23    think, either 2007 or 2008, correct?
24   opine that.                                                24         A. Yes.
25        Q. Do you believe that you are qualified to opine     25         Q. And what about the Rohs study informed your
                                                   Page 43                                                           Page 45
 1   on those issues?                                             1   opinion about pleural disease in Libby?
 2        A. Well, if, if, you know, reading the medical          2        A. Well, it's pointing to a greater toxicity of
 3   literature and speaking to doctors in Libby qualifies me,    3   the Libby amphibole, that we're seeing disease in lower
 4   then, yes.                                                   4   concentrations than we have in previous studies pertaining
 5        Q. Because that would be the extent of your basis       5   to other types of asbestos.
 6   for this opinion. It's review of medical literature and      6        Q. And so just so I'm clear, what she reports are
 7   discussion -- I think you identified Dr. Black. That was     7   the exposure levels at the Marysville facility, correct?
 8   the basis of your opinion about Libby pleural disease,       8        A. Who are we referring to?
 9   correct?                                                     9        Q. Rohs.
10        A. Yes.                                                10        A. Okay.
11        Q. Okay. Which literature have you reviewed to         11        Q. I'll repeat the question. Dr. Rohs reports
12   form this opinion?                                          12   the exposure levels at the Marysville facility, correct?
13        A. Well, different studies by, I guess, Patricia       13        A. Yes.
14   Sullivan, Rohs, Lockey, the Peipens publication,            14        Q. And she also reports the prevalence of pleural
15   Dr. Whitehouse's publications.                              15   abnormalities among the workers, correct?
16        Q. So that would be the Sullivan study, the Rohs       16        A. Yes.
17   study, the Lockey study, the Peipens study, and then you    17        Q. And she breaks down the population into
18   mentioned Dr. Whitehouse's publications. Are there any      18   quartiles, correct, or is it quintiles?
19   other publications that have informed your opinions about   19        A. As far as I remember, yes. I haven't looked
20   pleural disease in Libby?                                   20   at those in awhile, either.
21        A. Well, I'm sure there are. Those are the ones        21        Q. But four or five exposure categories, correct?
22   that come to mind. I mean it's hard for me to pinpoint      22        A. Yes.
23   specific publications as we sit here.                       23        Q. And one of the findings of the studies that
24        Q. Okay. And the Sullivan study, that is the           24   she focuses on is that we see pleural abnormalities in the
25   NIOSH mortality follow-up study, correct?                   25   lower exposure quartile, correct?
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 1       A. Could you repeat that?                                 1   pulmonary abnormalities. And this was among a working
 2       Q. One of the important findings she addresses in         2   population that was working at the time, so I guess from
 3   the study was that there were individuals with an elevated    3   that standpoint. But again, the "quicker" part comes
 4   level of pleural abnormalities in the lowest exposure         4   from, again, the discussion with Dr. Black --
 5   quartile, correct?                                            5       Q. Okay.
 6       A. I believe that's correct.                              6       A. -- that we're seeing these things happen
 7       Q. Are you aware of any other finding in that             7   quickly.
 8   study that impacts your understanding of pleural disease      8       Q. So just to be clear, then, the Rohs study does
 9   from exposure to asbestos in Libby?                           9   not support an opinion about the onset of Libby pleural
10       A. Well, I get the Rohs and the Lockey study             10   disease from first exposure, does it?
11   mixed up, just in my mind, but -- you know, so they saw,     11           MR. LEWIS: Object to the form of the question
12   in the early years, they saw a certain percentage of         12   using the term "support". It implies something that is
13   people with pulmonary disease. And then they followed        13   not present by his prior answer. To the extent that the
14   these people up after 20-something years, and it went from   14   question purports to summarize a prior answer, it
15   like 4 percent pleural disease up to 26 percent pleural      15   incorrectly does so and is therefore improper.
16   disease.                                                     16           MR. STANSBURY: I'm going to ask that you keep
17       Q. Right, right. And so that's -- the percent            17   your objections in line with the Federal Rules of Civil
18   you're talking about is the prevalence of pleural            18   Procedure, state them briefly and succinctly to preserve
19   abnormalities in the working population, correct?            19   the record, and not coach the witness.
20       A. Yes.                                                  20           You man answer, sir.
21       Q. Okay. But nothing in that study addresses the         21           MR. LEWIS: I'm going to -- I want to make a
22   pain of pleural disease, correct?                            22   statement on the record. There was no coaching there.
23       A. Well, that's correct.                                 23   When I practice before the Federal Courts, I understand
24       Q. Okay.                                                 24   that you have to inform the Court of the basis for your
25       A. I guess they don't have the opportunity to            25   objection and not just make some small objection like, "I
                                                    Page 47                                                          Page 49
 1   talk to the patients in Libby.                                1   object to the form of the question." That's improper.
 2       Q. Well, the people in Marysville, Ohio, were             2   And that's all I did, and there was no coaching of the
 3   exposed to Libby amphibole, correct?                          3   witness in that objection.
 4       A. Right. But I'm just saying I get this                  4            MR. STANSBURY: Again, I'm going to ask you to
 5   information from Dr. Black who tells me what's --             5   state the objection succinctly and briefly.
 6       Q. Oh, I understand.                                      6            You may answer the question.
 7       A. -- what's being reported.                              7            MR. LEWIS: That was as succinctly and briefly
 8       Q. For now let's focus specifically on the                8   as I could make my objection given the nature of your
 9   literature rather than the conversations with Dr. Black.      9   question.
10   There's nothing in the Rohs study which addresses the pain   10            THE WITNESS: I think we should back up
11   involved with Libby pleural disease, correct?                11   because I don't know where we were.
12       A. Not that I know of.                                   12            MR. STANSBURY: I think that was his objection
13       Q. Okay. And the Rohs study was a morbidity              13   in the first place was to create that impression of not
14   study, did not look at mortality, correct?                   14   knowing where we are.
15       A. Right.                                                15            MR. LEWIS: I move to strike statement of
16       Q. So there is nothing in that study that would          16   Counsel on the record. It's improper. He's not a
17   support an opinion regarding the fatality involved with      17   witness. He's a lawyer. He needs to, he needs to shorten
18   Libby pleural disease, correct?                              18   up his questions and ask understandable questions so we
19       A. I believe that would be correct.                      19   don't have these objections.
20       Q. And the issue of "occurs quicker", how does           20            MR. STANSBURY: Could you read back the last
21   the Rohs study impact that opinion?                          21   question before the exchange that I had with Mr. Lewis?
22       A. Well, other than the fact that, you know, it          22            (The record was read by the court reporter as
23   was reported that with time-weighted average exposure        23   follows:
24   levels of, I think it was, 0.3 to 0.4 or 0.5 per cc          24            "QUESTION: So just to be clear, then, the
25   averaged over an eight-hour day, they were still seeing      25   Rohs study does not support an opinion about the onset of
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 1   Libby pleural disease from first exposure, does it?")         1   person fill out a questionnaire, correct?
 2           THE WITNESS: Well, from my recollection, it           2       A. I believe that's correct.
 3   doesn't.                                                      3       Q. And the questionnaire included information
 4       Q. (By Mr. Stansbury) Okay. And then that leaves          4   about the potential exposure pathways, correct?
 5   "progressive." And I guess maybe I should ask you to          5       A. Yes.
 6   explain what you mean when you say something is               6       Q. They also administered an x-ray, correct?
 7   progressive.                                                  7       A. They did.
 8       A. Well, my understanding is that it refers to            8       Q. And they had those x-rays read by B readers,
 9   the progression of the disease after the exposure stops.      9   correct?
10       Q. And how is this a unique or distinct                  10       A. Right.
11   manifestation in Libby?                                      11       Q. And then they also administered pulmonary
12       A. Well, again, in speaking -- reading the               12   function tests, correct?
13   medical literature I've read and talking to Dr. Black,       13       A. Yes.
14   they believe that it's progressing.                          14       Q. Okay. Are you aware of whether the pulmonary
15       Q. But if I'm exposed to asbestos working in             15   function tests results were in the Peipens paper?
16   Mississippi, it's chrysotile asbestos, for a few years and   16       A. I don't. I'd have to review the paper, I
17   then my exposures stop, I'm still at risk of developing      17   don't remember.
18   disease, correct?                                            18       Q. Okay. And one of the takeaways from the
19       A. Well, yes, but it may not progress. It may            19   Peipens paper was that approximately 17 percent of the
20   not continue to envelope different portions of the lung.     20   screened individuals had pleural abnormalities, correct?
21   Again, I'm not a medical doctor.                             21       A. Well, yeah, depending on what group we're
22       Q. Okay. So again, I think that your                     22   looking at. They had different percentages.
23   qualifications here, perhaps this, you know, can close up    23       Q. But I believe if you looked at just the
24   some of this discussion. You're not a medical expert.        24   entirety of the population screened, it was approximately
25   These issues as to whether Libby disease occurs quicker,     25   17 percent, correct?
                                                    Page 51                                                          Page 53
 1   is more painful, is more progressive, or is more fatal,       1       A. That could be correct.
 2   these are not issues in which you intend to offer opinions    2       Q. Eleven hundred eighty-six people, does that
 3   at the confirmation hearing?                                  3   sound about right?
 4           MR. LEWIS: Objection; that's a compound               4       A. Well, the Peipens study talked about, I
 5   question.                                                     5   believe it was 9,000-something --
 6           THE WITNESS: Well, those, those are my                6       Q. Oh, no.
 7   opinions based on what my understanding is of the             7       A. -- people.
 8   situation. And if someone asks me for that opinion, I'd       8       Q. I understand. But did they --
 9   just repeat what we did today.                                9           MR. LEWIS: I object. You promised this
10       Q. (By Mr. Stansbury) Okay. And so then we'll            10   witness you would not interrupt him and you cut him off in
11   just tie this up real quick, then. We discussed Sullivan,    11   his answer.
12   we discussed Rohs and Lockey, and then you mentioned         12       Q. (By Mr. Stansbury) Did you have anything else
13   Peipens as well, correct?                                    13   to add?
14       A. Yes.                                                  14       A. Well, no. You threw a number out there that I
15       Q. And that was the published finding of the             15   didn't know where it came from.
16   ATSDR screening analysis, correct?                           16       Q. Let me put the number into context. They
17       Let me rephrase that. Peipens' paper was the             17   administered x-rays on approximately 6600 people. Does
18   published results of the ATSDR's medical surveillance        18   that sound about right to you?
19   program in Libby in the summers of the 2000 and 2001,        19       A. That sounds about right.
20   correct?                                                     20       Q. And I believe 1,186 were found to have pleural
21       A. Yes.                                                  21   abnormalities, correct?
22       Q. Okay. And that study examined individuals by          22       A. I don't remember the number.
23   giving them a questionnaire, administering an x-ray, and     23       Q. Okay. How does the Peipens paper inform any
24   examine -- strike that.                                      24   opinions that you may have about pleural disease in Libby?
25       In that medical surveillance, the ATSDR had each         25       A. Well, the Peipens paper, I think, pointed out
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                                                    Page 54                                                          Page 56
 1   that there is a potential -- there is environmental -- or     1       Q. Okay. Sitting here today, does the 2004 paper
 2   disease caused from environmental exposure to Libby           2   in any way inform your understanding as to whether pleural
 3   amphibole.                                                    3   disease in Libby is more painful?
 4       Q. Okay. But that does not --                             4       A. No.
 5       A. As well as, you know, I mean, basically, the           5       Q. Sitting here today, does the 2004 paper in any
 6   highest rates were in the working population. In their        6   way inform your opinion as to whether pleural disease in
 7   exposure category where they could not identify a pathway,    7   Libby is more progressive?
 8   that percentage was 6.7 percent, so that's roughly 3 times    8       A. I believe it does, yes. I think that
 9   higher than what you would expect to find in other types      9   progression is discussed. I don't know if -- I don't
10   of population-based studies that have been done looking at   10   remember the specifics of that paper.
11   the prevalence of abnormalities of the lung associated       11       Q. So sitting here today, you cannot think of a
12   with asbestos.                                               12   specific way in which that paper informs your
13       Q. Okay. That paper, however, did not inform             13   understanding of progression of disease in Libby?
14   your opinion as to whether pleural disease occurs more       14       A. I can't remember specifically how it discusses
15   quickly in Libby, though, correct?                           15   that topic as I sit here today.
16       A. That's probably correct.                              16       Q. Okay. And the 2004 paper by Whitehouse does
17       Q. Okay. Nor does the Peipens paper inform your          17   not inform your opinion about the fatality involved with
18   opinion as to whether Libby pleural disease was more         18   pleural disease in Libby, correct?
19   painful, correct?                                            19       A. Not that I know of.
20       A. Correct.                                              20       Q. Okay. You mentioned on a couple of occasions
21       Q. Does it inform your -- does the Peipens paper         21   Dr. Black, your conversations with Dr. Black informed your
22   inform your opinion as to whether pleural disease in Libby   22   opinions, correct?
23   is more progressive?                                         23       A. Yes.
24       A. Well, I don't know how to answer that                 24       Q. And who is Dr. Black?
25   question, I guess -- probably not.                           25       A. Dr. Black works in the card clinic up in
                                                    Page 55                                                          Page 57
 1       Q. Okay. And it certainly doesn't impact your          1      Libby.
 2   opinion as to whether pleural disease in Libby was more    2          Q. What is his role there?
 3   fatal, correct?                                            3          A. I believe he's the director or he runs the
 4       A. No.                                                 4      card clinic.
 5       Q. Okay. And then you mention Dr. Whitehouse's         5          Q. Okay, runs the card clinic. And what kind of
 6   paper. Which paper was that?                               6      doctor is Dr. Black?
 7       A. Well, he's had several. I've looked at              7          A. I don't know.
 8   several of his recent publications.                        8          Q. Is he a pulmonologist?
 9       Q. You published one in 2004, correct?                 9          A. I don't know for sure if he's a pulmonologist.
10       A. Yes.                                               10      I guess I haven't looked at his resume.
11       Q. And you also published a paper in 2008             11          Q. Okay. Do you think that's important, what
12   regarding mesothelioma, correct?                          12      kind of doctor -- a person, a doctor's training, do you
13       A. Yes.                                               13      think that's relevant to their work as a doctor?
14       Q. So the 2004 paper, how did that paper inform       14          A. I suppose it could be, sure.
15   your opinions as about pleural disease in Libby?          15          Q. Okay. And sitting here today, you're not
16       A. I believe that in -- Dr. Whitehouse's papers       16      aware of any pulmonary training Dr. Black has had,
17   describe the disease rates and the effects on pulmonary   17      correct?
18   function, and I believe the 2004 paper talks about the    18          A. No. Like I say, I haven't looked at his
19   pleural disease rate, but I could be wrong.               19      resume.
20       Q. Okay. Does it inform your opinion as to            20          Q. Okay. Were you aware that Dr. Black was
21   whether -- does the Whitehouse 2004 paper inform your 21          trained as a pediatrician?
22   opinion as to whether pleural disease occurs more quickly 22          A. No.
23   in Libby?                                                 23          Q. Okay. Do you believe -- okay, so you weren't
24       A. I don't remember if that was discussed in the      24      aware of that.
25   paper or not.                                             25          A. No.
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 1       Q. Okay. And you weren't aware that he worked at          1       A. Well, the basis of that opinion, again, is my
 2   St. John's Hospitals -- St. John's Hospital for many years    2   review of the medical literature and scientific journal
 3   in pediatrics, correct?                                       3   articles.
 4       A. No.                                                    4       Q. Do you believe that epidemiology should be the
 5       Q. Okay. You weren't aware that he never did a            5   basis of establishing which exposure levels can cause
 6   residency or fellowship in radiology, pulmonary medicine,     6   disease?
 7   or occupational medicine, correct?                            7       A. I do believe that is one part of it, but it
 8       A. Correct.                                               8   certainly isn't the only part of it.
 9       Q. Okay. But your conversations with him have             9       Q. What other parts are there?
10   informed your opinions about pleural disease in Libby?       10       A. Well, there are -- basic clinical studies is
11       A. And what he's seeing in patients that they're         11   another part of it, what is being seen in clinics with
12   screening through the card clinic.                           12   patients. Some of that may not appear as an epidemiologic
13       Q. Okay. Again, though, as you said it earlier,          13   study. And, I guess, other types of studies in different
14   you're not a medical professional. Your opinions are         14   types of plants where they're seeing disease rates or
15   based on conversations with Dr. Brad Black in review of      15   mortality rates that may or may not be considered an
16   the studies that we mentioned earlier, correct?              16   epidemiologic study are important from an industrial
17            MR. LEWIS: Objection. This is a summary of          17   hygiene standpoint.
18   his testimony. It's improper, it's compound. And             18       Q. So your opinions on which exposure levels can
19   therefore, it's an improper question, and I object to the    19   cause disease are based in part on case reports of disease
20   form of the question.                                        20   cases that have occurred in various locations?
21       Q. (By Mr. Stansbury) You may answer.                    21       A. In part. That could be part of it, sure.
22       A. Yeah, in forming my opinions related to the           22       Q. Do you give greater weight to an
23   toxicity of the Libby amphibole, I think is what I said is   23   epidemiological study than you would to a case report?
24   that those are the articles which I've read most recently,   24       A. I think if it's a well-done epidemiologic
25   but not all of the articles I've read pertaining to          25   study it would be given more weight.
                                                    Page 59                                                           Page 61
 1   toxicity of asbestos, including Libby amphibole.              1       Q. Okay. But your opinion on which exposure
 2       Q. But sitting here today, there's no other               2   levels can cause disease, they're based on your review of
 3   article you can think of that informs any opinions you        3   literature, correct?
 4   have about any pleural disease in Libby?                      4       A. And my, yeah, work with asbestos; my 20 or 30
 5       A. No.                                                    5   years of an industrial hygienist reading literature.
 6       Q. Okay. Do you have any specific opinions                6       Q. But as an industrial hygienist, your role is
 7   about -- let me back up a second. Are you familiar with       7   to focus on the actual exposures themselves and preventing
 8   the term "diffuse pleural thickening"?                        8   those exposures, correct?
 9       A. Well, I've seen the term.                              9       A. That's a big part of our job, yes.
10       Q. Do you have any opinions about diffuse pleural        10       Q. Okay. Do industrial hygienists offer opinions
11   thickening?                                                  11   in the course of their role as industrial hygienists as to
12       A. No.                                                   12   which levels of exposures can cause disease?
13       Q. Okay. That's not something you intend to              13       A. Well, if they were seeing disease rates within
14   opine about at the confirmation hearing, is it?              14   the plant they're working with, I think their information
15       A. No.                                                   15   would be important to establishing what the level of
16       Q. Okay. And you're not an epidemiologist                16   exposure can be that causes disease, sure.
17   either, correct?                                             17       Q. But what information would that be?
18       A. Correct.                                              18       A. Well, from there, if they're sampling a
19       Q. You have no education that qualifies you to           19   workplace and they have medical records saying that -- or
20   opine on epidemiology, correct?                              20   medical exams showing a certain disease rate in a working
21       A. Correct.                                              21   population, then, sure, that provides information of
22       Q. Do you have an opinion on the levels of               22   exposure that could potentially cause disease.
23   exposure that cause asbestos-related diseases?               23       Q. But is it the -- strike that.
24       A. Yes.                                                  24       Is it the industrial hygienist, though, who would
25       Q. And what is the basis of that opinion?                25   take those exposure data as well as the medical
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 1   information and reach an opinion as to whether an exposure 1    distribution procedure in this case?
 2   has caused disease? Is that the industrial hygienist's     2        A. No.
 3   role?                                                      3        Q. Okay. So you have no opinion on the medical
 4       A. No. The industrial hygienist's role would be        4    criteria contained in that TDP, do you?
 5   to provide that data to people that wanted to simulate it  5        A. No.
 6   and perhaps do an epidemiologic study.                     6        Q. And you have not evaluated the exposure
 7       Q. Okay. So an industrial hygienist is a               7    treated in that TDP, have you?
 8   critical component of developing this epidemiological      8        A. No.
 9   understanding, correct?                                    9        Q. So you intend to offer no opinions about those
10       A. Yes.                                               10    issues at the confirmation hearing, correct?
11       Q. However, the industrial hygienist is -- strike     11        A. No.
12   that.                                                     12        Q. Okay. And you are not offering any opinions
13       However, the industrial hygienist's role is to focus  13    specific to the objections stated by the Libby claimants,
14   on, specifically, the exposure data, correct?             14    are you?
15       A. Well, for the most part, making sure we            15            MR. LEWIS: Objection; lack of foundation.
16   collect representative samples that could be used in an   16    I'm not sure he's seen the objections.
17   epidemiologic study, as well as controlling the exposure. 17        Q. (By Mr. Stansbury) Well, let's establish that.
18       Q. Industrial hygienists clearly don't do the         18    Have you reviewed the objections submitted by the Libby
19   medical examinations themselves, do they?                 19    claimants?
20       A. No.                                                20        A. No.
21       Q. Industrial hygienists do not determine             21        Q. So you have no opinion on those objections, do
22   toxicity based on mortality compared to exposure levels,  22    you?
23   correct?                                                  23        A. No.
24       A. Correct.                                           24        Q. Okay. Do you have any opinion regarding the
25       Q. Okay. That's not an industrial hygienist's         25    amounts paid in settlement to past Libby claimants?
                                                  Page 63                                                          Page 65
 1   role, is it?                                                1       A. What do you mean do I have an opinion?
 2       A. No.                                                  2       Q. Well, I mean do you intend to offer any
 3       Q. Okay. Now, you're also not an expert on              3   opinion about the value of past settlements?
 4   insurance issues, are you?                                  4       A. No.
 5       A. No.                                                  5       Q. Okay. Do you intend to offer any opinion
 6       Q. You have no opinion as to Grace's historical         6   about the exposures that any individual Libby claimant may
 7   insurance policies, correct?                                7   have had?
 8       A. I guess I don't know what you mean by                8       A. Well, I mean that's what I do is I basically
 9   "historical insurance policies." I --                       9   evaluate exposures. So if I was asked to, if I was given
10       Q. This is something you know nothing about,           10   information, I guess I could provide an opinion on that.
11   correct?                                                   11       Q. Right. So if you had information on a
12       A. Well, other than, I mean, I've certainly read       12   person's exposure, you could evaluate that exposure,
13   the Grace exhibits where there are memos from the          13   correct?
14   insurance companies, but I don't know what your question   14       A. Yes.
15   is pertaining to.                                          15       Q. Have you reviewed any of the exposures for any
16       Q. You have no opinion as to how -- well, strike       16   of the Libby claimants?
17   that. You have no --                                       17       A. I don't know who they are, so I don't -- I
18            MR. LEWIS: We will concede that this witness      18   guess I haven't reviewed them.
19   will not offer any testimony concerning insurance issues   19       Q. Okay. So sitting here today, you do not
20   in this case.                                              20   intend to offer any testimony about an individual
21       Q. (By Mr. Stansbury) Okay, let me ask one more        21   claimant's exposure, do you?
22   follow-up on that. You have no opinion on what             22       A. At this time, I guess I haven't seen the
23   constitutes a product for insurance purposes, do you?      23   claimant, so I don't know what their exposure was.
24       A. No.                                                 24           MR. STANSBURY: Will you mark this as an
25       Q. Okay. Have you reviewed the trust                   25   exhibit, please? Madam court reporter, if you could mark
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 1   that as Exhibit 1, please.                                    1   Professional Experience," tell me if I read this
 2           (Document marked Deposition                           2   correctly. It's on the second page (quoted as read):
 3       Exhibit No. 1 for identification.)                        3           "Provide consultation to a variety of general
 4   BY MR. STANSBURY:                                             4   industry and mining companies on program document
 5       Q. Dr. Spear, I'm handing you what's been marked          5   development, health and safety compliance auditing,
 6   as Exhibit 1, which is the CV of Dr. Terry Spear, and it's    6   regulatory issues, industrial hygiene field sampling,
 7   dated May 2008. Is this your most recent CV?                  7   on-site hazard assessment, and training. Over 20 years of
 8       A. No.                                                    8   experience providing expert witness testimony involving
 9       Q. Okay. When was --                                      9   consultation and participation in more than 50 personal
10       A. I have one with me.                                   10   injury and illness liability litigation cases for
11       Q. Oh. Could I get that one, please?                     11   plaintiffs, defendants, private industry, and insurance
12       A. You bet.                                              12   companies."
13       Q. Great.                                                13       Did I read that correctly, sir?
14           MR. LEWIS: We're probably going to need some         14       A. Yes.
15   copies. Would this be a good time to take a break?           15       Q. Okay. I want to focus on the expert witness
16           MR. STANSBURY: Sure, let's take a break.             16   testimony. You list here: Plaintiffs, defendants,
17           VIDEOGRAPHER: The time is 9:43. We're off            17   private industry, and insurance companies.
18   the record.                                                  18       You were also retained as an expert witness by the
19           (A brief recess was taken.)                          19   U.S. Government at one time, correct?
20           VIDEOGRAPHER: This is Tape 2 of the                  20       A. Yes.
21   videotaped deposition of Dr. Terry Spear.                    21       Q. And that was in connection with what?
22           The time is 9:49. We're on the record.               22       A. The criminal trial?
23           MR. STANSBURY: Okay. And so do we have --            23       Q. Yes. When were you retained by the U.S.
24   actually, let's make this Exhibit 2.                         24   Government?
25           MS. ROHRHOFER: Oh, really? Okay.                     25       A. I believe it was sometime in 2005.
                                                    Page 67                                                          Page 69
 1           MR. STANSBURY: Yeah, because we still have            1       Q. Do you recall if it was winter or spring or
 2   the old exhibit, we have the old CV as Exhibit 1.             2   summer?
 3           (Document marked Deposition                           3       A. Not really. I believe, I believe it was
 4        Exhibit No. 2 for identification.)                       4   sometime in 2005 when I was -- when I first started doing
 5   BY MR. STANSBURY:                                             5   work in that issue. I may have been contacted before
 6        Q. So I'm handing you what is marked as Exhibit          6   that. I don't remember the chronology.
 7   2, which is your June 2009 CV.                                7       Q. Who is the, which -- do you remember who the
 8        A. I'm confused.                                         8   -- well, strike that.
 9        Q. There was, the May one was 1. That one was 1.         9       Who was the first person you recall contacting you
10        A. This is marked 1 but it's 2009.                      10   from the U.S. Government?
11        Q. Yeah, we're not going to use old one. We're          11       A. Kris McLean.
12   not going to use the old one. We're going to use the new     12       Q. And who is Kris McLean?
13   one instead.                                                 13       A. He's the district attorney out of Missoula.
14           (Off-the-record discussion.)                         14       Q. And what did he ask you?
15   BY MR. STANSBURY:                                            15       A. He asked me if I'd be interested in discussing
16        Q. So you have a -- according to your CV, your BA       16   participating in the criminal trial.
17   is in microbiology, correct?                                 17       Q. Okay. And was this over the phone, this first
18        A. Yes.                                                 18   conversation?
19        Q. You have a master's in environmental health,         19       A. Yes.
20   correct?                                                     20       Q. Was it a substantive call or was it just a
21        A. Yes.                                                 21   "hi", get to know each other, followed up by a later
22        Q. And then a Ph.D. in environmental health from        22   meeting?
23   the University of Minnesota, correct?                        23       A. It was just, yeah, that type of call.
24        A. Yes.                                                 24       Q. Okay. When did you first meet -- was the next
25        Q. Okay. And in your CV under "Related                  25   meeting with Mr. McLean face to face?
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 1       A. Yes.                                                   1       Q. And you also offered opinions about what the
 2       Q. When did that occur, do you recall?                    2   industrial hygiene standards were at various times during
 3       A. Again, I believe it would have been in 2005.           3   that operation, correct?
 4       Q. Okay.                                                  4       A. And I don't remember if we -- if that was part
 5       A. I don't recall exactly when.                           5   of the opinion. I mean, certainly, it was on standards
 6       Q. Okay. And could you briefly summarize that             6   pertaining to how do we keep materials from leaving the
 7   first face-to-face meeting with Mr. McLean?                   7   workplace and getting its way into the home.
 8       A. Well, I believe they presented me with the             8       Q. Right. But you also were of the opinion that
 9   allegations in the trial proceedings and we discussed         9   W.R. Grace had failed to comply with the industrial
10   those. And I believe he asked me if I would be willing to    10   hygiene standards that were in place at that time,
11   be a witness on, I think -- originally, it was on two of     11   correct?
12   those aspects.                                               12       A. Yes.
13       Q. Which two aspects?                                    13       Q. Okay. What were some of the areas where you
14       A. I believe, you know, one pertained to                 14   found W.R. Grace to be lacking?
15   sanitation. I don't remember -- both of them pertained to    15       A. Well, No. 1, lack of informing the worker of
16   similar things, but -- (pause.)                              16   the hazards of the materials, Libby amphibole that they
17       Q. So one was sanitation and the other one?              17   were working with --
18       A. I don't remember.                                     18       Q. Right.
19       Q. But it related to the historical operation of         19       A. -- lack of control of the dust, whether it be
20   the mine and mill up in Libby?                               20   engineering controls, administrative controls, or personal
21       A. Yes, I think that would be fair.                      21   protective equipment; lack of sanitation or control of
22       Q. Okay. Did you talk to him at all about any of         22   dispersion and taking this material home. That's, that
23   your work regarding the forests around Libby?                23   was the main part of it.
24       A. Well, no, because at that time, we'd just             24       Q. Okay. Did you meet with anybody else from the
25   begun that work in late '03 and we hadn't published          25   U.S. Government other than Mr. McLean?
                                                    Page 71                                                          Page 73
 1   anything on that.                                             1       A. Well, when we had the first meeting, they came
 2       Q. Did you tell him that was ongoing?                     2   over to Montana Tech and there were two other individuals
 3       A. Well, not then --                                      3   that worked for the EPA, and I don't remember who they
 4       Q. Okay.                                                  4   were.
 5       A. -- because it wasn't really ongoing.                   5       Q. But they were EPA individuals?
 6       Q. Gotcha.                                                6       A. That's what I understand.
 7       A. I mean it was discussed and we were planning           7       Q. Okay. How many times did you meet with
 8   things. We hadn't published anything. I notified him          8   Mr. McLean?
 9   after we had a publication.                                   9       A. Just once.
10       Q. Okay. And so obviously, you agreed to serve           10       Q. Okay. And then you submitted a report. Did
11   as an expert witness for the Government, correct?            11   you have any other conversations with him over the phone?
12       A. Yes.                                                  12       A. I believe we had other phone conversations,
13       Q. And were you paid for your services?                  13   just keeping me updated on -- at least initially, like
14       A. Yes.                                                  14   2005, maybe part of 2006.
15       Q. What was the paying rate?                             15       Q. Okay. What about 2008 - 2009? Did you
16       A. I believe $150 an hour.                               16   continue a dialogue with Mr. McLean?
17       Q. And what specific services did you provide for        17       A. No. The only dialogue would be if we had a
18   the U.S. Government?                                         18   publication, I wanted to make sure that there was no
19       A. I provided Mr. McLean with an opinion.                19   conflict of interest in his eyes, so I would send him the
20       Q. In the form of a written report?                      20   fact that we had a paper published pertaining to Libby and
21       A. Yes.                                                  21   just to let him know.
22       Q. Okay. And this written report commented on            22       Q. So you informed Mr. McLean about these various
23   the historical vermiculite mining and milling operation in   23   forest studies that you were doing, correct?
24   Libby, correct?                                              24       A. Yes.
25       A. I believe it did.                                     25       Q. And you also informed the publications that
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 1   you were working with the U.S. Government at the time?        1   behalf of a plaintiff in a Libby case?
 2       A. I'm sorry, I lost that one.                            2       A. I guess -- I don't remember. It could have
 3       Q. Oh. So you mentioned you were concerned about          3   been the mid 2000s. I don't remember the last time I
 4   a conflict of interest with the Government and you            4   testified.
 5   disclosed to the Government that you were writing these       5       Q. Okay. When were you retained in connection
 6   papers, correct?                                              6   with this case?
 7       A. Yes.                                                   7       A. I believe it was 2008.
 8       Q. Did you make a disclosure in the other                 8       Q. 2008. So you had testified in the mid 2000s,
 9   direction as well to these papers that you were testifying    9   as you said, on behalf of individuals exposed to asbestos
10   for the U.S. Government?                                     10   from Libby, correct?
11       A. I didn't.                                             11       A. To the best of my memory.
12       Q. Okay. And just so we're clear, this is --             12       Q. Okay. And at this time, you were working as a
13   we're talking about an article in 2006 that was submitted    13   consultant for the U.S. Government in a criminal trial
14   to the International Journal for Scientific Research Into    14   against W.R. Grace involving alleged criminal releases of
15   the Environment and its Relationship with Human Kind,        15   asbestos into the ambient air, correct?
16   right? Is that your 2006 article? You might have it in       16       A. Well, again, takehome exposure is what I was
17   front of you.                                                17   asked to testify on.
18       A. This is what you're referring to?                     18       Q. Okay.
19       Q. May I see?                                            19       A. My testimony, as I understand it, for Kris
20       A. (Handing document to counsel.)                        20   McLean was to basically evaluate how they could have
21           MR. STANSBURY: Could we mark this as an              21   controlled asbestos takehome with sanitation procedures.
22   exhibit, please?                                             22       Q. And do you have your 2007 article in front of
23           (Document marked Deposition                          23   you, sir, in your folder?
24       Exhibit No. 3 for identification.)                       24       A. Is this the firewood harvesting?
25   BY MR. STANSBURY:                                            25       Q. Yes, sir.
                                                    Page 75                                                          Page 77
 1       Q. So we're looking at "Trees as reservoirs for         1        A.    Yes.
 2   amphibole fibers in Libby, Montana," published 2006. And 2                MR. STANSBURY: Okay. Could we mark that as
 3   the authors are Tony Ward, Terry Spear, Julie Hart, Curtis 3      an exhibit, please, madam court reporter?
 4   Noonan, Andrij Holian --                                    4             (Document marked Deposition
 5       A. Yeah.                                                5         Exhibit No. 4 for identification.)
 6       Q. -- okay, Myron Getman, and James Webber. Did         6     BY MR. STANSBURY:
 7   I read that correctly, sir?                                 7         Q. Exhibit 4 is "Evaluation of Asbestos Exposures
 8       A. Yes.                                                 8     during Firewood-Harvesting Simulations in Libby, Montana,
 9       Q. Okay. And this article - we can discuss it in        9     USA - Preliminary Data", by Julie Hart, Tony Ward, Terry
10   detail a little bit later, but just so I'm clear - this    10     M. Spear, Kelly Crispen, and Tara R. Zolnikov.
11   article, you examined tree bark to determine the asbestos  11         Did I read that correctly, sir?
12   contents in that tree bark, correct?                       12         A. Yes.
13       A. Yes.                                                13         Q. And this is published in the "Annals of
14       Q. Okay. And at the time of this article's             14     Occupational Hygiene" in 2007. Is that correct, sir?
15   publication, you were working as a consultant to the U.S.  15         A. Yes.
16   Government in connection with the criminal case, correct? 16          Q. Okay. And in this paper, you're looking at
17       A. Yes.                                                17     activities that could occur in the forest and potential
18       Q. Had you also be retained by individuals who         18     asbestos exposures that could arise from those activities,
19   had lawsuits against W.R. Grace for personal injury        19     correct?
20   arising from exposures in and around the mine?             20         A. Well, specifically from harvesting firewood,
21       A. At that time, I don't believe so.                   21     yes.
22       Q. Okay. Do you recall -- you had testified            22         Q. Okay. Can I get the 2009 -- do you also have
23   previously, though, on behalf of plaintiffs, correct?      23     the 2009 paper in front of you, sir?
24       A. I have, yes.                                        24         A. I don't.
25       Q. When was the last time you had testified on         25             (Document marked Deposition
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 1       Exhibit No. 5 for identification.)                     1         Q. Was your concern that potentially people could
 2   BY MR. STANSBURY:                                          2     be exposed to asbestos when burning firewood?
 3       Q. I'm handing you what has been marked as             3         A. I believe that would be fair, that there could
 4   Exhibit 5. Okay. I've handed you what has been marked as   4     be a potential concern.
 5   Exhibit 5, which is "Fate of Libby Amphobile Fibers When   5         Q. Okay. And with Exhibit 4, the 2007 paper,
 6   Burning Contaminated Firewood," by Tony Ward, Julie Hart, 6      there was a concern that there could be exposure to
 7   Terry Spear, Brienne Meyer, and James Webber, published in 7     asbestos in the harvesting of firewood, correct?
 8   2009 in "Environmental Science Technology".                8         A. Yes.
 9       Is that correct, sir?                                  9         Q. Okay. Exposure in the ambient air, correct --
10       A. Yes.                                               10     well, strike that.
11       Q. Okay. And this article examined potential          11         This would be airborne exposures that arise from
12   asbestos exposures that could occur when using wood as    12     activities involved with harvesting firewood, correct?
13   firewood in an indoor heating oven, correct?              13         A. Yes.
14       A. Yeah, I don't know if it evaluated exposures.      14         Q. Okay. And those could potentially cause
15   We were mainly trying to determine if wood that was       15     disease, correct?
16   contaminated with the asbestos was burned, where would it 16         A. I suppose that's correct, yes.
17   end up, I mean where did it go.                           17         Q. Right. That's your concern is preventing
18       Q. Okay. So this was not aimed at looking at          18     disease, correct?
19   potential exposures.                                      19         A. Yes.
20       A. Well, not -- no, because we didn't really          20         Q. And so with the 2006 paper, Exhibit 3; the
21   concentrate on doing an exposure measurement. It was      21     2007 paper, Exhibit 4; the 2009 paper, Exhibit 5; when
22   mainly just sampling within the stove itself.             22     submitting these papers, you did not disclose to any of
23       Q. Okay. The 2007 paper, however, you are             23     the publications that you were testifying as -- strike
24   looking at, Exhibit 4, you are looking at potential       24     that.
25   exposures, correct?                                       25         With respect to Exhibit 3, the 2006 paper; Exhibit
                                                   Page 79                                                          Page 81
 1       A. Yes.                                                  1   4, the 2007 paper; and 2009, the -- which is Exhibit 5,
 2       Q. Okay. Did you ever talk about this paper with         2   the 2009 paper, you did not disclose to the journals that
 3   Kris McLean?                                                 3   you had been retained as an expert by the U.S. Government?
 4       A. No.                                                   4       A. I didn't.
 5       Q. Okay. Did you ever talk about the 2009 paper          5       Q. Okay. Did you disclose to any of the journals
 6   with Kris McLean?                                            6   that you had previously testified on behalf of Libby
 7       A. No.                                                   7   claimants?
 8       Q. But you did discuss Exhibit 3, which was the          8       A. No.
 9   2006 paper, you discussed that with Kris McLean?             9       Q. Did you disclose to any of the journals about
10       A. No.                                                  10   your retention in this matter here?
11       Q. Oh, you never discussed any of these with Kris       11       A. I didn't. I wasn't -- well, no. I wasn't
12   McLean?                                                     12   retained for this case until 2008 so -- (pause.)
13       A. No. I basically would notify him of what we          13       Q. But for the 2009 paper, Exhibit 5, this was
14   were trying to publish and that we were doing research up   14   published after you were retained, correct?
15   in Libby.                                                   15       A. Yes.
16       Q. So you made him aware that you were doing this       16       Q. Okay. Why didn't you feel it was necessary to
17   research, though, correct?                                  17   disclose that information to the journals?
18       A. Yes.                                                 18       A. Well, because we are doing research to
19       Q. Okay. And the 2009 paper, you say it does not        19   determine pathways of exposure. And it's not being paid
20   focus on potential exposures, correct?                      20   for by any law firm, and I'm not doing it for a law firm.
21       A. Well, not -- that wasn't the main aim of the         21   I'm doing it as a research exercise to try to determine
22   study. It was to determine where are the fibers when you    22   pathways of exposure.
23   burn wood contaminated with the amphobile asbestos. Do      23       Q. But this work is relevant to your opinions in
24   they go out the stack? Do they go -- stay in the            24   this case, correct?
25   ductwork? Do they stay in the ash?                          25       A. I think all the work I've done in Libby before
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 1   these publications is relevant, yes.                        1   amphibole, I'm not sure we know what level, lowest level
 2       Q. Okay. So, for example, the 2007 paper, in            2   was going to cause disease, then I guess any level would
 3   your mind, this paper could be used to support an opinion   3   concern me.
 4   that individuals in Libby could develop disease from        4       Q. Okay. And so this research, the 2007 paper,
 5   harvesting lumber, correct?                                 5   just so we're clear, who paid for that research?
 6       A. I suppose it could be.                               6       A. Which one again?
 7       Q. Okay. "Yes" or "no," sir? Do you agree that          7       Q. The 2007, Exhibit 4, the harvesting study.
 8   that's true?                                                8       A. This was paid for through the University of
 9       A. Yes.                                                 9   Utah, I believe.
10       Q. Okay. And presumably, this could be an              10       Q. Okay.
11   individual who is a Libby claimant, correct? Are you       11       A. And it wasn't mine. It was Julie Hart's
12   aware of any Libby claimants who may have been exposed in 12    research. It was her grant.
13   the forest?                                                13       Q. Did you ever send a copy of this to Kris
14       A. I've never been involved with a court case          14   McLean?
15   that involved forestry or exposure to firewood, no.        15       A. I don't remember if I did or not. I may very
16       Q. Okay. Are you aware of any disease that's           16   well have. I just wanted to keep him informed that we
17   arisen from exposure to forestry or firewood?              17   were doing the work up in Libby.
18       A. I'm not. I haven't seen any data on that.           18       Q. Okay. So you're doing the work in Libby,
19       Q. Okay. So sitting here today, you have no            19   establishing these exposures. And then today, you're
20   opinion as to whether exposures in the woods at Libby      20   offering testimony about potential exposures that could be
21   could cause disease?                                       21   occurring in Libby that could cause disease, correct?
22       A. Well, again, I'm not a doctor and I don't want      22       A. Yes.
23   to state an opinion as to if our research is saying that   23       Q. And a basis of that opinion is, in part, the
24   -- we don't say that in the research that it could cause a 24   studies, correct?
25   disease. We basically say that there could be exposures    25       A. Well, I rely on these studies, yes.
                                                  Page 83                                                          Page 85
 1   and perhaps it would lead to a concern for disease.        1        Q. Okay. And you're being compensated for being
 2       Q. Okay. Well, let's narrow this down a bit,           2    here today, correct?
 3   because earlier we were talking, I'd asked you about       3        A. Yes.
 4   whether you had opinions as to what exposure levels could 4         Q. What is your -- is your hourly rate still $150
 5   cause disease. And you said that you did, correct?         5    an hour?
 6       A. Yes.                                                6        A. Yes.
 7       Q. Okay. And that was based in part on your            7        Q. Okay. So you did these studies that were
 8   review of epidemiological literature, correct?             8    published in 2006, 2007, and 2009 without disclosing that
 9       A. In part, yes.                                       9    you had previously testified on behalf of individuals who
10       Q. As well as case reports, correct?                  10    got disease from Libby, correct?
11       A. Yes.                                               11            MR. LEWIS: Objection. Disclosing to who?
12       Q. Okay. Do you have an opinion as to whether         12            MR. STANSBURY: To -- fair point.
13   the exposures identified in Exhibit 4 can cause disease?  13            MR. LEWIS: Okay.
14       A. And Exhibit 4 --                                   14        Q. (By Mr. Stansbury) To the journal, correct?
15       Q. Yes.                                               15    To either -- any of the journals, correct?
16       A. -- is the firewood harvesting?                     16        A. I did not disclose it to the journal, but I
17       Q. Yes, sir.                                          17    wasn't the grant administrator, either.
18       A. Yeah, I mean we wanted to determine if -- we       18        Q. But you are one of the authors listed,
19   knew the wood was contaminated, so we wanted to determine 19    correct?
20   can we liberate fibers if we do this activity. So based   20        A. Yes.
21   on the personal breathing zone samples, we, you know, we  21        Q. Okay. And then today, you are being
22   found that fibers are liberated.                          22    compensated to offer opinions that are based in part on
23       Q. Okay. And were they liberated at a level that      23    this research you've previously done, correct?
24   you believe could pose a threat to human health?          24        A. Yes.
25       A. Well, since -- particularly for Libby              25        Q. Okay. And in particular, and with respect to
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                                                   Page 86                                                          Page 88
 1   the 2009 paper, you were retained in this case when that     1       A. No.
 2   paper was being considered for publication, correct?         2       Q. Okay. It's a pretty long report. Let's see
 3       A. Yes. It was being considered in 2008.                 3   here, it's 27 pages; is that right?
 4       Q. Okay. And you at no point disclosed to the            4       A. I believe that's like 32 counting references.
 5   journal that you were receiving compensation to offer        5       Q. Okay, counting references, okay. And the
 6   opinions about exposures in the same forest that were the    6   paragraphs are numbered, correct?
 7   subject of that paper?                                       7       A. Yes.
 8       A. No.                                                   8       Q. And some of these paragraphs deal with related
 9       Q. Okay. Did you review the guidelines for               9   points and some of them deal with very different points,
10   disclosing conflicts of interest before submitting any of   10   correct?
11   those three papers?                                         11       A. That would be fair, I think.
12       A. Well, I didn't. I basically helped put the           12       Q. Okay. What I'd like to do is kind of walk
13   papers together, and I think Tony Ward and Julie Hart       13   through the report so we can kind of identify which
14   submitted them, so -- (pause.)                              14   paragraphs relate to specific opinions you intend to offer
15       Q. Okay. Did you disclose to them that you had          15   at the hearing. And to the extent that we can kind of
16   been working for -- you had historically worked for         16   group of the paragraphs together, perhaps we could do so.
17   plaintiffs?                                                 17   Would you be willing to walk through that with me?
18       A. Yes. They know that I have been.                     18       A. Sure.
19       Q. Okay. And they knew that you were working for        19       Q. Okay. Now, Paragraph 1, your name and where
20   the U.S. Government?                                        20   you live, I think we can move past that. And 2 and 3 are
21       A. I don't know if they knew that or not. I             21   background information. Paragraphs 4 and 5, these
22   believe so.                                                 22   paragraphs both relate to the published studies we were
23       Q. But they certainly knew that you were involved       23   just discussing, correct?
24   with personal injury cases involving exposures in Libby,    24       A. Yes.
25   correct?                                                    25       Q. Paragraph 4 relates to Exhibit 3, whereas
                                                   Page 87                                                          Page 89
 1       A. I believe they knew that.                             1   Paragraph 5 relates to Exhibit 4. Correct, sir?
 2       Q. But there was no disclosure made?                     2       A. Yes.
 3       A. Not that I know of.                                   3       Q. Okay. And there's no reference in this report
 4       Q. Okay. I would like to look -- do you have             4   to Exhibit 5, the 2009 paper. That was published after
 5   your expert report with you today, sir?                      5   this report, correct?
 6       A. Yes.                                                  6       A. Yes.
 7           MR. STANSBURY: Could we mark that as an              7       Q. But do you intend to offer any opinions at the
 8   exhibit, please.                                             8   confirmation hearing based on that paper?
 9           MR. LEWIS: I've got one. What exhibit number         9       A. No.
10   are you going to put on it?                                 10       Q. Okay. So we can just put that aside, then,
11           (Document marked Deposition                         11   and not talk about it, correct?
12       Exhibit No. 6 for identification.)                      12       A. Fine.
13           MR. LEWIS: Maybe I'll take this other, the          13       Q. Okay. Now, looking at Paragraph 6, Paragraph
14   other copy.                                                 14   6 and 7, these discuss - and if you don't like my
15   BY MR. STANSBURY:                                           15   clarification, please tell me - these discuss the
16       Q. Before you is Exhibit 6. Is this your expert         16   historical conditions at the mining and milling facility,
17   report, sir?                                                17   correct, sir?
18       A. Yes.                                                 18       A. Well, yeah. It discusses, you know, the basic
19       Q. Okay. And does this opinion reflect the              19   flow of operations, flow of materials. And to that
20   entirety of the opinions you intend to offer at the         20   extent, I think you're correct.
21   confirmation hearing?                                       21       Q. Okay. Well, let's agree to a term that we can
22       A. Yes.                                                 22   both be comfortable with. Paragraph 6 and 7 both relate
23       Q. Okay. Has there been any work done since the         23   to the historical operating conditions at Libby? Is
24   submission of this report that you believe informs the      24   that --
25   opinions that you wish to offer in this case?               25       A. Yes, again --
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 1       Q. Okay.                                              1     the atmosphere of other areas?
 2       A. -- the way things were processed.                  2          A. I haven't personally, no.
 3       Q. Okay.                                              3          Q. Okay. Have you reviewed any literature which
 4       A. And what --                                        4     has studied the Libby atmosphere in that manner?
 5       Q. So those were the historical conditions.           5              THE WITNESS: As compared -- excuse me,
 6   Paragraph 8, tell me if I read this correctly:            6     Counsel. I don't mean to interfere, but when you say "in
 7           "The community of Libby lies in a mountain        7     that manner," are you saying as compared to some other
 8   valley. The valley air shed functions somewhat like a     8     place?
 9   bowl. Pollutants when disturbed by wind or human activity 9              MR. STANSBURY: Yes.
10   tend to be recycled into the bowl."                      10              MR. LEWIS: Okay.
11       Did I read that correctly, sir?                      11              THE WITNESS: Well, yes, I have looked at
12       A. Yes.                                              12     literature describing that comparison.
13       Q. Okay. That opinion relates to the atmospheric     13          Q. (By Mr. Stansbury) Can you name any of the
14   conditions in Libby, correct?                            14     literature which --
15       A. Yes.                                              15          A. Well, I -- let me -- I guess maybe I better
16       Q. Okay. Outdoor, right?                             16     clarify. I mean I've looked at the literature that Tony
17       A. Yes.                                              17     Ward has put together where he looks at source
18       Q. Ambient air, is that another term for that as     18     apportionment; in other words, what's contributing to the
19   well?                                                    19     particulates in the air in Libby. Is it automobile
20       A. Yes, it could, I guess.                           20     exhaust? Wood smoke? So from that standpoint, I've
21       Q. Okay. Do industrial hygienists typically          21     looked at that type of literature.
22   study the ambient air?                                   22          Q. Is that a published paper?
23       A. Well, the industrial hygienist is primarily       23          A. I don't know if it's published or not.
24   concerned with what goes on inside the plant, but        24          Q. Okay.
25   certainly we do become involved with public exposure     25          A. I believe it is.
                                                  Page 91                                                           Page 93
 1   because materials do move outside the plant. And so from    1       Q. But that's something that informs your opinion
 2   that standpoint, I wouldn't be quite that narrow.           2   as to whether the airshed functions somewhat like a bowl.
 3       Q. Okay. So when you say moving outside the             3   It was Tony Ward's work, correct?
 4   plant, do you mean, you know, a cloud of dust moving down 4         A. Well, in part, yeah.
 5   the street, or does that also involve atmospheric           5       Q. In part. Did that work examine asbestos in
 6   conditions, you know, thousands of feet in all directions?  6   particular?
 7       A. Well, probably not. I mean we certainly have         7       A. Not that I'm aware.
 8   to record, you know, atmospheric conditions when we're      8       Q. Okay. It focused on, I think you mentioned,
 9   doing sampling. We want to know wind speeds and wind        9   automobile exhaust. Is that one of the potential
10   directions and pressures, temperatures, and things like    10   substances?
11   that. So that's all atmospheric, I guess.                  11       A. I believe so, wood smoke, and there were other
12       Q. Okay. And the statement, "The valley airshed        12   things that they looked at.
13   functions somewhat like a bowl," what is your basis for    13       Q. Okay. But you've not looked at any literature
14   that opinion?                                              14   specific to how asbestos either remained or does not
15       A. Well, the basis for it is that there are a lot      15   remain in the atmosphere in Libby, have you?
16   of inversions in Libby, I mean if you've ever been up      16       A. Well, I've obviously looked at current studies
17   there in the wintertime.                                   17   being done by EPA as the technical advisor to the TAG.
18       Q. Oh, I have.                                         18   That's my job, is to, you know, evaluate what EPA is doing
19       A. And so it tends to have -- you know, the air        19   up there and to try to find out if, you know, if there's
20   tends to settle within the valley.                         20   any problems with that. And so I do read their reports.
21       Q. Okay.                                               21   I've read their ambient air sampling reports and different
22       A. That's all I meant there.                           22   things.
23       Q. Okay. Have you ever studied systematically          23       Q. Okay. None of those reports, though, are
24   the extent to which any type of particulate or pollutant   24   cited in this, in this expert report, though, right?
25   would remain static in the Libby atmosphere compared to 25          A. No.
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                                                   Page 94                                                           Page 96
 1       Q. Okay. Nor is the Tony Ward article, correct?         1    asbestos in it, correct?
 2       A. Correct.                                             2        A. Yes.
 3       Q. Okay. And so when it says pollutants when            3        Q. Okay. Let's turn to Paragraph 13. Now,
 4   disturbed by wind or human activity tend to be recycled in  4    Paragraph 13, you're talking about the industrial hygiene
 5   the bowl, that opinion is based also on Tony Ward's work    5    literature, correct?
 6   as well as the EPA's work?                                  6        A. Yes.
 7       A. Well, yes, in part, and just having been up          7        Q. And specifically, the literature is
 8   there and just seeing how stagnant the air can be. So, I    8    understanding of asbestos, correct?
 9   mean, that's the word "recycle." It's not going to move     9        A. Yes.
10   out of there very readily.                                 10        Q. And you also mention that, and if I say this
11       Q. When you say just seeing the air, is that           11    correctly: "The above was clear in the occupational
12   something that I would be just as capable of observing as  12    medicine and industrial hygiene literature, and W.R. Grace
13   you would, the stagnant air?                               13    and its predecessor Zonolite Company should have been well
14       A. Yes.                                                14    aware of it."
15       Q. Okay. That's not something that's based on an       15        Correct?
16   expertise that you have, correct?                          16        A. Yes.
17       A. No.                                                 17        Q. Okay. So this one, it's not necessarily just
18       Q. Okay. Let's look at Paragraph 9, sir.               18    historical conditions. We're also kind of talking here
19   Paragraph 9, and actually, I believe Paragraph 9, 10, and  19    about what W.R. Grace or Zonolite should have known at the
20   11, these paragraphs all seem to discuss ways in which     20    time, correct?
21   people in the community may have been exposed to asbestos 21         A. Yes.
22   from the mining and milling facility; is that correct,     22        Q. And the way a company knows things, so to
23   sir?                                                       23    speak, is a function of its decision to gather
24       A. I believe that that would be correct in part,       24    information, correct?
25   yes.                                                       25        A. Yes.
                                                   Page 95                                                           Page 97
 1       Q. Okay. So is it fair to say that these three           1       Q. And that's an important part of being a
 2   paragraphs, 9, 10, and 11, they deal with potential          2   responsible company in your mind, correct?
 3   community exposures?                                         3       A. Well, that's one way.
 4       A. Yes.                                                  4       Q. One way.
 5       Q. Okay. Paragraph 12: Various tests on the              5       A. Obviously, the other way is that someone gives
 6   dust showed 27 to 40 percent asbestos. You cite to common    6   them information --
 7   exhibits, correct?                                           7       Q. Okay.
 8       A. Yes, common exhibits and, I mean, the                 8       A. -- and provides information to them.
 9   percentages are also listed in, you know, publications       9       Q. But a company informing itself of potential
10   like by EPA or ATSDR.                                       10   hazards, that's part of a responsible company's code of
11       Q. But these are historical measurements,               11   conduct, correct?
12   correct? These weren't measurements that were done          12       A. Please say that again.
13   recently, correct?                                          13       Q. Sure. A company informing themselves of
14       A. I believe they're historical.                        14   potential hazards involving their enterprise, that is part
15       Q. Okay. And so they reflect the historical             15   of a responsible company's code of conduct, correct?
16   conditions that existed when the mine and the mill was      16           MR. LEWIS: I'm going to object as -- I think
17   operating, correct?                                         17   the term "code of conduct" is vague. Without showing what
18       A. Well, I'm not, I'm not sure how to answer your       18   you mean by that, I don't know how the witness can answer
19   question. I mean the percentages, I don't know if they've   19   the question. I think the question is vague.
20   changed. If they have, I don't know it.                     20       Q. (By Mr. Stansbury) Do you understand my
21       Q. Okay, okay.                                          21   question, sir?
22       A. But, yeah, these do come from people looking         22       A. No.
23   historically at what's being reported.                      23       Q. Okay. You believe that companies can act
24       Q. Those were the conditions historically.              24   responsible?
25   Historically, 27 to 40 percent of the dust showed some      25       A. I hope that they do, yes.
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 1       Q. You believe companies can act irresponsibly,           1   question, sir?
 2   don't you?                                                    2       A. Well, yes. And by informing themselves
 3       A. Yes.                                                   3   meaning, you know, searching the literature for what's
 4       Q. It's your opinion that Grace acted                     4   known about a particular topic like asbestos, conducting
 5   irresponsibly for many years with respect to the mining       5   studies which are published and get the word out.
 6   and milling operation in Libby, correct?                      6       Q. Right.
 7       A. Yes.                                                   7       A. Yeah, that's conduct.
 8       Q. Do you consider that irresponsibility to be a          8       Q. Okay. So that's what Paragraph 13 --
 9   course of conduct that Grace took?                            9   Paragraph 13, you know, addresses that. Paragraph 14, I'm
10       A. I don't know what you mean by "course of              10   going to read this out loud (quoted as read):
11   conduct."                                                    11           "The central principles of industrial hygiene
12       Q. Do you -- well, we can come to an agreement on        12   literature are to study, to warn and to protect. These
13   whatever words you want to use here. What I'm trying to      13   principles extend not only to Grace workers in Libby, but
14   get across, though, is this opinion - and there's going to   14   also to family members of workers, and to the community.
15   be a lot of opinions in this report - really talks about     15   W.R. Grace and its predecessor Zonolite Company did not
16   what Grace should have known, correct?                       16   adequately study, warn or protect the workers, their
17       A. Yes.                                                  17   families, or the community of Libby."
18       Q. What they should have done, correct?                  18       Did I read that correctly, sir?
19       A. Yes.                                                  19       A. Yes.
20       Q. What they didn't do, correct?                         20       Q. Okay. Again, this is an example where you
21       A. Yes.                                                  21   believe Grace's conduct was improper with respect to the
22       Q. Is there any way you would term -- is there           22   workers, the family members, and the community of Libby,
23   any term you would use to describe those issues? I'm open    23   correct, sir?
24   to whatever term you want to use.                            24       A. Yes.
25       A. Well, that's fine. We just mentioned them             25       Q. Okay. Paragraph 15, this one's a little bit
                                                   Page 99                                                         Page 101
 1   individually, so --                                           1   longer. But again, is it fair to say, and this is -- you
 2        Q. Okay. So, but they're actions, I mean these           2   know, because you actually are quoting, I believe, Earl
 3   are all actions or inactions by Grace, correct?               3   Lovick's deposition testimony, correct, from the
 4        A. Yes.                                                  4   Schnetter v. W.R. Grace transcript?
 5        Q. Okay. And can we use the term "conduct"? I            5           MR. LEWIS: Objection; that's not correct.
 6   mean is the term "conduct" comfortable to say that            6           THE WITNESS: Well, are we on 15?
 7   somebody's conduct is responsible when they put in a          7           MR. LEWIS: That's his trial testimony.
 8   medical surveillance program? That's a form of conduct        8           MR. STANSBURY: Oh, excuse me. Thank you,
 9   that's responsible, correct?                                  9   Tom, I appreciate that.
10        A. That would be fine.                                  10       Q. (By Mr. Stansbury) Paragraph 15 runs onto page
11        Q. Okay. And, you know, not making any effort to        11   7 all the way to page 8, correct?
12   keep a facility clean, that's irresponsible conduct,         12       A. Fifteen, yes.
13   correct?                                                     13       Q. Okay. And once again, here you are examining
14        A. Yes.                                                 14   what Grace knew about the conditions in Libby. And as you
15        Q. And so I'm not trying to -- you know, I like         15   state in the last sentence of the paragraph: "Grace
16   the word "conduct" because it's easy. I just want to make    16   continues to send men into the dry mill for eight years
17   sure we're on the same page here.                            17   after 1966."
18        Paragraph 13 talks about Grace's failure to -- or       18       Is that correct, sir?
19   states what they should have known. And one way a company    19       A. Yes.
20   knows something is by informing itself, either somebody      20       Q. So again, this speaks to Grace's, in your
21   telling them or, you know, taking affirmative steps to       21   mind, improper conduct during this time period, correct,
22   learn, correct?                                              22   sir?
23           MR. LEWIS: Objection; that's a compound              23       A. Yes.
24   question and it's improper.                                  24       Q. Okay. Moving on to Paragraph 16: "Grace knew
25        Q. (By Mr. Stansbury) Do you understand the             25   of the connection between asbestos exposure and lung
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 1   cancer through the 1964 State Report, and was therein        1   the air in Libby," Exhibit 20, expert report of
 2   informed of 'possible widespread carcinogenic air            2   Dr. Whitehouse.
 3   pollution'" - citation to Exhibit 53 - "Risks of asbestos    3       Now, this paragraph speaks more to potential
 4   to community members were quite clearly spelled out to       4   community exposures, correct, sir?
 5   Grace executives in 1968," again citing Exhibit 119.         5       A. Yes.
 6       So here you believe that Grace was aware that there      6       Q. Okay. Let's look at Paragraph 19. Again, I
 7   were community risks, correct?                               7   believe this paragraph speaks to Grace's conduct at the
 8       A. Yes.                                                  8   time, the last sentence being: "Accordingly, Grace's
 9       Q. And Grace, in your mind, was not warning              9   medical surveillance program was inadequate at all times
10   people about these risks, correct?                          10   up to 1990."
11       A. That's correct.                                      11       Do you agree, sir?
12       Q. So again, not proper conduct for a company           12       A. Yes.
13   like Grace, correct?                                        13       Q. Okay. Paragraph 20, again, this is -- does
14       A. That's correct.                                      14   this deal with Grace's conduct?
15       Q. Okay. Paragraph 17, this to me looks more            15       A. Yes.
16   like discussions of the historical operations at Libby.     16       Q. Okay. Paragraph 21, same question: Does this
17   Is that a fair description of Paragraph 17?                 17   deal with Grace's conduct?
18       A. Yes, the date 1967.                                  18       A. (Perusing document) -- yes.
19       Q. Right. And you're talking about the test was         19       Q. Paragraph 22, does this pertain to Grace's
20   done in a large "600 fan" of the dry mill. So this          20   conduct?
21   doesn't necessarily speak to their conduct, but again as    21       A. (Perusing document) -- yes.
22   we were discussing earlier, speaks to what the conditions   22       Q. Paragraph 23, does this relate to Grace's
23   were historically, correct, sir?                            23   conduct?
24       A. Well, it -- you know, if you read between the        24       A. (Perusing document) -- yes.
25   lines, it speaks of their conduct, too, because it was      25       Q. Paragraph 24, does this relate to Grace's
                                                  Page 103                                                        Page 105
 1   right in this time frame that the stack on the dry mill     1    conduct?
 2   was horizontally located, so -- (pause.)                    2        A. (Perusing document) -- well, it pertains to
 3       Q. Okay. So, again, in your mind, this is part          3    their conduct and -- their conduct, and, you know, their
 4   of the conduct, then. You would put this under, again,      4    knowledge.
 5   another example where Grace's conduct was improper.         5        Q. Okay. And the knowledge that either informed
 6       A. Yes.                                                 6    or perhaps did not inform the conduct they took, correct?
 7       Q. Okay, that's fair. Paragraph 18, here you're         7        A. Yeah, their knowledge of what was going on
 8   looking at - and I'm going to read this out, tell me if I   8    within their own plant.
 9   read this correctly:                                        9        Q. Right. And as you say, Grace settled the
10           "Residents have reported that Libby in             10    case, correct?
11   1950-1990 was a dusty place. The manager of Grace          11        A. Where do I say that at -- yes, okay.
12   operations estimated in 1965 that 'you could get a five    12        Q. That's correct?
13   count in downtown Libby on many dry days.'" Exhibit 79. 13           A. Yes.
14        This would have been 5 -- and could you please        14        Q. So that was the course of conduct they took
15   explain what "mppcf" means so we're clear?                 15    was to settle the case, correct?
16       A. Million particles per cubic foot.                   16        A. Yes. In part, I believe that would be
17       Q. -- "or about 20 fibers per cubic centimeter."       17    correct.
18   See Amandus (1987), citing Libby studies, expert report of 18        Q. Okay. Paragraph 25, and I believe this
19   Dr. Alan C. Whitehouse.                                    19    relates to a study of workers. And again, you state:
20           "In 1975, Grace performed measurements of          20    "This study was not disclosed." Is that correct?
21   ambient air at three locations in Libby and obtained 0.67, 21        A. Yes.
22   1.1, and 1.5 f./cc" -- which is fibers per cubic           22        Q. And does that relate to Grace's conduct at the
23   centimeter. Is that correct, sir?                          23    time?
24       A. Yes.                                                24        A. Yes, and state of the knowledge.
25       Q. -- "indicating a serious hazard from breathing      25        Q. And state of knowledge. Paragraph 26, this is
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                                                 Page 106                                                          Page 108
 1   a study of hamsters which, as you state, was not             1       A. (Perusing document) -- yes.
 2   disclosed. Does this relate to Grace's conduct and           2       Q. Now, Paragraph 33, this discusses the -- how
 3   knowledge at the time?                                       3   would you characterize Paragraph 33?
 4       A. Yes.                                                  4       A. Let me read it. May I?
 5       Q. Okay. Paragraph 27, again, does this relate           5       Q. Please do.
 6   to Grace's conduct?                                          6       A. (Perusing document) -- it certainly pertains
 7       A. Yes.                                                  7   to their knowledge.
 8       Q. I'd like to read Paragraph 27 for the record.         8       Q. Ultimately -- okay, so it pertains to their
 9   Tell me if I read this correctly, please.                    9   knowledge. So you would say -- or is it fair to say this
10          "In 1980 NIOSH proposed a study on Libby             10   provides just background on the natural conditions in the
11   workers. Grace's response was to consider alternatives,     11   Libby area?
12   including to 'obstruct and block'" - "obstruct and block"   12       A. Well, it pertains to their conduct, too --
13   in quotes - "the study."                                    13       Q. Okay.
14       Did I read that correctly, sir?                         14       A. -- because they're actually trying to market
15       A. Yes.                                                 15   this stuff.
16       Q. Now, ultimately, though, Grace cooperated with       16       Q. Fair, okay. And Paragraph 34, I'll read this
17   NIOSH, didn't they?                                         17   for the record (quoted as read):
18       A. Yes.                                                 18            "Grace knowingly endangered the health of
19       Q. And that study --                                    19   workers, family members of workers and community members
20       A. Well, eventually NIOSH came into the plan,           20   in Libby for decades. This constituted gross violations
21   sure.                                                       21   of applicable industrial hygiene standards."
22       Q. Right. However eventually, this proposed             22       Did I read that correctly, sir?
23   study became the Amandus study, correct?                    23       A. Yes.
24       A. Yes.                                                 24       Q. And that, of course, relates to their conduct,
25       Q. Okay. But you don't mention that below, do           25   does it not?
                                                 Page 107                                                          Page 109
 1   you?                                                         1        A. Yes.
 2       A. No.                                                   2        Q. The term "knowingly endangered," is that a
 3       Q. Okay. Paragraph 28, again, does this relate           3   term that's often used in industrial hygiene?
 4   to Grace's conduct, historical conduct?                      4        A. Well, "knowingly" -- I mean they endangered
 5       A. (Perusing document) -- yes.                           5   and they knew what was in this material, so they knowingly
 6       Q. Okay. Paragraph 28 -- excuse me, Paragraph            6   endangered these people.
 7   29, does this relate to Grace's historical conduct?          7        Q. Is that an opinion that you shared with Kris
 8       A. (Perusing document) -- it relates to their            8   McLean, that they had knowingly endangered these people?
 9   conduct, yes.                                                9        A. I don't know if it was or not.
10       Q. Okay. Paragraph 30, does this relate to              10        Q. Okay. Okay, Paragraph 35, is it fair to say
11   Grace's historical conduct?                                 11   that this paragraph speaks generally about the history of
12       A. (Perusing document) -- yes. And in addition          12   the medical community's understanding of asbestos disease?
13   to relating to their conduct, it relates to, you know,      13        A. Yes.
14   what is done in the field of industrial hygiene, so just    14        Q. This is in no way specific to Grace, correct?
15   so we're clear on that.                                     15        A. It speaks to the historical knowledge of.
16       Q. Okay. No, that's fair. But what is done in           16        Q. So arguably, this could be something which
17   the field of industrial hygiene is, particularly at that    17   could be used to evaluate their conduct because of what
18   time, is certainly a relevant consideration when            18   they could have historically known, correct?
19   evaluating their conduct, correct, sir?                     19        A. Yes.
20       A. Yes.                                                 20        Q. Okay. Paragraph 36, this paragraph speaks to
21       Q. Okay. Paragraph 31, once again, does this            21   the, I would say, mineralogical content of the Libby
22   relate to Grace's historical conduct?                       22   amphibole; is that correct?
23       A. (Perusing document) -- yes.                          23        A. Yes, and also knowledge about the toxicity of
24       Q. Okay. Paragraph 32, does this relate to              24   at least part of that amphibole.
25   Grace's historical conduct?                                 25        Q. "The Montana Supreme Court has found asbestos
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 1   dust was a well known toxic inhalant prior to 1956." Is      1   the record: "More recently, sophisticated analysis has
 2   that the portion that you say speaks to toxicity?            2   shown that Libby asbestos is 84% winchite, 11% richterite,
 3       A. Which paragraph are you on again?                     3   and 6% tremolite."
 4       Q. Sure, 36, I'm reading in the middle of the            4       Did I read that correctly, sir?
 5   paragraph.                                                   5       A. Yes.
 6       A. Oh, okay. Yeah, and the reference to Vorwald.         6       Q. Okay. And as you stated, you're not a
 7       Q. What is Vorwald?                                      7   mineralogist, correct.
 8       A. Vorwald essentially performed some                    8       A. No.
 9   toxicological studies on tremolite.                          9       Q. You're not a toxicologist, correct?
10       Q. However, our understanding of the toxicity of        10       A. Correct.
11   tremolite today is more informed by studies performed by    11       Q. You don't have any opinions that go beyond
12   individuals such as Amandus, McDonald, Sullivan, or         12   what is available in the public literature with respect to
13   Lockey, correct?                                            13   the toxicology or mineralogy of the Libby fibers, correct?
14       A. Well, considering the fact that we are looking       14       A. Correct.
15   at the different forms of amphibole in there, yes.          15       Q. Okay. Paragraph 37, once again, this
16       Q. Okay. So this paragraph speaks more to               16   paragraph, similar to the ones before it, discusses the
17   historical understanding, correct, as opposed to current    17   historical understanding by the medical community of
18   understanding?                                              18   potential health risks caused by asbestos, correct?
19            MR. LEWIS: Objection, because if you read the      19       A. Well, the health risks -- I'll read that
20   rest of the paragraph, obviously, it talks about current    20   again. (Perusing document) -- yes.
21   understanding as I see it. So I think that misstates what   21       Q. Okay. And similarly, Paragraph 38 also refers
22   the --                                                      22   to historical knowledge of the health effects from
23            MR. STANSBURY: Provided we're limiting this        23   exposure to asbestos, correct?
24   to toxicity. On the issue of toxicity, I see the Meeker     24       A. Yes.
25   study --                                                    25       Q. And Paragraph 39 also refers to the historical
                                                 Page 111                                                          Page 113
 1           MR. LEWIS: Why don't you restate your                1   understanding of health effects associated with exposure
 2   question --                                                  2   to asbestos, correct?
 3           MR. STANSBURY: Yeah, maybe --                        3       A. Yes.
 4           MR. LEWIS: -- and I won't object if that's           4       Q. And Paragraph 40 also refers to the historical
 5   what you're limiting it to.                                  5   understanding of medical literature with the caveat here
 6           MR. STANSBURY: Right, that's what I'm                6   that you mentioned industrial hygienists often review this
 7   limiting it to.                                              7   literature, correct?
 8       Q. (By Mr. Stansbury) This, the discussion of            8       A. Yes.
 9   toxicity in this paragraph speaks to when the medical        9       Q. Okay. If I could read Paragraph 40 for the
10   community first became aware that tremolite was toxic but   10   record:
11   is not necessarily the authoritative source today for       11           "By the 1960s, hundreds of articles and
12   determining the toxicity of these fibers, correct?          12   studies published in the industrial hygiene and medical
13           MR. LEWIS: Of asbestos -- of Libby fibers?          13   literature established that asbestos exposure is harmful
14           MR. STANSBURY: Of Libby fibers.                     14   and can be fatal. These materials were readily available
15           MR. LEWIS: Okay. No objection.                      15   to anyone interested in learning about the dangers of
16           THE WITNESS: Well, yeah, the reference to           16   asbestos. As a standard practice, industrial hygienists
17   Vorwald talks about the toxicity as evaluated through tox   17   review industrial hygiene literature, as well as
18   studies in his lab in 1951. But that, by no means, was      18   occupational medicine literature."
19   the only discussion of the hazards of --                    19       Did I read that correctly, sir?
20       Q. (By Mr. Stansbury) Right.                            20       A. Yes.
21       A. -- or the toxicity of tremolite prior to that.       21       Q. Okay. So once again, we're speaking about the
22       Q. Okay. And then you also cite to Meeker in            22   state as of the 1960s, correct?
23   this paragraph, correct?                                    23       A. Yes.
24       A. Yes.                                                 24       Q. Okay. Paragraph 41, this paragraph speaks
25       Q. And for the purpose of -- I'll read this for         25   about historical conditions but specifically discusses
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 1   potential community exposures arising out of the            1       Q. Has our understanding of how asbestos fibers
 2   historical conditions, correct, sir?                        2   behaved in the air changed in any way in the last 31
 3       A. Yes. It's speaking to the, you know, the             3   years?
 4   aerodynamic properties of asbestos and how it can expose    4       A. Very little if at all.
 5   people who are not directly working with the material.      5       Q. Okay, okay. So again, this paragraph would
 6       Q. In Paragraph 42 --                                   6   speak to, you know, ultimately would speak to the
 7       A. It also speaks -- if I may interrupt for just        7   potential for exposure in the community, correct?
 8   a second --                                                 8       A. Yes, bystander exposure, I think.
 9       Q. Sure.                                                9       Q. Okay, okay. Paragraph 43, does that similarly
10       A. -- it also speaks to control.                       10   speak to the potential exposure of a bystander?
11       Q. Historical control?                                 11       A. Yes.
12       A. Well, it's -- the same controls we use now are      12       Q. Okay.
13   what was used historically, so -- (pause.)                 13           MR. LEWIS: Counsel, I'm not trying to be
14       Q. Okay. But obviously because we're talking           14   difficult here, but "bystander" has legal connotations as
15   about Libby, we're talking about historical operation      15   well, like a bystander liability, and I'm a little
16   because it hasn't been operation for, I guess, 18 - 19     16   concerned about that. So I don't want to interrupt your
17   years, correct?                                            17   examination. I think I understand what you mean by
18       A. That's fine.                                        18   "bystander", but if you don't, on my examination, I'll ask
19       Q. Okay. In Paragraph 42, I'm going to read the        19   the witness his understanding of bystander.
20   first sentence: "Asbestos fibers in the air are known to   20           If you could clear that up now, I think that
21   travel long distances from their source or point of        21   might be helpful.
22   origin."                                                   22           MR. STANSBURY: Okay.
23       Did I read that correctly, sir?                        23           MR. LEWIS: It's up to you.
24       A. Yes.                                                24       Q. (By Mr. Stansbury) I'm getting "bystander
25       Q. And then you cite to the Environmental              25   exposure" from your report. That's in Paragraph 43; is it
                                                 Page 115                                                         Page 117
 1   Protection Agency, and you say as follows, which states as  1   not?
 2   follows:                                                    2       A. Correct.
 3           "'During the time that the asbestos fiber           3       Q. And what do you mean by "bystander exposure"?
 4   remains airborne, it is able to move laterally with air     4       A. "Bystander" would mean, again, someone who is
 5   currents and contaminate spaces distant from the point of   5   not working directly with the material, but they're doing
 6   release. Significant levels of contamination have been      6   something else at distances away from that job.
 7   documented hundreds of meters from a point source of        7       Q. Right.
 8   asbestos fibers, and fibers also move across contamination  8       A. So that's what I mean by "bystander."
 9   barrier symptoms with the passage of workers during         9       Q. Okay.
10   removal of material.                                       10       A. It's kind of a loose term, I guess.
11           "'The theoretical times needed for such            11       Q. Sure.
12   respirable fibers to settle from a 3 meter ceiling are 4,  12           MR. LEWIS: Thank you, Counsel, for allowing
13   20 and 80 hours in still air. Turbulence will prolong the  13   that clarification.
14   settling and also cause reentrainment of fallen fibers,'   14       Q. (By Mr. Stansbury) Paragraph 44, I think this
15   (Sprayed Asbestos Containing Materials in Buildings, A     15   paragraph relates to general principles of industrial
16   Guidance Document, U.S. Envirnomental Protection Agency, 16     hygiene, correct?
17   March 1978)."                                              17       A. Yes.
18       Did I read that correctly, sir?                        18       Q. It's not specific to Libby in any way, is it
19       A. Yes.                                                19   not?
20       Q. So this is a cite to an EPA source a little         20       A. It's general industrial hygiene principles.
21   over 30 years ago, correct?                                21       Q. Okay. Paragraph 45, does this relate to the
22       A. In 1978, yes.                                       22   historical conditions and operations of the Libby
23       Q. Discussing how asbestos fibers travel,              23   vermiculite mine?
24   correct?                                                   24       A. (Perusing document) -- in part, yes.
25       A. Yes.                                                25       Q. What else does it relate to?
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                                                 Page 118                                                          Page 120
 1       A. Yeah, it relates to percentages, basically, in        1   Libby; Atkinson's; NIOSH considers it to be a friable
 2   the materials, so it would be historical.                    2   material where if not bound up in anything, it's going to
 3       Q. Okay. And Paragraph 46, reading the first             3   be released from the material that it's contained in. The
 4   sentence, "Soil containing Libby asbestos at levels equal    4   fibers are all loose.
 5   to or greater than 1% are generally considered a health      5       Q. You say: "A review of the literature." Prior
 6   hazard requiring remediation," did I read that correctly,    6   to working with Libby, had you ever studied the propensity
 7   sir?                                                         7   of asbestos to be released from soil?
 8       A. Yes.                                                  8       A. No.
 9       Q. What is your basis for that sentence?                 9       Q. Okay. Had you ever studied releases of any
10       A. My basis for that sentence is published              10   hazard from soil?
11   studies from EPA, Atkinson's, I think, study. I think       11       A. From soil, no.
12   they might be listed in here.                               12       Q. Okay. So soil analysis was not something that
13       Q. Is it --                                             13   you had previously done until you got involved with Libby,
14       A. NIOSH; there's a series of articles that             14   correct?
15   discuss this 1 percent issue, if that's what we want        15       A. That would be fair.
16   to --                                                       16       Q. In your 20 -- how many years have you been an
17       Q. Is it a federally mandated action level? Is          17   industrial hygienist?
18   that your understanding?                                    18       A. I don't know; 30.
19       A. And we're talking about the 1 percent?               19       Q. Thirty years, okay. So dealing with soil was
20       Q. Yes, yes.                                            20   not something that you had dealt with previously.
21       A. The 1 percent is a, is a percentage which            21       A. Well, you know, I hate to be limited. I mean
22   would be considered asbestos containing for removal, I      22   I've been involved with looking at asbestos levels in
23   guess would be the best way to describe it.                 23   dust, in other words. I don't know if you want to call
24       Q. Okay. As an industrial hygienist, is it              24   that "soil," but soil -- I'm trying to think if I've done
25   common for you to examine the asbestos content of soil?     25   soil work previous to the Libby work, and I can't remember
                                                 Page 119                                                          Page 121
 1       A. Well, we have -- or I have. It could be one           1   if I'm looking at dust levels or levels that are contained
 2   of our tasks, yes.                                           2   in the dust on a surface, or something like that.
 3       Q. Do you have any training studying the                 3        Q. For example, settled dust that has settled on
 4   propensity of asbestos fibers to be released from soil?      4   a surface of part of an industrial facility? Is that what
 5       A. Well, we've -- again, the literature tells us         5   you're talking about?
 6   how it could be released from soils. In terms of my          6        A. Yes.
 7   personal experience, yeah, we've collected soil samples      7        Q. Okay.
 8   for asbestos and -- (pause.)                                 8        A. Or a home or something like that.
 9       Q. So you did examination of - and maybe I'm             9        Q. Right. But that is distinct from soil, is it
10   using this term incorrectly - "bulk material," correct?     10   not?
11       A. Yes.                                                 11        A. Yes.
12       Q. Okay. That's distinct, though, from doing            12        Q. Okay. And the tendency of an asbestos fiber
13   airborne measurements, correct?                             13   to be released from a flat surface is certainly different
14       A. Yes.                                                 14   than a tendency of an asbestos fiber to be released from
15       Q. Okay. Do you have an opinion as to the               15   soil, correct?
16   propensity of asbestos in soil to be released into the      16        A. Well, it could be. I think it's all related
17   ambient air?                                                17   to activity.
18       A. Yes.                                                 18        Q. Okay. What activities have you personally
19       Q. What is your opinion?                                19   done to determine the tendency of asbestos to be released
20       A. My opinion is that amphobile asbestos from           20   from soil?
21   Libby can be released into the air if it is contained in    21        A. Well, what activities have I done -- I mean
22   low, very low percentages within the soil; very clear.      22   we're currently involved with a research project where
23       Q. Okay. And what is your basis for that                23   we're analyzing surface dust in homes that contain
24   opinion?                                                    24   vermiculite attic insulation. We are taking air samples
25       A. Again, studies that have been done by EPA in         25   at the same time. So we're trying to establish if there
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 1   is a risk from surface contamination as to an airborne      1     accurately. And that's the problem here. If you're going
 2   exposure. So that's the work I've done.                     2     to load up your questions by your own paraphrase of his
 3        Q. But that's not soil. That is asbestos within        3     testimony and -- that's deceptive questioning and that's
 4   a home. That's not asbestos that is in the soil on the      4     what I object to here.
 5   ground, correct?                                            5              MR. STANSBURY: Okay. Let's get back to --
 6        A. Right, it's in a house or --                        6     let's refocus on that for a moment.
 7        Q. Okay. And that's what industrial hygienists         7              Could you read the last pending question,
 8   tend to look at is soil within -- excuse me. Strike that.   8     please.
 9        Industrial hygienists tend to examine asbestos         9              (The record was read by the court reporter as
10   within a facility or on a settled surface, correct?        10     follows:
11        A. Well, no, I wouldn't say that. I mean you          11              "QUESTION: So sitting here today, you're not
12   could have an industrial facility where they're doing a    12     aware of any reliable source that would allow us to
13   removal job like asbestos siding. And obviously, the soil  13     determine the potential airborne releases from asbestos in
14   is contaminated from that siding, so we would look at      14     soil?")
15   soil. And we've done that up at Montana Tech.              15              THE WITNESS: Well, I'm aware of studies that
16        Q. Okay. But the question I had asked earlier,        16     have been done and are being done by the EPA in Libby
17   which elicited the response regarding the work you've done 17     where they are evaluating release of asbestos fibers from
18   in homes, was what work you have done studying the release 18     soil.
19   of asbestos from soil in Libby.                            19     BY MR. STANSBURY:
20        A. Well, again, it would be the same sort of          20          Q. Okay. Other than those studies, anything
21   situation where -- an industrial hygienist would be        21     else?
22   concerned about a release into any media, whether it be    22          A. Not that I can think of right now.
23   soil or dust, and we certainly take air samples in         23          Q. Okay. So let's talk about those studies,
24   conjunction with that. So whether or not we can establish  24     then. Are these studies that are ongoing now?
25   a relationship between what's in the soil or the media and 25          A. Well, they're doing activity-based sampling in
                                                  Page 123                                                          Page 125
 1   the air is another question, but we certainly look at         1   Libby right now, in Libby and up at the mine.
 2   those aspects.                                                2        Q. Um-hmm.
 3        Q. I understand looking at the aspect, but               3        A. Paul Peronard did the initial studies in the
 4   sitting here today, have you derived a relationship from      4   early '90s in Libby where they did activity-based sampling
 5   your work that compares the amount of asbestos in soil        5   to try to determine what is coming off gardening,
 6   with the amount of asbestos that's released into the air      6   driveways, working with soils as well as other types of
 7   when the soil is disrupted?                                   7   media, sure.
 8        A. Well, no, that's work that's ongoing right now        8        Q. Okay. Did you rely upon those results in
 9   in Libby. No one had that relationship right now.             9   formulating your opinions regarding the hazards from
10        Q. So sitting in here, sitting here today, you're       10   asbestos in soil in Libby?
11   not aware of any reliable source that would allow us to      11        A. Yes. This 1 percent issue, yes, I've relied
12   determine the potential airborne releases from asbestos in   12   on that.
13   soil?                                                        13        Q. Specifically, you relied upon the studies done
14            MR. LEWIS: I'm going to object to the form of       14   by EPA, correct?
15   the question because I think that assumes -- misstates the   15        A. Yeah, I relied on the knowledge I have accrued
16   witness evidence in the sense that he was talking about      16   in reading EPA documents both before I became a technical
17   quantification as to whether or not there were such          17   advisor for the TAG and after.
18   releases, but -- so I think the question assumes facts not   18        Q. Okay. And which -- by "EPA documents," we're
19   in evidence.                                                 19   talking about post 1999 EPA documents, correct, the ones
20            MR. STANSBURY: I think you could say "assumes       20   that deal with the studies that you're referencing?
21   facts not in evidence" without coaching the witness. I       21        Those all began when Paul Peronard came to Libby in
22   would appreciate doing so next time.                         22   November of '99, correct?
23            You may answer.                                     23        A. Yes.
24            MR. LEWIS: Well, I would appreciate, Counsel,       24        Q. Okay. So with respect to those post 1999 EPA
25   that when you restate his testimony, you restate it          25   studies, which ones have been published?
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 1       A. Well, they're published by EPA, I guess. I             1       Q. Right.
 2   don't know how to answer your question. I'm trying to         2       A. -- number, but -- (pause.)
 3   look -- yeah, like they're referencing the Christopher        3       Q. Were these memoranda cited in your report?
 4   Weis memorandum is referenced in Paragraph 48, so those       4       A. I don't know if they're cited in my report or
 5   are the types of things I'm referring to.                     5   not. They may not be.
 6       Q. The Christopher Weis memorandum, so we're              6       Q. Okay. Sitting here today, were these
 7   clear, the one in Paragraph 48 that relates to -- now I'm     7   memoranda included among your reliance materials?
 8   going to read the statement that you have citing that and     8       A. Yes. Well, I mean, it's like I say, I'm
 9   let me know if I read it correctly:                           9   trying to include --
10           "These results clearly indicate that                 10       Q. Well, did you produce copies? Are you aware
11   vermiculite insulation in homes or commercial buildings is   11   of whether copies of these memoranda were produced to us?
12   a substantial reservoir of asbestos-contaminated source      12       A. I'm not aware of that.
13   material that may lead to ongoing exposure of area           13       Q. Okay.
14   residents and workers."                                      14       A. You were asking me about my knowledge of soil
15       Did I read that correctly, sir?                          15   and release of asbestos from the soil.
16       A. Yes.                                                  16       Q. Understood. So clearly, you clearly relied on
17       Q. Okay. So he's talking about, again, asbestos          17   these memoranda in reaching this opinion, correct?
18   in homes and in commercial buildings, correct?               18       A. I've relied on all of the documents that I've
19       A. Yes, as part of the work that was done up             19   read over the years pertaining to potential of release
20   there by Peronard and others, looking at exposure levels     20   from soils into the air.
21   that are coming from soil and different sort of things       21       Q. Okay. And so far we've listed the Chris Weis
22   based on activities that are being done.                     22   memoranda; the EPA studies that look at indoor air that, I
23       Q. Okay. But that citation here that you list,           23   believe you said, inferred that the indoor air was a
24   this is not speaking about soils specifically, is it not?    24   result of asbestos being blown in from the soil. Is that
25       A. If you read the citation, I think you will            25   correct?
                                                  Page 127                                                          Page 129
 1   find that it's talking about soil, but -- if you read the     1       A. I believe that's what they concluded.
 2   paper.                                                        2       Q. Okay. Are there any other sources that inform
 3       Q. Okay. So is it fair to say, then, that one             3   your opinion as to the propensity of asbestos be released
 4   item we have identified that informs your opinion about       4   from soil?
 5   the potential release of asbestos from soil is the Chris      5       A. Well, again, there's other citations: EPA
 6   Weis action memorandum?                                       6   2001, EPA 2004.
 7       A. Yes.                                                   7       Q. I'm sorry, which page are we on?
 8       Q. Okay. Anything else?                                   8       A. I was looking under Paragraph 46.
 9       A. Well, there's been more recent publications by         9       Q. The ones that speak to the --
10   EPA in the later time period where they are -- where         10       A. It begins with soil containing Libby asbestos.
11   they've collected indoor air samples at a given period in    11       Q. Sitting here today, are you aware of a
12   time, and then they've gone back and collected indoor air    12   correlation between asbestos and soil and the amount of
13   samples later on. And they are attributing in their          13   asbestos that can be released into the air?
14   documents to this increase in indoor air asbestos at a       14       A. Well, that's a question mark.
15   later date due to the soil, the soil contamination. So       15       Q. Okay. So that's certainly something you
16   that informs my opinion.                                     16   cannot say reliably that "X" level of asbestos in the soil
17       Q. How would indoor air be related to releases           17   will produce "Y" level of asbestos in the air, correct?
18   from soil?                                                   18       A. That would be correct.
19       A. Because it blows into the house. I'm not              19       Q. Okay.
20   talking, you know, anything too complicated here.            20           MR. LEWIS: Is it a good time for a break?
21       Q. Okay. So -- and when was this study                   21           MR. STANSBURY: Yeah, let's take a break.
22   conducted?                                                   22   That's fine.
23       A. Well, I think there's been some done in the           23           VIDEOGRAPHER: The time is 11:08. We're off
24   early, well, probably 2005 - 2006. There are technical       24   of the record.
25   memorandums. I can't quote them by --                        25           (The lunch recess was taken.)
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 1          VIDEOGRAPHER: This is Tape 3 of the                 1   correct?
 2   videotaped deposition of Dr. Terry Spear.                  2       A. That's correct.
 3          The time is 11:47. We're on the record.             3       Q. Because in order to determine something like
 4   BY MR. STANSBURY:                                          4   toxicity, you need to know information about exposure,
 5       Q. Okay. Dr. Spear, can we move to Paragraph 52,       5   correct?
 6   please. And in 52 and 53, there are statements here        6       A. Yes.
 7   regarding the toxicity of asbestos from Libby; is that     7       Q. Okay. And this is clearly the paper of the
 8   correct, sir?                                              8   three most relevant to your area of expertise, is it not?
 9       A. Yes.                                                9       A. I'm sorry, by "three" --
10       Q. And once again, you are not a toxicologist,        10       Q. You're aware that there was a mortality study
11   correct?                                                  11   and a morbidity study also done by Amandus, correct?
12       A. That's correct.                                    12       A. Yes.
13       Q. You don't intend to offer any specific             13       Q. Okay. And so the papers that look at, those
14   opinions about toxicity at the confirmation hearing, do   14   papers, the morbidity study, are you familiar with that?
15   you?                                                      15       A. Yes.
16       A. I cannot offer any opinions on toxicology, no.     16       Q. Okay. That looked at radiographic
17       Q. Okay. Dr. Spear, have you reviewed the             17   abnormalities in the working population and correlated
18   Amandus paper, 1987?                                      18   that to exposures, correct?
19       A. I have at one point in time, yes.                  19       A. Yes.
20       Q. Okay. Who is Harlan Amandus?                       20       Q. The mortality study looked at mortality within
21       A. I'm sorry, who is he?                              21   a worker cohort and correlated that with exposure,
22       Q. Yeah. Do you know who he is?                       22   correct?
23       A. No.                                                23       A. Yes.
24       Q. Okay. You've never met him before?                 24       Q. Both papers were dependent upon the exposure
25       A. I've never met him.                                25   data contained in this paper, correct?
                                                Page 131                                                         Page 133
 1       Q. You are aware that he was working at NIOSH at       1        A. That's correct.
 2   the time he wrote that paper, correct?                     2        Q. And of the three papers, this is the paper
 3       A. Yes.                                                3   that primary falls within your area of expertise, correct?
 4       Q. NIOSH is the National Institute of                  4        A. Well, in terms of exposure measurement, yes.
 5   Occupational Safety and Health; is that correct?           5        Q. Yes, okay. And do you have any general
 6       A. Yes.                                                6   opinions regarding this paper?
 7       Q. And that is part of the United States               7        A. Well, I've read this paper, you know,
 8   Government, is it not?                                     8   associated with other W.R. Grace cases, and my general
 9       A. Yes.                                                9   opinion pertaining to any exposure measurements at the
10           (Document marked Deposition                       10   mine site, or it may be if it was done outside the mine
11       Exhibit No. 7 for identification.)                    11   site in Libby, is that during this time frame, they were
12   BY MR. STANSBURY:                                         12   basically looking at PCM analysis. And in my opinion, the
13       Q. Okay. I'm handing you what's been marked as        13   fibers that were less than 5 micrometers in length are not
14   Exhibit 7. Exhibit 7 is "The Morbidity and Mortality of   14   being factored into the exposure.
15   Vermiculite Miners and Millers Exposed to Tremolite: Part 15        Q. Five micrometers or five microns?
16   I. Exposure Estimates"; authors: Amandus, Wheeler,        16        A. The same thing: Microns/micrometers.
17   Jankovic, and Tucker; published in 1987 in the American   17        Q. Micrometers is the same -- okay, got it.
18   Journal of Industrial Medicine.                           18        So you believe that this paper should have looked at
19       Did I read that correctly, sir?                       19   fibers with -- that were less than 5 microns in length,
20       A. Yes.                                               20   correct?
21       Q. Okay. And do you -- is this familiar with          21        A. Yeah. As an industrial hygienist, my opinion
22   you? Do you recognize this document?                      22   is that the -- that fibers shorter than 5 micrometers can
23       A. Yes.                                               23   be toxic, but we don't know that they're not toxic. And
24       Q. Okay. This is the paper by Amandus that            24   I'm uncomfortable with not considering that in either risk
25   specifically focuses on establishing the exposures,       25   assessment, or evaluation, or what have you.
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 1       Q. Are you aware of other epidemiological studies         1       A. Yes.
 2   that only counted fibers longer than 5 microns in length?     2       Q. When they died, correct?
 3       A. That's been the standard practice.                     3       A. Yes.
 4       Q. Okay. So this paper is in no way an outlier,           4       Q. And information related to that. And that
 5   so to speak, insofar as they only counted fibers longer       5   mortality, it becomes -- is compared to their exposure in
 6   than 5 micrometers, correct?                                  6   order to drive the toxicity of the substance, correct?
 7       A. Correct.                                               7       A. Yes.
 8       Q. It's just something that you personally,               8       Q. Okay. And so if you were to do an analysis
 9   Dr. Spear, do not agree with, correct?                        9   looking at fibers at level "X", given a certain level of
10       A. Well, not just me personally, but there's an          10   the mortality, and then you were to derive a toxicity
11   accumulating -- I mean I think that, hopefully, the risk     11   factor - we can assume that you've just done that for a
12   of asbestos will eventually look at short fibers, not just   12   moment because I don't want to ask too long of a question
13   long fibers. The reason that they were looking at long       13   - but that makes sense, correct?
14   fibers was simply due to the analytical sensitivity of the   14       A. Kind of, I guess.
15   method. OSHA's current standard of 0.1 fibers per cc is      15       Q. Well, determining -- let me make sure we're on
16   that level because that is the level of analytical           16   the same page. You determine toxicity based on certain
17   sensitivity; in other words, we have no reliability if       17   exposure levels, correct?
18   we're trying to quantify fibers at lower levels. And so      18       A. Yes, and length of exposure.
19   hopefully as technology increases and we can start more      19       Q. And length of exposure. So you get cumulative
20   consistently evaluating all fibers, then the risk will       20   exposure, correct?
21   take into account short fibers. That's my opinion.           21       A. Yes.
22       Q. Okay. So, you know, we've already                     22       Q. So if the exposure levels are higher at the
23   established, correct, that it is common in industrial        23   same length of exposure, you're going to have higher
24   hygiene literature to report only those asbestos fibers      24   cumulative exposure, correct?
25   that are longer than 5 microns in length, correct?           25       A. Yes.
                                                  Page 135                                                          Page 137
 1        A. Yes.                                                  1       Q. And thank you for pointing this out. It's
 2        Q. Okay. However, if you were to report all              2   that accumulative exposure that is then used and compared
 3   fibers, including those that are less than 5 microns, that    3   against mortality to derive the toxicity of the substance,
 4   would, typically, have the effect to increase the amount      4   correct?
 5   of fibers that are counted, correct?                          5       A. Yes.
 6        A. Yes.                                                  6       Q. And that's not specific to asbestos. This is
 7        Q. Okay. So the exposures would appear higher,           7   the way you would approach any type of exposure to a
 8   correct?                                                      8   hazard if you wanted to derive the toxicity, correct?
 9        A. Well, it would be representative of what a            9       A. That's correct.
10   person breathes in, whether they're short fibers or long     10       Q. Okay. So if you were to -- when evaluating
11   fibers, yes.                                                 11   that initial exposure, if you were to include additional
12        Q. Okay. But just to make sure we're clear, so          12   fibers, let's say shorter fibers, that would give you a
13   let's say somebody had 5 fibers per cc only counting         13   higher exposure measurement, correct?
14   fibers that were 5 microns or longer, if you were to count   14       A. Yes.
15   all fibers, you would expect that person to have a higher    15       Q. And over the same duration, a higher
16   exposure measurement, correct?                               16   cumulative exposure, correct?
17        A. Yes.                                                 17       A. Yes.
18        Q. Okay. And although we discussed earlier              18       Q. So if you were looking at the exact same
19   you're not a toxicologist or an epidemiologist, but as an    19   analysis, although now you have higher cumulative
20   industrial hygienist, you do understand how exposure         20   exposures, that would show a lower level of toxicity for
21   quantifications fit into a toxicology analysis, correct?     21   the substance, would it not?
22        A. Yes.                                                 22       A. It could, but I don't think the same points
23        Q. Okay. And one of the data points, for                23   apply to morbidity, either, or disease rates, you know, in
24   example, on a mortality study would be actual mortality,     24   a person, what rates actually cause disease prior to
25   the people who have died, correct?                           25   mortality.
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 1       Q. I'm sorry, I don't follow.                             1   have followed your suggested method of counting all
 2       A. Well, I just -- I don't agree with that same           2   fibers, correct?
 3   philosophy in terms of you're talking about mortality         3       A. It could have that effect.
 4   studies or people dying from asbestos. I think that to        4       Q. Okay. Other than the exclusion of fibers
 5   determine risk of asbestos exposure in causing disease, I     5   shorter than 5 microns, are there any other statements in
 6   do think that we have to consider total exposure.             6   Dr. Amandus's paper or any other findings that you find to
 7       Q. Okay. And I'm not contesting that at this              7   be unsupportable scientifically?
 8   moment. But looking at total exposure, if you do get          8       A. Well, no. It was a peer-reviewed article and,
 9   higher exposure because you're counting additional fibers     9   certainly, it's been referenced and cited many times.
10   and you use that number to determine cumulative exposure,    10   There's always questions on exposure reconstruction.
11   the toxicity of the substance will be lower, assuming that   11       Q. Okay.
12   the mortality end points are the same, correct?              12       A. Things like that.
13       A. Because of using -- I understand your point.          13       Q. Okay. I wanted to walk through a couple parts
14       Q. Okay. And just so I make sure I understand my         14   of this paper, then. And starting on page 2, under
15   own point, to the extent that Dr. Amandus, working for       15   "Exposure Measurements":
16   NIOSH, may have excluded fibers shorter than 5 microns,      16           "Samples of airborne dust have been taken in
17   that would have the impact of increasing the toxicity of     17   the mill since 1942 and in the mine since 1968. Prior to
18   the Libby amphiboles based on the findings of the study,     18   1969, 336 midget impinger samples were collected by the
19   correct?                                                     19   state of Montana primarily in the dry mill, and after
20           MR. LEWIS: Hold on. I object to that                 20   1967, 4116 membrane filter samples of airborne dust were
21   question. That question is very ambiguous. What's the        21   collected by federal agencies (NIOSH, MESA, and MSHA)" -
22   antecedent for the pronoun "that" in your question?          22   NIOSH, MESA, and MSHA, just so the court reporter is clear
23       Q. (By Mr. Stansbury) Dr. Spear, you seem to             23   - "and the company in most areas of the facility (Table
24   understand the question.                                     24   II). Before 1974, filter samples were either general area
25           MR. LEWIS: Well, the question -- that doesn't        25   or short-term personal samplings collected over periods
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 1   make any difference whether -- if the question is             1   ranging from 20 minutes to several hours, and were not
 2   improper, it's improper. It's misleading, it's vague,         2   likely to have reflected the 8-hr TWA exposure."
 3   it's also compound.                                           3       Did I read that correctly, sir?
 4            MR. STANSBURY: I'll ask you to, again, not           4       A. Yes.
 5   coach the witness.                                            5       Q. Do you agree with this approach?
 6            MR. LEWIS: I didn't coach the witness. What          6       A. Well, yes, because -- well, I agree. That
 7   did I say to the witness there, Counsel?                      7   approach does still take place today.
 8            MR. STANSBURY: Could you please read back the        8       Q. Okay. And MESA, M-E-S-A, that no longer
 9   last question, madam court reporter?                          9   exists by that name, correct?
10            (The record was read by the court reporter as       10       A. Right.
11   follows:                                                     11       Q. What did MESA stand for?
12            "QUESTION: And just so I make sure I                12       A. The Mine Enforcement and Safety
13   understand my own point, to the extent that Dr. Amandus,     13   Administration, I think.
14   working for NIOSH, may have excluded fibers shorter          14       Q. And that was a federal agency --
15   than" --                                                     15       A. Yeah.
16            MR. STANSBURY: Let me try to ask the question       16       Q. -- correct --
17   in a way that will, you know, address everybody's            17       A. Yes.
18   concerns.                                                    18       Q. -- or administration. And then MSHA, that's
19   BY MR. STANSBURY:                                            19   the successor to MESA?
20        Q. To the extent that Dr. Amandus, working for          20       A. Yes.
21   NIOSH, may have under-counted fibers by excluding fibers     21       Q. And what does MSHA stand for?
22   shorter than 5 microns, by doing so, given the mortality     22       A. Mine Safety and Health Administration.
23   and morbidity end points he worked with, that would have     23       Q. Okay. And if you could turn to Table III --
24   the effect of reporting a toxicity factor in the Libby       24   or page 3, Table II, excuse me. "Table II. Description
25   amphibole that actually may have been higher were he to      25   of Environmental Samples," this reflects where this data
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 1   in this paper was collected from, correct?                   1   cause you to have less confidence in this paper?
 2       A. Yes.                                                  2       A. It could, well, particularly when workers --
 3       Q. And 789 of the samples from 1971 to 1981 were         3   you know, if they're in and out of different locations and
 4   collected by MESA and/or MSHA, correct, sir?                 4   move a lot.
 5       A. Yes, sir.                                             5       Q. Okay. Do you believe they try to take into
 6       Q. Forty-eight of the samples from 1967 to '68           6   account the idea of individuals moving in and out of
 7   were collected by NIOSH, correct?                            7   locations?
 8       A. Yes.                                                  8       A. I'm sure they did.
 9       Q. And then 336 samples using the mppcf                  9       Q. Okay. On Table IV -- excuse me, page 4 Table
10   measurement were collected from 1956 to 1969 by the State   10   III, now, this table summarizes the average fiber per cc
11   of Montana, correct?                                        11   values calculated from membrane filter samples collected
12       A. Yes.                                                 12   in 1967 through 1962 by location, operation, and year,
13       Q. And so -- and then the company between 1970          13   correct?
14   and 1982 collected 3,279 samples, correct?                  14       A. Um-hmm.
15       A. That's what the Table II says, yes.                  15       Q. "Yes," sir?
16       Q. Okay. And again, this is a peer-reviewed             16       A. Yes.
17   study. You have no reason to dispute that, correct?         17       Q. Okay. And I want to look at a couple of these
18       A. I'm sorry?                                           18   measurements. Specifically, the new wet mill, post '76,
19       Q. Again, this is a peer-reviewed study. You            19   the average exposure was 0.8 fibers per cc, correct?
20   have no reason to dispute the findings of the table,        20       A. I need to make sure I know where you're
21   correct?                                                    21   looking at again.
22       A. No.                                                  22       Q. Sure.
23       Q. Okay. So it's fair to say that the exposure          23       A. You're on Table III?
24   data underlying this study was based on a large number of   24       Q. Yes.
25   samples, correct?                                           25       A. You're looking at new wet mill?
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 1       A. There are a large number of samples, yes.             1       Q. Yes, post '76, after '76.
 2       Q. Okay. Some of which were collected by the             2       A. Oh, okay.
 3   State of Montana, correct?                                   3       Q. That's 0.8 fibers per cc, correct, sir?
 4       A. Yes.                                                  4       A. Yes.
 5       Q. And some by various federal agencies, correct?        5       Q. And that's based on 1,214 samples, correct?
 6       A. Yes.                                                  6       A. Yes.
 7       Q. Okay. Are you familiar with how he derived            7       Q. Do you recall what the MSHA PEL was in 1976?
 8   the location operations approach to estimating exposures?    8       A. I don't recall. It could have been 5. I know
 9       A. I've looked at it before.                             9   MSHA was always slower than OSHA in changing PEL --
10       Q. Okay.                                                10       Q. Right.
11       A. I'm vaguely familiar with it.                        11       A. -- their limits.
12       Q. Okay. Do you have any reason to believe that         12       Q. Right. But it was certainly higher than 0.8,
13   using location operations -- well, strike that.             13   correct?
14       Is the use of location operations to estimate           14       A. Yes, and it's -- but this number is certainly
15   exposures within a facility a common practice in            15   higher than the current, the current exposure limit,
16   industrial hygiene?                                         16   which --
17       A. Well, we would typically nowadays try to             17       Q. The current OSHA PEL or MSHA PEL?
18   divide work forces up into similar exposed groups. And      18       A. The OSHA PEL.
19   they don't necessarily have to be in one location, they     19       Q. Right. Is it your understanding that MSHA or
20   could be similar groups that work in different locations,   20   OSHA was primarily responsible for regulating the mine?
21   but I believe this is a method that they used then.         21       A. Well, I think for the mine itself, it was
22       Q. Okay. And you consider it a reliable method?         22   MSHA. And then for some of the in-town facilities, I
23       A. Well, I think "reliable" to as reliable as it        23   believe OSHA would have had some jurisdiction. I've had
24   can be.                                                     24   this discussion --
25       Q. Okay. Does the use of location operation             25       Q. Right.
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 1       A. -- before in depositions.                              1   V, which is the conversion ratio. This appears to be a
 2       Q. Okay. Is it fair to say that for the mill              2   matrix that compares measurements of mppcf to fibers per
 3   associated with the mine, that would still fall under         3   cc; is that correct, sir?
 4   MSHA's jurisdiction?                                          4       A. Yes.
 5       A. Yes.                                                   5       Q. Have you ever seen the use of a matrix of this
 6       Q. Okay. And 1976 on, the PEL within that wet             6   form before?
 7   mill was below MSHA's PEL, correct?                           7       A. Very seldom, I guess. Only in these earlier
 8       A. Yes.                                                   8   studies pertaining to the -- well, I'm sure it was done
 9       Q. Okay. Moving on, sir, on page 5, there seems           9   with other asbestos work, too.
10   to be an issue with converting mppcf to fibers per cc,       10       Q. Right. But it wouldn't be done nowadays
11   correct?                                                     11   because we're not using mppcf any more, are we?
12       A. Yes.                                                  12       A. Right.
13       Q. And this is certainly an analysis that I              13       Q. So during this period of transition was when
14   believe requires some estimation, correct?                   14   these types of problems arose, correct?
15       A. Well, yes. It's very suspect, particularly            15       A. Yes. And the reason we aren't using million
16   unless all of the other sampling variables were the same.    16   particles per cubic foot any more is because it was highly
17   You know, I mean it's hard to apply that conversion across   17   unreliable and it was very difficult to try to count
18   the board.                                                   18   asbestos fibers using that method, so it's certainly all
19       Q. Right. So that conversion, though, would only         19   very unreliable.
20   have been used for samples that were created prior to        20       Q. Okay. Have you ever relied upon a study that
21   1969, correct?                                               21   used mppcf in its measurements?
22       A. Yes.                                                  22       A. No. I don't know what you mean.
23       Q. Because after 1969, they're using fiber per           23       Q. Well, you say it's unreliable, measurements
24   cc, correct?                                                 24   that are measured in mppcf. You were citing studies
25       A. Yes.                                                  25   earlier in your expert report that were pre 1965 in some
                                                   Page 147                                                         Page 149
 1        Q. Okay. So to the extent there are any                1     instances.
 2   questions over this conversion, that would relate to        2         A. Right.
 3   pre-1969 exposures. Am I correct, sir?                      3         Q. Those studies would have used mppcf, correct?
 4        A. Yes, wherever they were using million               4         A. Yes.
 5   particles per cubic foot.                                   5         Q. So it's not as if Amandus was using data that
 6        Q. Okay. And those exposures were very high,           6     nobody else had ever used in the published literature,
 7   correct?                                                    7     correct?
 8        A. Yes.                                                8         A. Well, right. That was the only choice we had.
 9        Q. Nobody disputes that the exposures in the dry       9         Q. Right. And given that, is the use of a matrix
10   mill were well in access of any PEL, correct?              10     a reasonable means of trying to convert mppcf to fiber per
11        A. Say that again.                                    11     cc?
12        Q. The exposures in the dry mill were, in some        12             MR. LEWIS: You mean today? Give some time
13   cases, over 100 fibers per cc, correct?                    13     foundation. You said "is" rather than "was."
14        A. Yes.                                               14         Q. (By Mr. Stansbury) Well, we're never going to
15        Q. Okay. And so while there may be some               15     deal with any data post 1967 -- '69 or '70 that's in
16   ambiguity in converting the mppcf to fibers per cc, we're  16     mppcf's. We're always talking about historical data, are
17   still dealing with very large numbers, correct?            17     we not?
18        A. Yes.                                               18         A. Yes.
19        Q. This is not an instance where we're trying to      19         Q. Okay. So given -- dealing with this data in
20   convert data and seeing whether it fits under a 0.1 or 0.5 20     which you do have a comprehensive exposure analysis that
21   PEL. We're talking about data that involved measurements 21       goes in an era from mppcf to a time in which we're
22   that are very high, even if there is some imprecision in   22     measuring in fiber per cc, is the use of a matrix a
23   the conversion, correct?                                   23     reasonable method for converting mppcf to fibers per cc?
24        A. Yes.                                               24         A. Yes. I think Amandus was trying to use
25        Q. Okay. And if we look on page 6, we see Table       25     historical data, as unreliable as it may be. In terms of
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 1   identifying fibers, he was trying to use it. He had           1   be, if I'm not mistaken, some effort to address the fact
 2   historical data that he was trying to use.                    2   that workers moved throughout the course of the day,
 3       Q. Okay. And is that a reasonable method to do            3   correct?
 4   so?                                                           4            MR. LEWIS: I'm going to object. The question
 5       A. I'm sure it's been done before.                        5   is argumentative. The question is a paraphrase. It's not
 6       Q. Okay. So he's not an outlier in this regard?           6   a proper question. Object to the form of the question.
 7       A. No.                                                    7       Q. (By Mr. Stansbury) Okay, you may answer, sir.
 8       Q. Okay. And if you look on the bottom -- on the          8       A. So we're referring to the last paragraph,
 9   middle of page 6, I guess it's the last sentence of the       9   then?
10   first full paragraph, we see the line: "Due to the lack      10       Q. Yes.
11   of exposure data in these areas, estimates before 1968 are   11       A. Yes. He's saying that weighted by the
12   considered 'guesstimates.'"                                  12   proportion of time a worker employed in a job spent in an
13       Did I read that correctly, sir?                          13   LO area. Okay, but again, if there's workers just going
14       A. I want to make sure I know where you're               14   through that area, they're not considered in that job
15   reading that at.                                             15   class. So that's, that's just, you know, my
16       Q. Sure; sure, sure.                                     16   interpretation.
17       A. Where, where were you at again?                       17       Q. Okay. But the impact, the net impact of not
18       Q. Oh, sure. I'm right here -- (indicating.)             18   classifying workers who move in and out of areas could
19       A. So "due to the lack of exposure," that's where        19   both increase or decrease exposure estimates, correct?
20   you started?                                                 20       A. It could.
21       Q. Yes, sir.                                             21       Q. Okay. So it's not necessarily a bias that
22       A. I do see that, yes.                                   22   would have a specific impact of increasing or decreasing
23       Q. Okay. So he's certainly being very                    23   in one way for certain, correct?
24   forthcoming over some of the limitations of the data,        24       A. Yeah, it's a bias I don't know how you would
25   correct?                                                     25   measure unless you had a pump on each person as they
                                                  Page 151                                                          Page 153
 1        A. Yes.                                                  1   walked through these areas --
 2        Q. Later, in the next sentence -- the next               2       Q. Right.
 3   paragraph, actually, he says:                                 3       A. -- but that wasn't done.
 4            "However, the 'guesstimates' for those LOs           4       Q. But given the data that they had, this was
 5   prior to 1968 had a small effect on the average cumulative    5   again a reasonable means of trying to compensate for that?
 6   exposure estimate for the overall cohort, and on the          6       A. Sure.
 7   estimates of the exposure-response curves, because a small    7       Q. Okay. Could we move to page 10, please, the
 8   number of workers was employed in these areas."               8   "Discussion"? I'm going to read beginning with the first
 9        Did I read that correctly, sir?                          9   sentence under there:
10        A. You read that correctly.                             10          "The questionable accuracy of the exposure
11        Q. Do you believe that's a relevant qualification       11   estimates before 1968 is recognized. Key factors that
12   for the guesstimate issue that he himself has flagged?       12   need to be considered in estimating exposure are
13        A. Well, it is in the aspect that when he's             13   precision, time periods for combining samples, estimators,
14   looking at number of workers employed under a given job      14   the conversion ratio, and assumptions as to exposures in
15   class in these areas, but it does not really factor in       15   areas where samples have not been taken. In most studies
16   employees that have to go through those area, or even in     16   such as ours, there is little one can do but work within
17   it's intermittently, that do not have that job class. So     17   the constraints of the available data."
18   that would be the only caveat I would add.                   18       Did I read that correctly, sir?
19        Q. So that might have the impact of                     19       A. Yes.
20   underestimating exposure?                                    20       Q. Do you agree with that statement?
21        A. Well, or just not determining exposure to all        21       A. Yes.
22   workers because they weren't in that job class. There        22       Q. Okay. And again, just so we're clear, the
23   were other workers who went through that area who were       23   guesstimate, that question applies to exposures that
24   exposed.                                                     24   occurred prior, 1968 and earlier, correct?
25        Q. Okay. The next paragraph, there does seem to         25       A. Well, in talking about specific exposure
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 1   results or quantification, yeah.                              1       A. Yes.
 2       Q. Yes.                                                   2       Q. Okay. And that was also -- the Sullivan paper
 3       A. I mean, obviously, exposure areas where                3   was a peer-reviewed, published paper, correct?
 4   samples have not been taken, well, obviously, we don't        4       A. Yes.
 5   have any exposure data, do we?                                5       Q. Okay. Now, when going through your report, we
 6       Q. Right. But there was, there was an attempt to          6   identified a lot of sections as dealing with Grace's
 7   address that, was there not?                                  7   conduct, correct?
 8       A. Right.                                                 8       A. Yes.
 9       Q. And that would be Table VI of the report,              9       Q. And in reaching these opinions, you developed
10   correct, sir?                                                10   a certain amount of familiarity with the Libby vermiculite
11       A. Yes.                                                  11   mining and milling operation as a whole, correct, sir?
12       Q. So once again, they are making a reasonable           12       A. In reaching these opinions?
13   effort to compensate for any limitations of the historical   13       Q. In reaching your opinions characterizing --
14   data, correct?                                               14   well, let me ask it a little bit differently.
15       A. I think they were doing the best they could do        15       In order to assess Grace's conduct, you first had to
16   with the data they had.                                      16   become very familiar with the Libby vermiculite mining and
17       Q. Okay. Are there any -- strike that. Do you            17   milling operation as a whole, correct?
18   know of any other literature other than -- let me back up    18       A. Yes. I have been, I have been assessing this
19   one second.                                                  19   situation since 1996, and my opinions have not changed
20       Dr. McDonald also did a study of this population,        20   regardless of research that I've done in terms of how I
21   correct?                                                     21   think Grace behaved or the hazards of Libby amphibole.
22       A. Yes.                                                  22       Q. Right. And I guess the point I'm trying to
23       Q. And is it fair to say that his exposure               23   reach, though, in reaching your opinions, you had to learn
24   analysis has some of the same virtues and limitations that   24   about what actually happened year in and year out at the
25   we just discussed with respect to Dr. Amandus's study?       25   mining operation in Libby, correct?
                                                  Page 155                                                         Page 157
 1      A. Yes.                                                 1          A. Yes.
 2      Q. Okay. Other than Dr. Amandus and                     2          Q. Okay. So it is certainly an area where you
 3   Dr. McDonald's papers, are you aware of any other          3      consider yourself to be very familiar?
 4   published literature which more accurately captures the    4          A. Yes.
 5   exposure experience within the Libby facility?             5          Q. Okay. And part of the Libby operation
 6      A. Involving the mine, no.                              6      involved sending ore elsewhere, correct?
 7      Q. Let me ask that again because you're right, I        7          A. Yes.
 8   should have clarified. Other than Amandus and McDonald's 8            Q. Okay. And this was unexpanded vermiculite,
 9   papers, are you aware of any other published report that   9      correct?
10   more accurately characterizes the asbestos exposure       10          A. Yes.
11   experience in the Libby vermiculite mining and milling    11          Q. And was there asbestos in that vermiculite?
12   operation?                                                12          A. Yes.
13      A. No.                                                 13          Q. And that asbestos would go where -- or, excuse
14      Q. Are you aware of any unpublished papers or          14      me, that vermiculite would go where?
15   reports that more accurately characterize the asbestos    15          A. Well, the vermiculite would go to expanding
16   exposure conditions in the Libby vermiculite mining and   16      plants across the country.
17   milling operation?                                        17          Q. Okay. Some of those plants were owned by
18      A. I'm not.                                            18      Grace, correct?
19      Q. Okay. And you're familiar with the Sullivan         19          A. I believe some of them were.
20   paper. You mentioned it earlier, correct?                 20          Q. And some of them were not, correct?
21      A. Yes.                                                21          A. Yes.
22      Q. That was published in 2008? 2007?                   22          Q. For example, O.M. Scott, the fertilizer
23      A. Pretty recently, yes.                               23      manufacturing facility, expanded vermiculite, did they
24      Q. Fairly recently. The exposure data for that         24      not?
25   paper was Amandus's paper that we just reviewed, correct? 25          A. Yes.
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 1       Q. Okay. So that would be an example of an             1          Q. And what were the findings of that analysis?
 2   expanding operation that was not owned by Grace, correct? 2           A. Well, they're very preliminary. In fact,
 3       A. Yes.                                                3      they're still being worked up but -- so it's, I mean we --
 4       Q. Okay. And the workers in those plants would         4      fibers were detected in areas outside of the plant that is
 5   have been at risk of being exposed to asbestos, correct?   5      no longer there.
 6       A. Yes.                                                6          Q. Okay. So this is just one example; however,
 7       Q. And in the case of the Marysville, Ohio             7      in this example, it illustrates that people outside of an
 8   facility, they were in fact exposed to asbestos, correct?  8      expanding plant outside of Libby - in this case, Spokane -
 9       A. Yes.                                                9      may have been exposed to asbestos that was released during
10       Q. Okay. And you have no reason to believe that       10      the expanding process, correct?
11   that would be any different in the numerous other         11          A. I suppose that's correct. And then the other
12   expanding plants all across the country, correct?         12      work would be - you said outside of Libby - would be
13       A. That workers were exposed to asbestos?             13      associated with the vermiculite grant that we're currently
14       Q. Yes.                                               14      working doing the homes.
15       A. No.                                                15          Q. And this is -- oh, this is what we were
16       Q. Right. It occurred all over the country, did       16      speaking about earlier, looking at the attic insulation.
17   it not?                                                   17          A. Right.
18       A. Yes.                                               18          Q. Right. And so that -- and, okay. Is it fair
19       Q. Okay. Now, are you familiar with the various       19      to say there may be some distinctions there, though? With
20   products that were generated using Libby vermiculite?     20      the attic insulation, you have exposure to
21       A. I am somewhat familiar with the products.          21      already-expanded vermiculite, correct?
22   I've looked through the, you know, the exhibits over time 22          A. Yes.
23   and saw they used it in cement and --                     23          Q. But there's still asbestos in it, right?
24       Q. So let's, if we can -- which products are you      24          A. Yes.
25   familiar with?                                            25          Q. So there could be an exposure, correct?
                                                  Page 159                                                          Page 161
 1       A. I don't know, Monokote; I don't know, other            1        A. We're talking about the attic insulation?
 2   types of cement products I've seen in the exhibits; the       2        Q. Yes.
 3   insulation; foundation insulation.                            3        A. Yes.
 4       Q. Okay. So like, for example, Monokote-3 --              4        Q. An expanding plant, by its very nature, you
 5       A. Yes.                                                   5   have unexpanded vermiculite going in, correct?
 6       Q. -- that contained vermiculite and chrysotile,          6        A. Yes.
 7   correct?                                                      7        Q. So the people there may have been exposed to
 8       A. I believe so.                                          8   unexpanded vermiculite, correct?
 9       Q. So a person who was exposed to Monokote-3 may          9        A. As well as after it's expanded.
10   have been exposed to asbestos from Libby.                    10        Q. Right. So, but it -- certainly, the exposure
11       A. Yes.                                                  11   one would have to unexpanded vermiculite would be
12       Q. Okay. Similarly, a person who had Zonolite            12   different, potentially, in terms of potential intensity
13   attic insulation in their home, they could have been         13   than an exposure to expanded vermiculite, correct?
14   exposed to asbestos from Libby, correct?                     14        A. I mean it could be. I don't know if I've seen
15       A. Yes.                                                  15   enough data to draw any conclusions on that.
16       Q. Okay. And to the extent that there were               16        Q. Now, within the Libby community, is it fair to
17   expanding operations in various cities, to the extent that   17   say you have people - not workers, putting workers aside -
18   there was -- well, let me rephrase this.                     18   within the Libby community, is it fair to say that you
19       Have you studied exposures to asbestos from Libby        19   have people who were exposed in Libby to both unexpanded
20   that occurred outside of Libby?                              20   and expanded vermiculite?
21       A. We have done some preliminary work in Spokane.        21        A. Yes.
22       Q. What kind of work is this?                            22        Q. What would be potential expanded vermiculite
23       A. It was, again, through the COBRE grant. And           23   -- let me rephrase that.
24   we basically did a very preliminary survey of                24        What would be an example of expanded vermiculite
25   neighborhoods surrounding the Spokane expanding plant.       25   exposures that would occur in Libby?
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 1       A. Of expanded or unexpanded?                           1       Q. (By Mr. Stansbury) And this is northeast of
 2       Q. Expanded.                                            2   Libby, correct, sir?
 3       A. Of expanded, the vermiculite attic insulation.       3       A. Yes.
 4       Q. Okay.                                                4       Q. Okay. And Location 1 appears to be just north
 5       A. I believe some expanded stuff was used in some       5   of the mine, correct?
 6   of the gardens or the lawns, and then people were           6       A. Well, Location 1 was actually right up at the
 7   expanding it themselves on their stoves to watch it pop.    7   mine site itself, I think.
 8       Q. That's right. But that would actually be an          8       Q. Okay. So you put that on mine property?
 9   exposure to unexpanded that became expanded, correct?       9       A. Yes.
10       A. Expanded, yeah, I don't know.                       10       Q. Okay. Location 2 appears to be north of the
11       Q. But what exposures to unexpanded vermiculite        11   mine. Is that, is that a fair statement, sir?
12   occurred within the Libby community?                       12       A. Yes, going down the road a ways.
13       A. Well, I think to the processed ore being            13       Q. How far from the mine would you say Location 2
14   hauled into Libby, for one; as well as material that was   14   is?
15   transported across the river and then brought into the     15       A. Probably a couple miles. I guess as the road
16   town by railroad car, and then leaks occurred and          16   travels, a couple miles; less by -- less as the crow
17   contaminated areas around the railroad.                    17   flies.
18       Q. So these leaks caused expansion -- so these         18       Q. And then Location 3 occurred at what appears
19   leaks around the railroad caused exposure to unexpanded    19   to be the intersection of Highway 37 and Rainey Creek
20   vermiculite in Libby, correct?                             20   Road; is that correct, sir?
21       A. You asked about unexpanded, right?                  21       A. Yes.
22       Q. Yes, sir; yes.                                      22       Q. Okay. Now, Location 1 and 2, can I just walk
23       A. I believe that the EPA has found unexpanded         23   up there right now and sample that if I wanted to myself?
24   vermiculite in some of the operable units they're now      24       A. If you got permission from EPA, you could.
25   currently trying to clean up.                              25       Q. I need permission from EPA, right, because
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 1       Q. And particularly with respect to the railroad        1   that's a restricted area, correct?
 2   exposures, those would also occur or could have occurred    2       A. Right.
 3   outside of Libby as well, correct?                          3       Q. People just can't walk into either Location 1
 4       A. I would say so, yes.                                 4   or 2 that you sampled, right?
 5       Q. Okay. Let me rephrase that a little bit more         5       A. That is correct.
 6   artfully. People outside of Libby may have been exposed     6       Q. What about Location 3?
 7   to unexpanded vermiculite through leaks from railcars,      7       A. Location 3 was just right off the highway, so
 8   correct?                                                    8   that's open to access.
 9       A. Yes.                                                 9       Q. Okay. So it's fair to say that the average
10       Q. And that would have meant -- that could have        10   person is not wandering around Location 1 or 2 on any
11   meant exposure to actual asbestos from those railcars,     11   given day, correct?
12   correct?                                                   12       A. I hope not.
13       A. Yes.                                                13       Q. Unless they're wearing a protective suit.
14       Q. Libby asbestos, correct?                            14   Okay. Now, you say on page 461, page 2 of the document,
15       A. Yes.                                                15   looking at the left-hand column, second paragraph, last
16       Q. Okay. I'd like to go back to your 2006 paper.       16   sentence, tell me if I read this correctly:
17   I believe it's Exhibit 3. I'm looking on page 2, and       17           "Since asbestos fibers are durable silicates
18   there's a picture of a map on page 2. That's Libby,        18   and do not decompose in the environment, the airborne
19   correct -- or that's actually an area outside of Libby,    19   asbestos fibers released and dispersed from the Libby mine
20   correct?                                                   20   and processing areas throughout7 0 years of operation have
21       A. Yeah, that's showing the mine road there.           21   likely deposited throughout the surrounding areas."
22           MR. STANSBURY: All right. And just so the          22       Did I read that correctly, sir?
23   record is clear, by page 2, I mean page 461 of the         23       A. Yes.
24   published paper, but I think Dr. Spear understood what I   24       Q. And this study looked at the depositing of
25   meant.                                                     25   fibers in bark, correct?
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 1       A. Yes.                                                   1       Q. Right. And --
 2       Q. Do you have any way of knowing whether the             2       A. So then after we realized those were all
 3   asbestos in a given bark, bark sample, was released 20        3   negative and it doesn't seem very plausible they'd be
 4   years ago as opposed to 40 years ago?                         4   taken up in the root system, we discontinued that
 5       A. Not in samples collected in this area, we              5   approach.
 6   don't. We've collected samples outside of the mine sites      6       Q. What about the soil samples? Did you publish
 7   in what's called the - I'm trying to think of the name -      7   the soil sample results?
 8   the Forest Service has a testing facility where they have     8       A. They were not published as part of this paper
 9   larch trees or some type of tree. And all of those trees      9   and I don't even know what the results are.
10   were planted after the mine was shut down, and we've done    10       Q. So you don't know whether there was asbestos
11   bark sampling in there and we've found fibers.               11   in the actual soil there?
12       Q. Okay. But that would be part of that study            12       A. Yeah, I can't recall what happened to the soil
13   you mentioned earlier, correct, the forestry? That's part    13   samples.
14   of your forestry study?                                      14       Q. Okay. Are you familiar with the term
15       A. Well, actually, it's been -- it's part of,            15   "naturally occurring asbestos"?
16   kind of, a method to determine along -- you know, EPA has    16       A. Yes.
17   now done a lot of bark sampling in lines going out from      17       Q. Now, I think that's -- I've been told in some
18   the mine using our method, and basically -- so we            18   ways that's kind a misnomer, in that all asbestos is
19   basically started the work in trying to find out how far     19   naturally occurring.
20   from the mine have they gone, so it's part of that work.     20       A. Right.
21   We did do additional bark sampling as part of the Forest     21       Q. But what I'm speaking of particularly is
22   Service study. You are correct there.                        22   asbestos, and particularly the Libby amphibole, that was
23       Q. Okay. And that, that analysis, though, has            23   not released as part of Grace's vermiculite operation.
24   not been discussed in your expert report. We didn't see      24   Are you familiar with what I'm talking about?
25   it when we were looking at your report, correct?             25       A. Yes.
                                                  Page 167                                                          Page 169
 1       A. That's correct.                                        1        Q. Do you have an opinion about, and we're going
 2       Q. Okay. But for this paper, you were not able            2   to just use the term "naturally occurring asbestos"?
 3   to tell when the asbestos was actually released, correct?     3        A. Yes.
 4       A. That would be correct.                                 4        Q. What is your opinion?
 5       Q. Okay. Moving to page 462, page 3 of the                5        A. My opinion is that in over thousands of years
 6   document, looking at the table, and I see results here for    6   with deposits up there on the hill and natural erosion,
 7   tests that were done on various locations. I see three        7   that there could be some naturally occurring asbestos, but
 8   samples for Location 1; is that correct?                      8   I think that the releases from that compared to releases
 9       A. Yeah, so Location 1, three samples.                    9   from activities associated with the mine would be, would
10       Q. And are those all bark samples?                       10   be much less.
11       A. Yes, they would all be bark samples.                  11        Q. Where would the naturally occurring asbestos
12       Q. One question I had, if we could move, the same        12   be located?
13   page but on the right column, I guess five lines down from   13        A. What do you mean "be located"?
14   the top: "Tree core samples were only collected from the     14        Q. Well, I mean, for example, if I'm in the
15   locations surrounding the mine in the initial sampling       15   center of Libby, you know, let's say St. John's Hospital,
16   program."                                                    16   is there naturally occurring asbestos in the soil right
17       Did I read that correctly, sir?                          17   there?
18       A. Yes.                                                  18        A. Well, I don't know that.
19       Q. What are the tree core samples?                       19        Q. Okay. Do you have an opinion as to where
20       A. When we began doing the bark sampling, we             20   naturally occurring asbestos would most likely be found in
21   wanted to make sure we covered all bases, so we did take     21   the Lincoln County area?
22   soil samples near the tree, we also took bark samples, and   22        A. I guess I don't.
23   then we did tree core samples to make sure that the fibers   23        Q. Okay.
24   were not being taken up by the root system and would be      24        A. I mean in terms -- are you referring to
25   inside the tree, basically.                                  25   asbestos that moved somewhere else, or what's in the
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 1   actual mineral deposits that existed?                         1   whether or not they were from the mining and milling
 2       Q. Mineral deposits the existed.                          2   operation as opposed to just naturally occurring asbestos,
 3       A. Yeah, I think it could be -- I think it's been         3   correct?
 4   found in some of the river areas, if I remember right, and    4       A. We could do that. I mean we have the peaks,
 5   I don't spend a lot of time reading the mineralogy            5   like I'm trying to tell you.
 6   journals, but -- (pause.)                                     6       Q. But you haven't reported that, correct?
 7       Q. Right. Are you aware if there are any                  7       A. No, we have not reported that.
 8   mineralogical differences between the Libby amphiboles        8       Q. Okay. Nor have you, sitting here today,
 9   that were released from the vermiculite mining operation      9   analyzed these data for those purposes?
10   as opposed to those Libby amphiboles that have occurred      10       A. No.
11   naturally?                                                   11       Q. Okay. Looking back at Table 1, it looks, if
12       A. You're referring to the Gunter papers,                12   I'm not mistaken, and correct me if I'm wrong, that there
13   probably?                                                    13   were quite a few amphibole fibers in the tree bark from
14       Q. Yes.                                                  14   sample 1A on Location 1, correct?
15       A. I believe he's contending that just recently,         15       A. Yes.
16   yes, that if it doesn't have the sodium/potassium peak,      16       Q. And 530 million amphibole fibers per gram of
17   then it's not from the mine. So I'm aware of some of that    17   bark. Did I read that correctly?
18   work, yes.                                                   18       A. So which sample are we looking at again?
19       Q. Did you in any way when conducting this -- let        19       Q. I'm looking at the first sample, Location 1,
20   me start over.                                               20   amphibole fiber per gram of bark.
21       Have you analyzed any of your samples using              21       A. Yes.
22   Dr. Gunter's analysis to determine whether the asbestos      22       Q. So that translates to 100 million fibers per
23   that you detected was from the mining and milling            23   cc, correct?
24   operation as opposed to naturally occurring asbestos?        24       A. Yes.
25       A. Well, we haven't -- for one thing, I'm not,           25       Q. And would that number include fibers less than
                                                  Page 171                                                          Page 173
 1   I'm not -- I think there's a lot of variability in what we    1   5 microns?
 2   would find in given deposits. In other words, when Meeker     2       A. Yes.
 3   did his work, he looked at, you know, a larger number of      3       Q. Okay. So in this table, you haven't
 4   samples than previous researches, and now Gunter has          4   differentiated between fibers that are shorter than
 5   looked at many more samples. So I think that, you know,       5   5 microns and those that are longer, correct?
 6   there's going to be variability in what we see based on       6       A. Yeah. The process that we use is called AHERA
 7   the number of samples, and I think that Gunter is drawing     7   TEM, basically. And so we ask the lab to report results
 8   some conclusions that I'm not saying I'm going to agree       8   back for all fibers greater than 0.1 micrometers in
 9   with.                                                         9   length. So we get it broken down by -- we got it broken
10       But in terms of your question, you know, we sent all     10   down by less than 5, greater than 5.
11   our samples in for transmission electron microscopy so we    11       Q. Would that include cleavage fragments as well?
12   get the peaks with the results. And I can only tell you      12       A. No.
13   the only ones I've looked at would be the recent ones that   13       Q. Okay. But it would include fibers less than
14   we've done, because I haven't had time to go back and look   14   5 microns in length.
15   at the other ones, but I think I will. And we found the      15       A. Correct.
16   sodium/potassium peaks in 60 percent of the last batch of    16       Q. Okay. So it would, this would be a
17   samples we've taken from the forest.                         17   distinct -- well, let me rephrase that.
18       Q. Okay. And those peaks would suggest that they         18       In order to compare these data to, let's say,
19   were actually from the milling operation?                    19   Amandus's data, you would need to exclude fibers less than
20       A. From the mine.                                        20   5 microns in order to do an apples-to-apples comparison,
21       Q. Mine.                                                 21   correct?
22       A. What Gunter is calling "the mine."                    22       A. Well, yeah, these are bark samples. I mean we
23       Q. Right, the mine. This 2006 paper, though, the         23   aren't talking about air samples.
24   samples that were reported in this paper, you've in no way   24       Q. These are just bark samples.
25   analyzed them in a method that would enable you to say       25       A. These are bulk samples.
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 1        Q. Right. So these -- so that's a fair point.            1       Q. And that translates to 5.8 million fibers per
 2   So these are not directly correlated to airborne              2   cubic -- per square centimeter, correct?
 3   exposures, right?                                             3       A. Yes.
 4        A. No. These are, these are media samples.               4       Q. Now, one thing I noticed was the analytical
 5   These are samples in a given media like bark.                 5   sensitivity for Location 5 as opposed to Location 4. And
 6        Q. Okay.                                                 6   analytical sensitivity, is that the lowest level that you
 7        A. I would certainly make no attempt to compare          7   would be able to detect? How would you describe
 8   it to, you know, airborne.                                    8   "analytical sensitivity"?
 9        Q. Would you be willing to offer an opinion as to        9       A. It's the lowest detect limits for a fiber that
10   what the potential airborne exposures would be from these    10   a lab can do and get repeatable results. So depending on
11   trees given those measurements, those bulk measurements?     11   what method you're collecting samples by, whether you're
12        A. Well, just looking at the amount in bark, no,        12   doing like PCM analysis where they just count fibers, that
13   because again, that's why we've tried to conduct other       13   has a different analytical sensitivity than when they're
14   studies. We're trying to find out: Well, if it's in the      14   doing TEM on an air sample. And then when they're doing
15   media, then how does it get out of the media?                15   bulk sample, so these are essentially bulk analysis,
16        Q. Right. And that's what your 2007 study               16   there's going to be a different analytical sensitivity
17   relates to, correct?                                         17   associated with that.
18        A. Right.                                               18       Q. And so if I understand that correctly, 19
19        Q. So this study, this would not support an             19   million was the analytical sensitivity for the sample from
20   opinion that there are actual exposures occurring because    20   Albany, New York, correct?
21   of the asbestos that had been trapped in the barks of        21       A. Yes.
22   trees. This study merely identifies the presence of          22       Q. And the one, the analytical sensitivity for
23   asbestos fibers in the barks of trees, correct?              23   Location 5 which was in Libby by the rail station was 1.2
24        A. It supports the scientific hypothesis that           24   million, correct?
25   asbestos fibers traveled through the air and deposited on    25       A. Yes.
                                                  Page 175                                                          Page 177
 1   these trees.                                                  1        Q. So if there had been 10 million amphibole
 2       Q. Okay. But as we stated earlier, you didn't             2   fibers per gram of bark in the Albany, New York pine, you
 3   differentiate between fibers that were naturally occurring    3   would not have been able to detect that, correct?
 4   as opposed to those that were released from the Grace         4        A. Well, yeah. It's really based on their
 5   mining/milling operation, correct?                            5   ability to be able to count. Usually, TEM analysis in
 6       A. Well, in this particular paper. I told you we          6   terms of at least an air sample, they want the ability to
 7   have looked at bark samples from the same area and they       7   be able to see 1 fiber per square millimeter of filter
 8   contained the sodium/potassium peaks.                         8   that they analyze. Okay? So it's really, I think,
 9       Q. But you haven't reported or produced those             9   related more to the type of material, the bulk of material
10   findings?                                                    10   that they analyze.
11       A. No, we haven't.                                       11        Q. More related to the type. So why was the
12       Q. Okay. And you certainly haven't produced them         12   analytical sensitivity so much lower for Location 5 as
13   in this case, correct?                                       13   opposed to the control group?
14       A. That's correct.                                       14        A. It could be because there's different types of
15       Q. Okay. Looking back at the table, Location 4           15   bark, different types of tree. This is a big variable in
16   is your control, correct?                                    16   all this work --
17       A. Yes.                                                  17        Q. Right.
18       Q. And that is Albany, New York, and it's a pine         18        A. -- is different trees have different bark. So
19   tree. And you detected no amphibole fibers, correct?         19   that would be the best I can explain it. I mean Jim
20       A. Correct.                                              20   Webber would be the best person to explain that. He's the
21       Q. Location 5 is on the rail line, correct?              21   analyst.
22       A. Yes.                                                  22        Q. But, I mean, just so I -- kind of going back
23       Q. And you detected 19 million amphibole fibers          23   to one of my previous questions: If there had been 10
24   per gram of bark, correct?                                   24   million amphibole fibers per gram of bark in Location 4's
25       A. Yes.                                                  25   sample, it still would have not been detected given that
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 1   analytical sensitivity, correct?                              1   speak to that either way?
 2       A. Well, I don't know if that's entirely                  2       A. No.
 3   accurate, because like I say, they do the method so that      3       Q. Okay. And Then Location 8 was Asa Wood
 4   they can detect a certain number of fibers per area of        4   Elementary School. I take it that is in Libby; is that
 5   what they're analyzing. So I don't know. I see what           5   correct?
 6   you're going -- I see where you're going with your            6       A. Yes.
 7   question, but -- (pause.)                                     7       Q. And there were no fibers detected there,
 8       Q. Right. But it's something that --                      8   correct?
 9       A. I don't know if that's right or wrong.                 9       A. Right.
10       Q. Okay; okay, that's fair. But Location 7 was           10       Q. So we see a great range of asbestos in the
11   the Libby Middle School track and there were 0.13 million    11   trees, with one end of the spectrum being Location 1,
12   amphibole fibers per gram of bark and 0.25 million           12   which is, as you said, on the mine site; with Asa Wood
13   amphibole fibers per square centimeter, correct?             13   Elementary in town, where no fibers were detected in the
14       A. Yes.                                                  14   bark, correct?
15       Q. And again, the detection analytical                   15       A. Exactly. We were trying to do that very
16   sensitivity for Location 7 was 0.13 million, correct?        16   thing. We wanted to start at the mine and then go out.
17       A. Yeah.                                                 17       Q. Okay. Of course, as I said earlier, Locations
18       Q. And the amount detected was right at that             18   1 and 2 where you had the highest exposures, people just
19   analytical sensitivity level, correct?                       19   can't walk onto those areas without first getting
20       A. Pretty close.                                         20   clearance in EPA, correct?
21       Q. Needless to say, if the same analytical               21       A. Right.
22   sensitivity used for Location 4 were used on Location 7,     22       Q. Okay. In doing your analysis, did you ever
23   none would have been detected, correct?                      23   try to identify whether there was any vermiculite deposits
24       A. Well, if that analytical sensitivity applied          24   within the bark?
25   to that sample, yeah, but I don't think it does.             25       A. I guess I don't understand that question.
                                                  Page 179                                                          Page 181
 1        Q. Why is that?                                          1       Q. Well, is -- vermiculite dust, can that be
 2        A. Well, because I've tried to explain what I            2   transferred through the air?
 3   know about it, is the fact that it's going to depend upon     3       A. Oh, sure, I'm sure it could.
 4   the sample preparation, the type of bark, the amount of       4       Q. And vermiculite dust could have ended up on
 5   bark that they use. I mean, for example, if I collected       5   the bark of tree as well, correct?
 6   air samples and I send in five different air samples to a     6       A. Sure.
 7   lab for TEM analysis, the analytical sensitivity for every    7       Q. And if there was a high level of vermiculite
 8   one of those samples is going to be different because of      8   dust in the tree, that would, perhaps, suggest that the
 9   the volume of air that we collect.                            9   dust had come from the mining and milling facility as
10        Q. Right. So the -- I understand why you have           10   opposed to naturally occurring asbestos, correct?
11   different sensitivities; however, the sensitivity is still   11       A. Because vermiculite can't be naturally
12   a, if you will, a cutoff point below which you cannot        12   occurring? I'm not following your logic.
13   reliably report the data, correct?                           13       Q. Well, I mean, vermiculite -- it occurs in
14        A. In that sample, yeah.                                14   Vermiculite Mountain, correct?
15        Q. Right. And so to the extent that there -- if         15       A. Yeah.
16   there had been, for whatever reason, a 19 million fibers     16       Q. And that's the primary source of vermiculite
17   per gram analytical sensitivity for Location 7, it           17   in the area, correct?
18   certainly would not have been able to detect the 0.13        18       A. Yeah.
19   million amphibole per gram of bark that you reported,        19       Q. So to the extent that there was vermiculite in
20   correct?                                                     20   tree bark, what other sources of vermiculite would you
21        A. Well, yeah, again, if that sensitivity applied       21   attribute that to other than from Vermiculite Mountain?
22   to those different samples. I mean I would have to say       22       A. Well, I wouldn't attribute it to any.
23   what I'd say before. I don't know if that's accurate or      23       Q. Right. And so would that have been a way of
24   not.                                                         24   determining whether some of this asbestos was actually
25        Q. Okay. So sitting here today, you really can't        25   coming from Vermiculite Mountain, whether there was
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 1   actually vermiculite dust located there as well?             1   for - classification. I mean I can go out and look at a
 2       A. I guess it could have been.                           2   tree and I don't know what kind of tree it is. So that's
 3       Q. Okay.                                                 3   about all I can say about that. I mean that's -- the
 4       A. I mean we were studying asbestos, but --              4   question that we always get is, you know: How does bark
 5   (pause.)                                                     5   relate to all of this?
 6       Q. Right. So there's no, in any of these studies         6        Q. Right.
 7   -- no time in any of these did you actually identify         7        A. Or tree species.
 8   whether vermiculite itself was present, correct?             8        Q. Right. And so sitting here today, you have no
 9       A. Well, not to my knowledge. I haven't seen all         9   opinion as to how that would impact your data?
10   of the scans from all of these different samples, either,   10        A. Well, tree species, we only sample at a
11   so --                                                       11   certain distance where we can reach a tree. I mean if you
12       Q. But it certainly hasn't been reported in the         12   go -- what happens if you go up into a tree? Are there
13   papers?                                                     13   fibers loosely held on the pine needles? You know, this
14       A. It hasn't been reported in the papers.               14   is just very exploratory.
15       Q. Right. And you certainly haven't produced            15        Q. Right. And at this point, you know, there
16   that in this case.                                          16   were, there were eight samples, one of which was a
17       A. (Nodding head affirmatively.)                        17   control, so -- actually, I don't see a Sample 6, so I
18       Q. Now, on page 464, the last paragraph before          18   guess there were seven samples, one of which was a
19   "Discussion":                                               19   control; so six actual samples, two of which were in the
20           "SEM observation revealed that the amphibole        20   restricted area, and one of which was also right at the
21   fibers were deposited on the surface of the bark and not    21   intersection the Rainey Creek Road and Highway 37,
22   through its depth. Most of the fibers were located in the   22   correct?
23   crevices and wrinkles of the bark rather than on its        23        A. Yes.
24   smooth surfaces."                                           24        Q. Do you believe that those samples and the
25       Did I read that correctly, sir?                         25   findings in those samples are representative of the forest
                                                 Page 183                                                          Page 185
 1        A. Yes.                                                 1   in Lincoln County in general?
 2        Q. Could you explain in lay terms what that             2       A. Well, you don't have to rely on my -- or our
 3   means?                                                       3   paper for this particular question because all you have to
 4        A. Well, it just means if you look -- I think the       4   do is go to the EPA Web site. And just like those other
 5   easiest way is just to look at the pictures. It refers       5   EPA papers I'm referring to, you can get them off the Web
 6   you to these pictures.                                       6   site; that you asked them if I cite them or not, well,
 7        Q. I like pictures.                                     7   they're on the web site. But anyway, you can go to EPA's
 8        A. Well, I mean, you know, so the purpose of the        8   Web site and you can see a map of what they found in the
 9   pictures is that you look at Figure 2 and you can see        9   bark going from the mine all the way across Lake Koocanusa
10   certain long fibers. And then you look at exactly the       10   and they will give you concentration gradients going
11   same spot on the micrograph that was blown up to larger     11   beyond the mine.
12   magnification, and you start to see many more fibers that   12       Q. Right.
13   are embedded deeper into the bark. So you look at the       13       A. So you can draw your own conclusions from
14   bark surface under a microscope. As you could imagine,      14   that.
15   it's going to be rough and a lot of little crevices and     15       Q. Okay. But your conclusions, based on your
16   stuff. So basically, it just -- it works its way into the   16   analysis, you would not purport to have taken a
17   crevices and stays there.                                   17   representative sample in this paper, correct?
18        Q. Now, do trees shed their bark over time?            18       A. In this paper, we were starting at the mine.
19        A. Some do.                                            19   We wanted to -- we assumed that would have the highest
20        Q. Do you know whether these particular trees do?      20   level of contaminants. And then we worked our way away
21        A. I think some of these species do. I'm not a         21   from the mine. That was the point.
22   botanist so I'm not going there.                            22       Q. Okay. It was not to say -- to speak or give
23        Q. Who is the botanist on this?                        23   conclusions about the forest as a whole, correct?
24        A. Well, we had, early on we had a student who         24       A. Well, that's not entirely correct, no, because
25   was doing some of the bark - what's the word I'm looking    25   obviously, if you would -- if we find it, you know, we
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 1   even find half the concentration at the road so many miles  1     correctly:
 2   down from the mine, then we could assume that the forest    2             "The result of the railroad sample raises the
 3   in the same circle around that same area could be           3     possibility that the transportation corridors through
 4   similarly contaminated.                                     4     which Libby vermiculite was hauled to other locations
 5       Q. Did you make any effort to randomly select or        5     throughout the United States may also be contaminated.
 6   select a representative sample of the trees that were in    6     This suggests that similar studies of bark from trees near
 7   the area off of the mine?                                   7     vermiculite processing sites across the country could be
 8       A. Well, we tried to -- we basically tried to           8     used to determine the extent of amphibole fiber
 9   sample in areas which we could easily access, since we      9     contamination in those locales."
10   were all suited up and it's very difficult work.           10         Did I read that correctly, sir?
11       Q. Sure.                                               11         A. Yes.
12       A. And so, you know, that would be a good              12         Q. And if I understand this correctly, you're
13   question. And basically, we tried to collect samples from  13     saying that because this Libby vermiculite was taken
14   areas moving down from the mine off roadways as far as we  14     across the country, it is possible that we would find
15   could get, and we did try to, over time, have tried to     15     exposures had occurred that resulted in asbestos fibers
16   collect samples from representative tree species.          16     being deposited in trees far, far away from the Libby
17       How come you and I are the only ones interested in     17     mine, correct?
18   this paper?                                                18         A. Is what it's really saying is that, you know,
19       Q. I think, I think it's fascinating. So, just         19     since we've done this work, this approach has been done in
20   so I understand what you're saying: You start at the       20     other areas of the country. Back in New York, they've
21   mine, you move farther away all the way in town. However, 21      used the same approach near chrysotile mines and used to
22   would you feel comfortable extrapolating these findings to 22     identify, you know, the dispersal of asbestos. So that's
23   trees that were 5 to 10 miles due south of the mine?       23     what really this is saying, is that this can be used as an
24       A. Well, I mean we didn't have the resources or        24     approach to track where asbestos goes.
25   the manpower to do that sort of approach, so EPA took our  25         Q. Right.
                                                  Page 187                                                          Page 189
 1   -- basically what we found after we reported this to EPA,     1       A. I think that's all it's saying.
 2   then they did their sampling. They dropped people in by       2       Q. Well, I guess the language I focused on,
 3   helicopter and took samples on these lines going from the     3   though, was: "That the transportation corridors through
 4   mine.                                                         4   which Libby vermiculite was hauled to other locations
 5        Q. Okay.                                                 5   throughout the United States may also be contaminated."
 6        A. In all directions.                                    6       A. Yes.
 7        Q. So EPA's work, you believe, constitutes a more        7       Q. And you agree with that statement?
 8   representative analysis or -- let me rephrase that.           8       A. Yes.
 9        The sampling done by EPA, in your opinion, was more      9       Q. Okay. So it is quite possible that there are
10   comprehensive in its attempt to sample a more                10   forests outside of Lincoln County in which unexpanded
11   representative sample of the trees?                          11   vermiculite was taken through that area and people who
12        A. Representative area around the mine, yes.            12   engage in certain activities in that forest may be exposed
13        Q. Right, okay. And I guess, you know, I don't          13   to asbestos, correct?
14   -- you're not purporting to do so here. I'm just trying      14       A. Well, I don't like your use of the word
15   to make the record clear on this. This is not a paper        15   "forest." I mean we're talking about areas adjacent to
16   that is trying to take a number of samples and then          16   like a railroad track.
17   extrapolate those findings to the forest in general.         17       Q. Okay. But trees near a railroad track,
18   That's not what this paper seeks to do, correct?             18   correct?
19        A. I don't believe we have enough samples to do         19       A. And I'll buy that one.
20   that.                                                        20       Q. Okay. So let me start that over, then. Is
21        Q. Okay. That is just what I was trying to make         21   your opinion, then, that because unexpanded vermiculite
22   clear. Moving on to page -- well, staying on page 464,       22   was sent all across the country, that it is quite possible
23   I'll move back to the figures, in the "Conclusion," and      23   that there were releases of asbestos that were retained by
24   this is, I guess, the last two sentences on this page, I'm   24   trees? Correct?
25   going to read this, and let me know if I read this           25       A. Yes.
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                                                 Page 190                                                         Page 192
 1       Q. And a person who engages in certain activities       1       A. You may be able to, I guess, as long as we're
 2   around those trees may be exposed to asbestos from this     2   talking about that particular activity.
 3   tree, correct?                                              3       Q. Okay. In this case, do you intend to offer
 4       A. If they performed some activity that disturbed       4   any opinions about individuals who have worked in some
 5   the media, sure.                                            5   type of logging capacity in the Lincoln County area with
 6       Q. Okay. And this would be asbestos that came           6   respect to what their exposures may have been?
 7   from unexpanded vermiculite, correct?                       7       A. Well, to me, the fact that all of this work
 8       A. Yes, or, I guess, asbestos that came from            8   started because that's what we were originally proposing
 9   anywhere if it was transported through that area.           9   was to study logging operations in Libby as a large scale
10       Q. Right, right. Which unexpanded vermiculite          10   operation, and so we wanted to collect preliminary data,
11   was, correct?                                              11   so I guess from that standpoint, we were trying to
12       A. Yes.                                                12   determine if there was a source of exposure from sawing up
13       Q. Okay. The same kind of unexpanded vermiculite       13   wood, yes.
14   that was found around Libby, correct?                      14       Q. Okay. So the idea of determining whether
15       A. Yes.                                                15   there's a source of exposure, is it fair to characterize
16       Q. Okay. If we could move to Exhibit 4 again,          16   that as a preliminary undertaking?
17   which was your harvesting simulations. Now, earlier you    17       A. I think -- well, this says "preliminary" in
18   corrected me when I made an ill-advised attempt to compare 18   the title. I don't know if you read that or not.
19   bulk sampling to air samples, that those are not proper    19       Q. Yes, yes. That's a good point. That's --
20   data to compare, correct?                                  20   okay. So at this stage, you are establishing the
21       A. Yes.                                                21   existence of potential exposures, correct?
22       Q. However, here we are now dealing with air           22       A. Yes.
23   samples, correct?                                          23       Q. But you haven't reached a point of actually
24       A. Yes.                                                24   trying to estimate a cumulative exposure that an
25       Q. And these are the kind of data that could be        25   individual has had who may have engaged in these
                                                 Page 191                                                         Page 193
 1   compared to exposures that occur on a job site, correct?    1   activities, correct?
 2       A. On a job site where they were sawing up              2        A. I have not.
 3   contaminated firewood?                                      3        Q. Okay. Nor do you intend to offer an opinion
 4       Q. Well, I mean even more generally. The                4   of that nature at the confirmation hearing, correct?
 5   measurements you take of the activity simulated here,       5        A. That would be fair.
 6   those data measurements, those fiber-per-cc measurements, 6          Q. Okay. Now, did you take soil measurements
 7   those data could be compared to other types of              7   during the course of the sampling activities?
 8   occupational exposures to asbestos when trying to assess    8        A. For this paper, I don't believe so.
 9   exposure level, correct?                                    9        Q. Okay. And some of the activities included
10       A. Well, just in, yeah, saying we've got this          10   literally sawing trees over, correct?
11   level doing this activity and this level taking a chain    11        A. Yes.
12   saw to a piece of wood; yeah, we can do that.              12        Q. Let me get a quick list of the activities just
13       Q. Okay.                                               13   so, you know, we're not -- I'm not speculating. Where's
14       A. I don't know what it means. This was designed       14   -- I believe it's in the paper, but off the top of your
15   to look at what happens if we start handling these trees.  15   head, if not, what are the --
16       Q. Okay. But just so I understand, when we were        16        A. Yeah, we basically had -- we tried to divide
17   talking about Amandus earlier, we talked about how         17   up into people with different tasks. So we had a
18   exposure data was used as part of an epidemiological       18   chain-sawer; we had a person who would assist the
19   study, correct?                                            19   chain-sawer in getting the tree in position, clearing
20       A. Yes.                                                20   brush; then we would have people that would move the sawed
21       Q. And so presumably, to the extent that you have      21   material and stack it --
22   this exposure data, were you to have information about the 22        Q. Which task --
23   duration or circumstances surrounding exposure, you could 23         A. -- there were two of them.
24   develop a cumulative exposure for somebody if given the    24        Q. Which task did you perform?
25   right exposure history, correct?                           25        A. I was the chain-sawer.
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                                                 Page 194                                                         Page 196
 1       Q. That's got to be the best job of the bunch.           1   fibers that were from the Libby mining vermiculite
 2       A. It was.                                               2   operation as opposed to "naturally occurring asbestos,"
 3       Q. I think the mover got the short end of the            3   correct?
 4   stick. No pun intended.                                      4       A. We just looked for Libby amphiboles.
 5       A. Well, I think the stackers. They were -- they         5       Q. Okay. So the amphiboles that were identified
 6   had to rope --                                               6   could have been from the bark of the tree, correct?
 7           MR. LEWIS: Have you ever been, ever been on a        7       A. Yes.
 8   chain saw?                                                   8       Q. Could have been from the soil, correct?
 9           MR. STANSBURY: I have been on a chain saw.           9       A. Could have been.
10           MR. LEWIS: If you get on one of these big           10       Q. Okay. And could have just been naturally
11   chain saws, that's no bargain.                              11   occurring asbestos, correct?
12           MR. STANSBURY: Oh, it's -- at least it's            12       A. But all asbestos is naturally occurring.
13   enjoyable. I've also -- I've been on a chain saw and I've   13       Q. Well, let me rephrase that, then: Naturally
14   shlepped wood around. And between the two, I'll take the    14   occurring asbestos that was not originally released as
15   chain saw.                                                  15   part of the Grace mining and milling operation, correct?
16           THE WITNESS: But the stackers had to walk,          16       A. If it was there, it could have been that,
17   you know. So they'd be walking and there'd be hills. I      17   sure.
18   think they had the worst job.                               18       Q. Okay. Right, just making clear that you did
19       Q. (By Mr. Stansbury) Okay. And then once the           19   not attempt to differentiate, did you?
20   tree had fallen, you would also saw the branches off the    20       A. No.
21   tree, correct?                                              21       Q. Okay.
22       A. Right.                                               22           MR. STANSBURY: I think we have 5 minutes left
23       Q. And so as you say, people are walking back and       23   on the tape, so why don't we take a quick break and then
24   forth throughout this process, correct?                     24   we'll resume after that so he can change the tape.
25       A. Yes.                                                 25           VIDEOGRAPHER: This concludes Tape 3 of the
                                                 Page 195                                                         Page 197
 1       Q. Trees are falling from an upright position          1     videotaped deposition of Dr. Terry Spear.
 2   onto the ground, correct?                                  2             The time is 1:07. We're off the record.
 3       A. Yes.                                                3             (A brief recess was taken.)
 4       Q. Kicking up whatever debris is on the ground,        4             VIDEOGRAPHER: The time is 1:17. This is Tape
 5   correct?                                                   5     4 of the videotaped deposition of Dr. Terry Spear.
 6       A. Correct.                                            6             We're on the record.
 7       Q. And so, however -- and you're taking                7     BY MR. STANSBURY:
 8   measurements of personal breathing zones, correct?         8         Q. Okay. Going back to Exhibit 4, I believe, if
 9       A. Yes.                                                9     we could turn to page 719.
10       Q. You're also doing wipe measurements, correct?      10             MR. LEWIS: Seven -- excuse me?
11       A. Yes.                                               11             MR. STANSBURY: Seven nineteen.
12       Q. Okay. However, with the personal breathing         12             MR. LEWIS: Thank you.
13   zone measurements, you did not differentiate between      13         Q. (By Mr. Stansbury) And Figure 1, location of
14   exposures that may have occurred from asbestos coming out 14     the 2006 harvest, firewood harvesting simulations
15   of the bark of the tree as opposed to asbestos coming out 15     conducted off of Rainey Creek Road, near the former
16   of the soil, correct?                                     16     vermiculite in the EPA-restricted zone near Libby Montana,
17       A. Out of the soil or people walking through          17     the distance from Highway 37 to the harvest locations was
18   brush that wasn't associated. You know, you're walking    18     1.5 kilometers.
19   through brush, I mean like green - what's the word I'm    19         Did I read that correctly?
20   looking for - you know, green foliage.                    20         A. Yes.
21       Q. Right.                                             21         Q. So that, the harvest location, that's where
22       A. Yeah, we didn't account for that and we can't      22     these samples were taken?
23   account for that.                                         23         A. The harvest, yeah -- during this study, you
24       Q. Okay, okay. And similarly as we discussed          24     mean?
25   earlier, you haven't differentiated between asbestos      25         Q. Yes, sir.
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                                                  Page 198                                                          Page 200
 1       A. Yes.                                                  1   predict airborne releases given bulk measurements of
 2       Q. Okay. How many trees did you chop down in             2   asbestos within bark?
 3   total?                                                       3       A. No.
 4       A. I'm not sure how many trees we chopped down in        4       Q. Okay. You mentioned in this paper the
 5   total. I mean we did -- I believe some of the trees were     5   restrictive zone was once used for logging. Is that
 6   partially down, some we felled. They're all standing         6   correct?
 7   dead. We didn't cut any live trees.                          7       A. That was my understanding, yes.
 8       Q. You didn't cut any live trees at all?                 8       Q. What was the basis of that understanding?
 9       A. No.                                                   9       A. Oh, I think I've -- that's a matter of public
10       Q. Okay. If we could turn to Table 2 on page            10   record. I believe the Forest Service may have told us
11   721, this is TEM wipe sample results from three firewood    11   that. I think I've seen it in depositions. Yeah, I don't
12   harvest simulation trials conducted in the Libby            12   have any doubts about that they were -- that there was
13   EPA-restricted zone near Libby, Montana.                    13   logging done off that road or nearby. Jackson Creek Road
14       Did I read that correctly, sir?                         14   comes in from the northeast side of that, or mainly the --
15       A. Yes.                                                 15   I don't know if that's important or not, but -- (pause.)
16       Q. Okay. So it sounds like there were three             16       Q. Well, let's look at Table 1 for a moment.
17   harvest trials. Is that what we were talking about          17       A. Okay.
18   earlier, where you chop down the trees, cut them up, and    18       Q. Now, this is the --
19   then haul and stack the wood?                               19       A. Table 1?
20       A. Well, a trial was basically over a given             20       Q. Yes, on page 720.
21   period of time. See, we had to limit our time doing this    21       A. Okay.
22   work because of the fact that, again, we were suited up     22       Q. Now, this is the PBZ, the personal breathing
23   and it was summertime and we couldn't spend too much time   23   zone results, correct?
24   in these suits. So a trial would involve like a period of   24       A. Yes.
25   time, 40 minutes - an hour, probably 40 minutes, and        25       Q. And the chain saw operator, which we've
                                                  Page 199                                                          Page 201
 1   whatever trees we cut up during that time period would be    1   established was you, correct?
 2   part of that trial. So we did that three different times.    2        A. Yes.
 3       Q. Okay. And as this indicates by the title of           3        Q. And "n = 3," that means -- what does that
 4   this table, this harvesting occurred inside the              4   equal?
 5   EPA-restricted zone, correct?                                5        A. Number of samples we collected.
 6       A. Yes.                                                  6        Q. Okay, so number of airborne samples. How long
 7       Q. Okay. And I believe on page 722 under                 7   would you take each sample?
 8   "Conclusion," the last paragraph of the left column, tell    8        A. I think it's stated in here somewhere. Again,
 9   me if I read this correctly:                                 9   it seems like they were fairly short-term samples, less
10           "The authors recognize that the                     10   than an hour.
11   firewood-harvesting simulations presented in this study     11        Q. And you then predicted a time-weighted average
12   represent near worst-case scenarios."                       12   for those samples?
13       Did I read that correctly, sir?                         13        A. Well, these are sample time-weighted averages,
14       A. Yes.                                                 14   so these are just the concentrations for the sample time.
15       Q. Okay. So is it fair to say you would not             15   We didn't extrapolate the eight hours.
16   extrapolate any airborne release findings from this study   16        Q. Okay. So what impact would extrapolating the
17   to similar activities that would occur elsewhere in and     17   eight hours have on your findings?
18   around Lincoln County, correct?                             18        A. Well, if a person did chain-sawing the same
19       A. Correct, unless we knew the bark levels were         19   amount of time as we did and found the same results, and
20   the same. But we don't know that, so you are correct.       20   then if we divided that by eight hours, it's going to go
21       Q. Okay. Did you develop a method for predicting        21   down. I mean the concentration will be less. However, if
22   the airborne release that would occur from a given bark     22   a person did this particular operation for eight hours,
23   level?                                                      23   then that would be the eight-hour time-weighted average.
24       A. No.                                                  24   Does that make any sense? This is how we try to teach our
25       Q. Okay. Sitting here today, are you able to            25   students.
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                                                 Page 202                                                                      Page 204
 1       Q. Right. I just want to make sure that, you             1    Q. Okay. And so if we were to want to compare
 2   know, the record's clear and that I'm following it, too.     2 these measurements with Amandus's data, we would use the
 3   So the mean PCM sample TWA -- and TWA is a time-weighted     3 mean -- would we use the "Mean TEM Sample TWA greater than
 4   average, right?                                              4 5 microns" column?
 5       A. Yes.                                                  5    A. Well, I don't believe Amandus did any TEM. I
 6       Q. It's 0.72 fibers per milliliter, which is             6 think it was all PCM.
 7   fibers per cc, right?                                        7    Q. PCM, right. How would the TEM and PCM
 8       A. Right.                                                8 compare?
 9       Q. Okay. And for the operator assistant, it was          9    A. Well, generally, we could expect -- I mean if
10   0.26 fibers per cc, correct?                                10 we're just talking about -- let's say we had nothing but
11       A. Yes.                                                 11 asbestos in this room floating around in the air, and if
12       Q. And the stackers, it drops to 0.07 and 0.12          12 we did PCM versus TEM, we'd see more with TEM because of
13   respectively, correct?                                      13 the greater magnification.
14       A. Yes.                                                 14      Q. Okay.
15       Q. And so the total mean for all tasks was 0.29         15      A. If you have a mixed, where you've got
16   fibers per cc, correct?                                     16 different types of fibers -- see, TEM is only looking at
17       A. Right.                                               17 asbestos. So if we've got mixed fibers, then we may see
18       Q. Okay. Now, do you have an opinion as to the          18 more with PCM. Does that make sense?
19   meaning of those findings or the importance of those        19    Q. Okay. Why would we see more with PCM?
20   findings?                                                   20 Because we wouldn't --
21       A. Well, in my opinion, they aren't very                21    A. Because it's going to count all fibers.
22   important because obviously, fibers per cc are just that,   22      Q. Right.
23   fibers. You know, there's lots of fibers in the forest.     23      A. So it's going to count the asbestos fibers as
24       Q. Right.                                               24 well as the other fibers. Do you see what I'm saying? I
25       A. We're talking about sawdust.                         25 don't know if that makes sense.

                                                 Page 203                                                                      Page 205
 1       Q. So we haven't, at this point, reduced it to           1    Q. I do. So I'm thinking back to the exposure
 2   asbestos fibers, correct?                                    2 measurements that Amandus used which used PCM. The actual
 3       A. That's right.                                         3 asbestos present in the air for those measurements may
 4       Q. Okay. What about the mean TEM sample TWA?             4 have been higher than what was measured -- than what was
 5   Are we then looking at actual asbestos fiber for these       5 reported, rather?
 6   measurements?                                                6       A. Are we going back to the Amandus?
 7       A. Yes. These are structures per square                  7       Q. Yes, not focusing on the old pre '68 data.
 8   centimeter -- or per cubic centimeter --                     8   I'm talking about like the data in the late '60s and
 9       Q. And so the first --                                   9   throughout the '70s through the '80s where they reported
10       A. -- and broken down by, you know, length.             10   in PCM fibers per cc.
11       Q. Okay. So there are two columns -- or three           11       A. Well, if there were fibers present that were
12   columns of mean TEM data, the first of which measures       12   non asbestos, that would be the case. I don't know if
13   fibers less than 5 microns, correct?                        13   that was true or not.
14       A. In length.                                           14       Q. Okay.
15       Q. In length; in length, thank you. The second          15       A. You know, and the other -- with PCM, you just
16   column measures fibers greater than 5 microns in length,    16   have to keep in mind that they're counting fibers, but for
17   correct?                                                    17   one thing, PCM can only see a diameter of a fiber like
18       A. Yes.                                                 18   0.25 micrometers in diameter. So if there's real thin
19       Q. And then the third column measures total             19   fibers, we're not even going to see them under the
20   asbestos fibers irrespective of length, correct?            20   microscope, whereas with TEM, we would see it. So that's
21       A. Yes, but basically, it's kind of the                 21   kind of another reason why we might see more TEM fibers if
22   combination of the two.                                     22   we had the same, the same asbestos atmosphere.
23       Q. Right. You're basically adding them together,        23       Q. So is it fair to say that, and based on this
24   correct?                                                    24   paper, one of the worst-case scenarios you would
25       A. Yeah.                                                25   anticipate in terms of exposure for a chain saw operator
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                                                  Page 206                                                          Page 208
 1   would be 0.11 fibers per cc if we were to count all           1   question?
 2   fibers, including those shorter than 5 microns, correct?      2            MR. LEWIS: But the answer is "no," he's not
 3       A. Are we looking at the last column? Where are           3   going to be offering any testimony on that last subject.
 4   we looking at?                                                4            (The record was read by the court reporter as
 5       Q. The last column, the chain saw operator.               5   follows:
 6       A. Chain saw operator. So for that number of              6            "QUESTION: But fair to say, you stated
 7   samples, pretty limited number of samples, yeah, we found     7   earlier, at the confirmation hearing, you are not going to
 8   that number.                                                  8   offer an opinion about any specific individual's potential
 9       Q. Right. And again, just so the record's clear,          9   exposures from having worked as a chain saw operator in
10   this is what the paper states is a worst-case scenario of    10   Lincoln County, correct?
11   potential exposure, correct?                                 11            "ANSWER: No.")
12       A. Well, we called it "worst case" simply because        12            MR. STANSBURY: Is that a double negative?
13   we felt that the mine would be most likely to have the       13            MR. LEWIS: Yeah, it is.
14   highest contamination. We were on the mine road.             14            MS. ROHRHOFER: I'm not an English major. I
15       Q. Right, right. So --                                   15   think --
16       A. Is that worse than being somewhere else on the        16            MR. LEWIS: You asked if it's correct that
17   mine road? I don't know.                                     17   he's not going to, and he said "no."
18       Q. But in terms of being somewhere in Lincoln            18            But anyway, he's not, just for the record,
19   County forest area using a chain saw, an area that is away   19   he's not going to offer any testimony as to that last
20   from the mine, you would not expect to see exposures         20   question.
21   higher than this, would you?                                 21            MR. STANSBURY: I'll ask him one more time.
22       A. If we knew that the concentration in the media        22   BY MR. STANSBURY:
23   was less, yeah. We would assume that it would be less.       23       Q. You're not going to offer any -- is it correct
24       Q. You would assume it would be less, right.             24   to say that you will not offer any testimony at the
25       A. But, you know, you can't make those                   25   confirmation hearing about an individual's potential
                                                  Page 207                                                          Page 209
 1   conclusions unless you knew.                                  1   exposures from sawing, hauling, or stacking wood in the
 2       Q. But again, you would not extrapolate these             2   Libby forest?
 3   measurements to other parts of the forest without some        3       A. That would be correct.
 4   form of measurement done in advance, correct?                 4       Q. Okay.
 5       A. Right. And we haven't attempted to do that.            5          MR. STANSBURY: I appreciate you looking out
 6       Q. Okay. So I just want to make sure the                  6   for me, Tom.
 7   record's clear that you were not stating based upon this      7          MR. LEWIS: Well --
 8   paper, you believe similar exposures are occurring            8          MR. STANSBURY: That's good. You're right.
 9   throughout the Lincoln County forest, correct?                9          MR. LEWIS: It doesn't have any -- he's not
10       A. Right. A very limited number samples, a pilot         10   going to testify about that.
11   study, preliminary data, the only thing we can say from      11       Q. (By Mr. Stansbury) And we stated earlier that
12   this study, basically, is that if you work on contaminated   12   your 2009 paper was not in your expert report, correct?
13   trees, you can put fibers into the air or get them on your   13       A. Correct.
14   clothes.                                                     14       Q. And you don't intend to offer any testimony
15       Q. Okay. And but fair to say, you stated                 15   related to that at the confirmation hearing, correct?
16   earlier, at the confirmation hearing, you are not going to   16       A. No.
17   offer an opinion about any specific individual's potential   17       Q. Okay. And again so the record's clear, we
18   exposures from having worked as a chain saw operator in      18   looked through your report and although we did see
19   Lincoln County, correct?                                     19   references where you were talking about medical findings,
20       A. No.                                                   20   you yourself are not a medical doctor, correct?
21       Q. Okay.                                                 21       A. That's correct.
22           MR. LEWIS: That's a double-negative, Counsel.        22       Q. You don't intend to offer any medical
23   You asked -- I don't think you want the answer to stand as   23   testimony about asbestos disease, correct?
24   stated.                                                      24       A. No.
25           MR. STANSBURY: Could you repeat the last             25       Q. Okay. Nor are you a toxicologist, correct?
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                                                 Page 210                                                         Page 212
 1     A. That's correct.                                        1       Q. All right.
 2     Q. You do not intend to offer opinions about              2       A. I mean I just know that because of our work
 3 toxicity of amphiboles in Libby, correct?                     3   with the Forest Service, we had to have access to that
 4     A. Correct.                                               4   map. I mean we've, we've been working with EPA.
 5         MR. LEWIS: Don't ask these questions over             5       Q. And that's the Forest Service work that you're
 6 again. Please don't. They're repetitive.                      6   engaged in right now that's not been completed --
 7     Q. (By Mr. Stansbury) Nor are you an                      7       A. Yes.
 8 epidemiologist, correct?                                      8       Q. -- is that correct?
 9     A. Correct.                                               9       A. Yes.
10     Q. You're not going to offer epidemiological             10       Q. All right. Do you know where that map can be
11 opinions, correct?                                           11   found?
12     A. That's correct.                                       12       A. I don't know what you mean. I have it, the
13     Q. Okay.                                                 13   Forest Service has it, EPA has it. I don't know if
14         MR. STANSBURY: Pass the witness.                     14   they've released the map.
15         MR. LEWIS: Okay. Did we get -- what you              15       Q. Okay.
16 referred to as the "Amandus study", was that marked?         16       A. I just don't know. I'm just being honest with
17         MR. STANSBURY: I believe it was.                     17   you, I don't know.
18         MR. LEWIS: Is that 7?                                18       Q. Okay.
19         MS. ROHRHOFER: Yeah, Exhibit 7.                      19       A. I mean it isn't in a publication because we
20         MR. LEWIS: Okay, thanks. Let me check. I             20   don't, we don't know if we have the right to put that in
21 probably don't have any questions.                           21   there.
22         (Pause in proceedings.)                              22       Q. And you do not, is it -- I don't know if you
23                                                              23   testified about this: Do you or do you not intend to rely
24 BY MR. SPEAR:                                                24   on that map for your testimony in this case?
25     Q. I guess I want to clarify one thing,                  25       A. Well, to me, it described the spread of
                                                 Page 211                                                         Page 213
 1   Dr. Spear. The EPA studies that you considered, you         1   asbestos from the, from the mine. But I don't -- I
 2   referred to some studies by Paul Peronard. Do you recall    2   haven't offered it as an opinion, so I just brought it up
 3   that?                                                       3   in the case of cross-examination, so I probably wouldn't
 4       A. Yes.                                                 4   rely on it.
 5       Q. Are those studies that you referenced all            5       Q. Okay. You, in your report --
 6   publicly available?                                         6           MR. LEWIS: Excuse me, Counsel.
 7       A. Yes. They're on the EPA Web site, I believe.         7       Q. (By Mr. Lewis) I'll refer you to Exhibit 4.
 8       Q. Is that how you obtained them?                       8   You talk about a harvest location.
 9       A. Yes.                                                 9       A. Looking at the map?
10       Q. Okay. And does that include the bark studies        10       Q. Yes, it's Figure 1 on page 719.
11   and the map prepared by the EPA? Is that on the Web site   11       A. Okay.
12   as well?                                                   12       Q. I want to clarify. The harvest location was
13       A. That's a good question.                             13   not on the mine site. Is that true or untrue?
14       Q. Do you know when that study and that map was        14       A. That is true.
15   made available to the public or -- let me finish. Let me   15       Q. Okay. Do you know where the screening, what
16   withdraw the question.                                     16   has been called the "screening plant" is located on the
17       Do you know when that EPA study, the bark study and    17   Kootenai River?
18   the map that you described, was issued by the EPA?         18       A. By the -- yes.
19       A. My recollection is it was in 2008.                  19       Q. Okay. Is that at the intersection of the
20       Q. Do you know if it was before or after your          20   river and Rainey Creek Road?
21   report?                                                    21       A. Yes.
22       A. Before or after this report.                        22       Q. How far was the harvest location from the
23       Q. Your expert report.                                 23   screening plant?
24       A. My expert report. I guess I don't know the          24       A. Well, what did we say -- whatever the distance
25   exact timeline.                                            25   was given up that road. I think we state 1.5 kilometers.
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                                                                                       55 (Pages 214 to 216)
                                                      Page 214                                               Page 216
 1      Q. Okay.                                                  1   DEPOSITION OF:          TERRY M. SPEAR, Ph.D.
 2      A. From Highway 37, so we add another --                  2   DEPOSITION DATE: JULY 29, 2009
 3      Q. So less than a mile?                                   3   IN RE:           W.R. Grace & Co, Debtor
 4      A. Yes.                                                   4   COURT REPORTER:           CANDICE L. NORDHAGEN
 5      Q. Okay. That's all I have.                               5   I have read my deposition and make the following
 6          MR. LEWIS: I'll reserve the rest of my                    corrections or additions:
                                                                6
 7   questions in time of -- until the confirmation hearing.
                                                                7 PAGE # LINE CORRECTION
 8
                                                                8
 9   BY MR. STANSBURY:                                          9
10       Q. Just one quick clarifying point. The harvest       10
11   location was not on the mine, but it was in the           11
12   EPA-restricted zone, correct?                             12
13       A. Yes.                                               13
14       Q. Okay.                                              14
15          VIDEOGRAPHER: Anybody else on the line?            15
16   Everybody done?                                           16
17          MR. LEWIS: Are there any questions?                17
                                                               18
18          MR. STANSBURY: Going once, twice. All right,
                                                               19
19   everybody.
                                                               20
20          VIDEOGRAPHER: Okay. This concludes the             21
21   videotaped deposition of Dr. Terry Spear in the matter of 22    Signed under penalty of perjury this _______ day of
22   W.R. Grace & Company, et al., Debtors.                       _____________, _______.
23          The time is 1:37. It's July 29, 2009.              23
24          We're off the record.                              24             _________________________
25                 *****                                       25             Terry M. Spear, Ph.D.
                                                      Page 215
 1   STATE OF MONTANA           )
 2                 : ss.
 3   County of Silver Bow )
 4
 5      I, Candice L. Nordhagen, Registered Professional
 6   Reporter, Notary Public in and for the County of Silver
 7   Bow, State of Montana, do hereby certify:
 8
 9       That the witness in the foregoing deposition, Terry
10   M. Spear, Ph.D., was by me first duly sworn according to
11   law in the foregoing cause; that the deposition was then
12   taken before me at the time and place herein named; that
13   the deposition was reported by me in machine shorthand and
14   later transcribed by computer, and that the foregoing two
15   hundred fourteen (214) pages contain a true record of the
16   witness, all done to the best of my skill and ability.
17       IN WITNESS WHEREOF, I have hereunto set my hand and
18   affixed my notarial seal this _____ day of ____________,
19   2009.
20
                      ______________________________
21
                      Candice L. Nordhagen
22
               Notary Public for the State of
23             Montana residing at Butte,
               Montana. My commission
24 (NOTARIAL SEAL)        expires September 15, 2011.
25
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